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                3
        Exhibit C
                        (Part 2)
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* Mike Seely (class of ’07): Mr. Seely works in Houston. His online
biography states that he is a trial lawyer. On November 20, 2013, Judge Lynn N.
Hughes awarded fees for time Mr. Seely worked on a First Amendment/constitu-
tional free speech firing and employment retaliation case. See Culbertson v. Lykos,
No. 4:12-cv-03644 (Doc. 69) (S.D. Tex. Houston) (granting fees requested in Doc.
45: “Rachel Palmer takes, jointly and severally, $82,101.00 in reasonable attor-
ney’s fees from Amanda Culbertson and Jorge Wong”), reversed on other grounds
790 F.3d 608 (5th Cir. 2015). The fees requested were based, in part, on September
12, 2013, testimony about Mr. Seely’s rate of $380.00 per hour for his work on the
case. See id. (Doc. 45-1) at p. 2–3, ¶¶ 5 & 8 (Declaration of Katherine D. David
attached as Exhibit A to Rachel Palmer’s Motion for an Award of Court Costs,
Reasonable Attorney’s Fees and Other Expenses: “Based on the hourly rates and
total number of hours billed, Gardere has charges of $82,101.00 for the legal ser-
vices and expenses it has rendered to defend Rachel Palmer since May 1, 2013. . .
. The current hourly rates of the aforementioned attorneys are as follows: . . . Mike
Seely - $380 . . . .”). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
20.06% higher in 2021 versus 2013 (a $76.24 difference).22 So, adjusted only for
such inflation from the year of Judge Hughes’s ruling to the end of 2021, that
$380.00 hourly rate for Mr. Seely is $456.24.

* Nehal S. Anand (class of ’09): Ms. Anand works in Houston. Her
online biography states that she “advises and represents employers in a broad
range of employment law matters arising under federal and state laws, . . . .” On
July 20, 2020, in response to an offer to reimburse for an hour of time in a Houston
employment discrimination case, Singhal v. Baylor College of Medicine, No. 4:19-
cv-01362 (S.D. Tex. Houston), Ms. Anand noted in an email that her hourly rate
for work in that case is $440.00 per hour: “Nitin, my hourly rate for this case is
$440.” According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 1.53% higher
in 2021 versus 2020 (a $6.75 difference).23 So, adjusted only for such inflation from
the year of this representation to the end of 2021, that $440.00 hourly rate for Ms.
Anand is $446.75.

* Aaron Johnson (class of ’08): Mr. Johnson works in Austin where
he represents low-income workers. On September 24, 2019, Judge Nancy F. Atlas
found that $405.00 per hour was a reasonable hourly rate for Mr. Johnson’s work
in a Houston FLSA case. See Chavez v. Shahini Corp., No. 4:19-cv-02324 (Doc. 9)
at pp. 1–2, ¶ 5 (S.D. Tex. Houston) (“The court finds that the following hourly

22   https://www.officialdata.org/Legal-services/price-inflation/2013-to-2021?amount=380

23   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=440
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rates requested by Plaintiff are reasonable based on the market rates in the com-
munity for legal services on employment cases such as this . . . Aaron Johnson,
Attorney licensed 2008: $405/hour”). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 2.64% higher in 2021 versus 2019 (a $10.69 difference).24 So,
adjusted only for such inflation from the year of this judicial finding to the end of
2021, that $405.00 hourly rate for Mr. Johnson is $415.69.

* Lakshmi Ramakrishnan (class of ’02): Ms. Ramakrishnan
works in Houston. Her online biography states that she “represent[s] employees—
low-income agricultural workers and other employees involved in workplace dis-
putes.” On August 1, 2014, Magistrate Judge Nancy K. Johnson awarded Ms. Ra-
makrishnan’s prior law firm discovery sanctions in a Houston FLSA case and, in
doing so, approved of the requested hourly rate of $350.00 for her work. See Mag-
daleno v. PCM Constr. Servs., LLC, No. 4:12-cv-02862 (Doc. 109) at pp. 9–10 (S.D.
Tex. Houston) (“Kennard stated that his billing rate is $475 per hour, the billing
rate for his senior associate Lakshmi Ramakrishnan (‘Ramakrishnan’) is $350 per
hour . . . In the absence of evidence challenging these hourly rates, the court as-
sumes that the requested rates are reasonable.”). On September 12, 2014, Judge
Sim Lake then ordered defendants to pay these sanctions. See id. (Doc. 116) (Or-
der Granting Plaintiff’s Unopposed Motion to Enforce). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 17.55% higher in 2021 versus 2014 (a
$61.42 difference).25 So, adjusted only for such inflation from the year of these
court rulings to the end of 2021, that $350.00 hourly rate for Ms. Ramakrishnan
is $411.42.

* Richard Schreiber (class of ’06): Mr. Schreiber works in Hou-
ston. On March 18, 2020, Judge Hilda Tagle determined that $400.00 per hour
was reasonable for his work in a Corpus Christi FLSA case. See Herrera v.
Brigham Resources, Inc., No. 2:17-CV-309 (Doc. 33) at pp. 10–11 (S.D. Tex. Corpus
Christi) (“Given each attorney’s experience and the cited caselaw, the Court de-
termines that the following hourly rates are reasonable for each attorney: . . . $400
for Schreiber . . .”). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
1.53% higher in 2021 versus 2020 (a $6.14 difference).26 So, adjusted only for such
inflation from the year of this court ruling (2020) to the end of 2021, that $400.00
hourly rate for Ms. Schreiber is $406.14.

24   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=405

25   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=350

26   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=400
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* Christopher Willett (class of ’09): Mr. Willett works in Austin.
His State Bar of Texas profile lists only “Labor-Employment” as his practice area.
On September 24, 2019, Judge Nancy F. Atlas found that $390.00 per hour was a
reasonable hourly rate for Mr. Willett’s work in a Houston FLSA case. See Chavez
v. Shahini Corp., No. 4:19-cv-02324 (Doc. 9) at pp. 1–2, ¶ 5 (S.D. Tex. Houston)
(“The court finds that the following hourly rates requested by Plaintiff are reason-
able based on the market rates in the community for legal services on employment
cases such as this . . . Christopher Willett, Attorney licensed 2009: $390/hour”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 2.64% higher in 2021
versus 2019 (a $10.29 difference).27 So, adjusted only for such inflation from the
year of this judicial finding to the end of 2021, that $390.00 hourly rate for Mr.
Willett is $400.29.

* Sara C. Longtain (class of ’07): Ms. Longtain works in Houston.
Her online biography states that she “is an advocate for employers providing stra-
tegic, business-focused advice and legal representation in a full spectrum of em-
ployee-related matters, . . . .” On December 22, 2011, her law firm charged $290.00
per hour for her work in a Houston employment agreement/non-compete case. See
Renewable Energy Group, Inc. v. Dascal, No. 2011-51111 (190th Judicial District
Court for Harris County, Texas) (Affidavit of Scott K. Davidson in Support of At-
torney’s Fees at p. 1, ¶ 3: “I prosecuted this case in accordance with an hourly fee
agreement entered into between Renewable Energy Group, Inc. and Locke Lord
LLP. My firm charged Renewable Energy Group, Inc. . . . $290.00 per hour for the
work of Sara Longtain, an associate with my firm.”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 25.87% higher in 2021 versus 2011 (a $75.03 dif-
ference).28 So, adjusted only for such inflation from the year of this billing (2011)
to the end of 2021, that $290.00 hourly rate for Ms. Longtain is $365.03.

* Scot Clinton (class of ’04): Mr. Clinton works in Houston. His
online biography states that he “represents clients in a variety of real estate, con-
struction, business and commercial litigation matters.” On October 6, 2016, Judge
Gray H. Miller ruled that $325.00 per hour was a reasonable rate for his work in
an employment retaliation case. See Thatcher v. Oakbend Med. Ctr., Civil Action
No. H-14-3551 (Doc. 71) at p. 14 (S.D. Tex. Houston) (“The invoiced $325 per hour
for Clinton’s legal work is a reasonable rate.”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the

27   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=390

28   https://www.officialdata.org/Legal-services/price-inflation/2011-to-2021?amount=290
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prices for legal services are 11.93% higher in 2021 versus 2016 (a $38.77 differ-
ence).29 So, adjusted only for such inflation from the year of this ruling (2016) to
the end of 2021, that $325.00 hourly rate for Mr. Clinton is $363.77.

* DeAndrea C. Washington (class of ’09): Ms. Washington
works in Houston. Her online biography states that she “focuses her practice on a
variety of labor employment litigation matters.” On October 29, 2013, in a Hou-
ston employment discrimination case, Teresa Valderrama testified that Ms.
Washington’s hourly rate was $275.00. See Anderson v. Houston Community Col-
lege, No. 2012-40596 (334th Judicial District Court for Harris County, Texas) (Af-
fidavit of Teresa S. Valderrama at p. 2, ¶5: “Her hourly rate is $275” though in
that matter there was a lower specially negotiated rate). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 20.06% higher in 2021 versus 2013 (a
$55.18 difference).30 So, adjusted only for such inflation from the year of this tes-
timony to the end of 2021, that $275.00 hourly rate for Ms. Washington is $330.18.




29   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=325

30   https://www.officialdata.org/Legal-services/price-inflation/2013-to-2021?amount=275
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Classes of the 2010s



 36                    lawyers listed




 $505.47                               average rate




 $412.89                               median rate
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                                        Classes of the 2010s:
                                             The Rates

     Bryan M.             Charles M.           Evan D.              Samantha
     O’Keefe              Rosson               Lewis                D. Seaton
     (JD 2011)            (JD 2010)            (JD 2019)            (JD 2013)


     Michael A.           Christopher          Lindsay              Caitlin
     Schulman             R. Williams          Itkin                Boehne
     (JD 2011)            (JD 2016)            (JD 2010)            (JD 2012)


     Joshua K.            Vickie               Lauren               Jay
     Sekoski              Mery                 Braddy               Forester
     (JD 2012)            (JD 2012)            (JD 2010)            (JD 2013)


     Courtney L.          Liane                Alysson              Brenna R.
     Stahl                Noble                Ford Ouoba           Lermon
     (JD 2013)            (JD 2011)            (JD 2011)            (JD 2014)


     Scott L.             Michael              Britney J. P.        Genevieve
     Friedman             Reed                 Prince               Estrada
     (JD 2013)            (JD 2012)            (JD 2015)            (JD 2013)


     Katherine A.         Benjamin D.          Michael J.          Michael
     Brooker              Williams             Woodson             Adams-
     (JD 2012)            (JD 2010)            (JD 2012)         Hurta (JD 2015)


     Wes                  Curtis               E. Steve             Vijay
     Benter               Waldo                Smith                Pattisapu
     (JD 2018)            (JD 2010)            (JD 2015)            (JD 2011)


      Emery               Andrew               Angeles              Dorian
      Gullickson          Dunlap               Garcia               Vandenberg-
Richards (JD 2014)        (JD 2011)         Cassin (JD 2013)     Rodes (JD 2013)


     Caitlin E.           Matt                 Amanda E.            Ben
     Gernert              Heller               Brown                Michael
     (JD 2014)            (JD 2016)            (JD 2013)            (JD 2013)
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Classes of the 2010s:
     The Work

  * Bryan M. O’Keefe (class of ’11): Mr. O’Keefe works in Washing-
  ton D.C. His online biography states that he is a member of his law firm’s “Labor
  & Employment Department.” In 2019, his prior law firm billed his time at the rate
  of $1,055.00 per hour in a Houston bankruptcy case—for work such as: “Corre-
  spond with K&E Corporate team re potential WARN Act implications” and “re-
  view and analyze case law research on constructive discharge triggering WARN
  Act.” See In re: Westmoreland Coal Co., No. 18-35672 (Doc. 2165) at pp. 82, 693
  (Bankr. S.D. Tex. Houston) (Third Interim and Final Fee Application for the
  WMLP Debtors and the Supplement to the Final Fee Application of the WLB
  Debtors of Kirkland & Ellis LLP and Kirkland & Ellis International LLP Counsel
  to the Debtors: “Bryan M. O’Keefe . . . Department . . . Labor & Employment . . .
  Hourly Rate Billed . . . $1,055.00”). On August 20, 2019, Judge David R. Jones
  approved the request for fees. See id. (Doc. 2278). According to the Consumer Price
  Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
  prices for legal services are 2.64% higher in 2021 versus 2019 (a $27.85 differ-
  ence).1 So, adjusted only for such inflation from the year of this billing and court
  ruling (2019) to the end of 2021, that $1,055.00 hourly rate for Mr. O’Keefe is
  $1,082.85.

  * Michael A. Schulman (class of ’11): Mr. Schulman works in
  Washington, D.C. His online biography states that he is a member of his firm’s
  “labor and employment practice group.” In 2019, his law firm billed his time at
  the rate of $1,055.00 per hour in a Houston bankruptcy case. See In re: Parker
  Drilling Co., No. 18-36958 (Doc. 528) at pp. 5, 83 (Bankr. S.D. Tex. Houston) (First
  Interim and Final Fee Application of Kirkland & Ellis LLP and Kirkland & Ellis
  International LLP, Attorneys for the Debtors and Debtors in Possession, for the
  Period from December 12, 2018 through and including March 7, 2019: “Michael
  A. Schulman . . . Department . . . Labor & Employment . . . Hourly Rate Billed . .
  . $1,055.00”). On May 29, 2019, Judge Marvin Isgur approved the request for fees.
  See id. (Doc. 537). According to the Consumer Price Index for legal services as
  generated by the U.S. Bureau of Labor Statistics, the prices for legal services are


  1 https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=1055
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2.64% higher in 2021 versus 2019 (a $27.85 difference).2 So, adjusted only for such
inflation from the year of this billing and court ruling (2019) to the end of 2021,
that $1,055.00 hourly rate for Mr. Schulman is $1,082.85.

* Joshua K. Sekoski (class of ’12): Mr. Sekoski works in Wash-
ington, D.C. His online biography states that he “[f]ocuses his practice on la-
bor and employment law and strategic advice for public and private compa-
nies, trade associations and investment funds.” In 2020, his law firm billed his
time at the rate of $910.00 per hour in a Houston bankruptcy case—for work such
as: “Prepare payment scenarios for safety data sheet to assess its compliance with
the Fair Labor Standards Act,” “Correspond with L. O’Donnell of Haynes Boone
re pending FLSA matters,” “Review and analyze workforce reduction issues,”
“Prepare workforce separation agreement template,” “Correspond with A. Blake-
way re employee severance issues,” “Conduct research re potential labor issues,”
and “Conduct research re pending FLSA matters.” See In re: Sanchez Energy
Corp., No. 19-34508 (Doc. 1426) at Exhibits B & B-2, pp. 60, 63, 487–89, 518, 562–
63, 643 (Bankr. S.D. Tex. Houston) (Second Interim and Final Fee Application of
Akin Gump Strauss Hauer & Feld LLP for Allowance and Payment of Fees and
Expenses as Counsel to the Debtors for the Period from December 1, 2019 through
March 27, 2020: “Joshua K. Sekowski . . . Rate . . . $910.00”). On July 28, 2020,
Judge Marvin Isgur approved the request for fees. See id. (Doc. 1521). According
to the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 1.53% higher in 2021 versus 2020
(a $13.97 difference).3 So, adjusted only for such inflation from the year of this
billing and court ruling (2020) to the end of 2021, that $910.00 hourly rate for Mr.
Sekoski is $923.97.

* Courtney L. Stahl (class of ’13): Ms. Stahl works in Houston.
Her online biography states that her “practice covers a wide range of labor and
employment matters, with a particular emphasis on noncompete, trade secret and
other unfair competition disputes.” In 2020, her law firm listed her rate for 2020
as $885.00 per hour in a Houston bankruptcy case. See In re: Sanchez Energy
Corp., No. 19-34508 (Doc. 1426) at Exhibits B & B-2, pp. 63 (Bankr. S.D. Tex.
Houston) (Second Interim and Final Fee Application of Akin Gump Strauss Hauer
& Feld LLP for Allowance and Payment of Fees and Expenses as Counsel to the
Debtors for the Period from December 1, 2019 through March 27, 2020: “Stahl,
Courtney L. . . . Rate . . . $885.00”—which was an $80 increase from her 2019 rate
listed at “$805.00” per hour). On July 28, 2020, Judge Marvin Isgur approved the

2 https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=1055


3 https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=910
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firm’s request for fees. See id. (Doc. 1521). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 1.53% higher in 2021 versus 2020 (a $13.58 difference).4 So,
adjusted only for such inflation from the year of this stated rate (2020) to the end
of 2021, that $885.00 hourly rate for Ms. Stahl is $898.58.

* Scott L. Friedman (class of ’13): Mr. Friedman works in Hou-
ston. His online biography states that he is currently “Employment & Litiga-
tion Counsel” in-house for an association—and previously worked for a law
firm. In 2020, that previous law firm billed his time at the rate of $850.00 per
hour in a Houston bankruptcy case—for work in 2020 such as: “Attend to open
issues re workforce separation” and “Review analyses re labor issues.” See In re:
Sanchez Energy Corp., No. 19-34508 (Doc. 1426) at Exhibits B & B-2, pp. 60, 64,
519, 563 (Bankr. S.D. Tex. Houston) (Second Interim and Final Fee Application
of Akin Gump Strauss Hauer & Feld LLP for Allowance and Payment of Fees and
Expenses as Counsel to the Debtors for the Period from December 1, 2019 through
March 27, 2020: “Friedman, Scott . . . LAB . . . 2020 Rate . . . $850.00”—a $75.00
per hour increase from his listed “2019 Rate” of “$775.00” per hour). On July 28,
2020, Judge Marvin Isgur approved the request for fees. See id. (Doc. 1521). Ac-
cording to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 1.53% higher in 2021
versus 2020 (a $13.05 difference).5 So, adjusted only for such inflation from the
year of this billing and court ruling (2020) to the end of 2021, that $850.00 hourly
rate for Mr. Friedman is $863.05.

* Wes Benter (class of ’18): Mr. Friedman works in New York. His
online biography states that he “is an employment & labor associate” in his
firm. In 2020, his firm billed his time at the rate of $835.00 per hour in a
Houston bankruptcy case—for work such as: “Telephone conference with A.
Ortiz-Leytte, J. Schruhl and R. Kidd re labor and employment considerations re
WARN Act (.5); research and summarize applicable laws re same (.4).” See In re:
IQOR Holdings, Inc., No. 20-34500 (Doc. 239) at pp. 49, 109, 111 (Bankr. S.D. Tex.
Houston) (Final Fee Application of Kirkland & Ellis LLP and Kirkland & Ellis
International LLP, Attorneys for the Debtors and Debtors in Possession, for the
Period from September 10, 2020 through and including October 14, 2020: “We
Benter . . . Department . . . Labor & Employment . . . Hourly Rate Billed . . . In
this Application . . . $835.00”). On January 8, 2021, Judge David R. Jones ap-
proved the request for fees. See id. (Doc. 259).

4 https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=885


5 https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=850
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* Katherine A. Brooker (class of ’12): Ms. Brooker works in
Houston. Her online biography states that her practice includes several areas in-
cluding labor and employment matters: “Ms. Brooker also counsels employers on
a variety of issues, including terminations, reductions in force and reasonable ac-
commodations.” In 2019, her law firm billed her time at the rate of $822.00 per
hour in a Houston bankruptcy case—for work on “Labor Issues” and “Review []
EEOC Charge.” See In re: Bristow Group Inc., No. 19-3271 (Doc. 878-5) at Exhibit
5-V “Labor Issues,” pp. 452–53 (Bankr. S.D. Tex. Houston) (First Interim Fee Ap-
plication of Baker Botts L.L.P., Co-Counsel to the Debtors, for Allowance and Pay-
ment of Compensation for Services Rendered and Reimbursement of Expenses
Incurred for the Period May 11, 2019 through July 31, 2019: “Brooker, K A . . .
Rate . . . 822.00”). On December 6, 2019, Judge David R. Jones approved the re-
quest for fees. See id. (Doc. 930). According to the Consumer Price Index for legal
services as generated by the U.S. Bureau of Labor Statistics, the prices for legal
services are 2.64% higher in 2021 versus 2019 (a $21.70 difference).6 So, adjusted
only for such inflation from the year of this billing and court ruling (2019) to the
end of 2021, that $822.00 hourly rate for Ms. Brooker is $843.70.

* Emery Gullickson Richards (class of ’14): Ms. Richards
works in Houston. Her online biography states that she “routinely counsels or-
ganizations on employment law compliance, provides guidance to entities evalu-
ating labor and employment aspects of business transactions, and conducts inter-
nal investigations and training programs in the workplace.” In 2019, her law firm
billed her time at the rate of $525.00 per hour in a Houston bankruptcy case. See
In re: Grizzly Energy, LLC, No. 19-31786 (Doc. 658) at p. 34 (Bankr. S.D. Tex.
Houston) (First Interim and Final Application of Blank Rome LLP, Co-counsel to
the Debtors, for Compensation for Services Rendered and Reimbursement of Ex-
penses for the Period from March 31, 2019 through July 16, 2019: “Richards, Em-
ery . . . Dept. . . . L&E . . . Labor & Employment . . . Hourly Rate . . . $525.00”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 2.64% higher in 2021
versus 2019 (a $13.86 difference).7 So, adjusted only for such inflation from the
year of this billing (2019) to the end of 2021, that $525.00 hourly rate for Ms.
Richards is $538.86.




6 https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=822


7 https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=525
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* Caitlin E. Gernert (class of ’14): Ms. Gernert works in Houston.
Her online biography states that she “focuses her practice on civil and complext
commercial litigation matters in state and federal courts, with a particular em-
phasis on employment litigation, tort and product liability litigation, and fraud
and fraudulent transfer litigation.” In 2021, her firm billed her time at the “[d]is-
counted rate” of $530.00 per hour in a Houston employment disability discrimi-
nation and retaliation case. See Badaiki v. Cameron Int’l Corp., No. 4:19-cv-00371
(Doc. 119-1) at p. 4, ¶16 (S.D. Tex. Houston) (Declaration of James H. Nye: “Under
its fee arrangement with Cameron, Winston & Strawn LLP charged significantly
discounted rates for the Winston & Strawn LLP attorneys who worked on this
matter as shown in Table 2 below. These discounted rates were negotiated with
Cameron, representing rates that are typically materially less than those charged
to and paid by the firm’s civil litigation clients for similar matters. . . . Table 2 . .
. Caitlin Gernert . . . Discounted rate 2021 . . . $530.00”).

* Charles M. Rosson (class of ’10): Mr. Rosson works in Houston.
His online biography notes that the focus of his practice is complex commercial
litigation. In 2014, his law firm at the time billed for his time at the rate of $435.00
per hour in a Houston breach of employment agreement case. See Lotte Chem.
Titan (M) Sendrian Berhad v. Wilder, No. 4:14-cv-1116 (Doc. 16-6) at p. 10 (S.D.
Tex. Houston) (an invoice dated May 27, 2014, attached to the affidavit of Phillip
B. Dye, Jr. shows a charge of $6,198.75 for 14.25 hours of work Mr. Rosson did in
that Houston employment case—which equates to $435.00 per hour (6,198.75 ÷
14.25 = 435)). According to the Consumer Price Index for legal services as gener-
ated by the U.S. Bureau of Labor Statistics, the prices for legal services are
17.55% higher in 2021 versus 2014 (a $76.33 difference).8 So, adjusted only for
such inflation from the year of this billing (2014) to the end of 2021, that $435.00
hourly rate for Mr. Rosson is $511.33.


* Christopher R. Williams (class of ’16): Mr. Williams works
in Washington D.C. His online biography states that he “handles litigation and
counseling matters on behalf of employers” and “represents employers in matters
involving employee benefits issues that arise under ERISA and the Multiem-
ployer Pension Plan Amendments Act.” In 2019, his law firm billed his time at the
rate of $450.00 per hour in a Houston bankruptcy case—for work such as: “Bar-
gaining conference call with United Mine Workers regarding Beulah Mine Labor
Agreement” and “Research regarding the ability of employer to refuse to pay va-
cation benefits during a strike.” See In re: Westmoreland Coal Co., No. 18-35672
(Doc. 2147-4) at pp. 10, 17 (Bankr. S.D. Tex. Houston) (Exhibit D Itemized Time

8   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=435
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Records of Professionals and Paraprofessionals January 7, 2019 – June 21, 2019
attached to First and Final Fee Application (WMLP Debtors) of Drinker Biddle &
Reath LLP as Special Labor and Employment Benefits Counsel to the Debtors
and Debtors in Possession for the Period of January 7, 2019 through June 21,
2019: “CR Williams . . . Rate . . . $450.00.”). On August 14, 2019, Judge David R.
Jones approved the request for fees. See id. (Doc. 2247). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 2.64% higher in 2021 versus 2019 (an
$11.88 difference).9 So, adjusted only for such inflation from the year of this billing
and court ruling (2019) to the end of 2021, that $450.00 hourly rate for Mr. Wil-
liams is $461.88.

* Vickie Mery (class of ’12): Ms. Mery works in Houston. On Sep-
tember 13, 2019, Judge Nancy F. Atlas ruled that $450.00 per hour was a reason-
able rate for Ms. Mery’s work in a Houston False Claims Act employment retali-
ation case. See Miniex v. Houston Housing Auth., No. 4:17-cv-00624 (Doc. 277) at
p. 8 (S.D. Tex. Houston) (“The Court concludes Bivens’s ($600), Mery’s ($450),
Hurta’s ($325), and Thornton’s ($375) requested rates are reasonable for this
case.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 2.64% higher
in 2021 versus 2019 (an $11.88 difference).10 So, adjusted only for such inflation
from the year of this court ruling (2019) to the end of 2021, that $450.00 hourly
rate for Ms. Mery is $461.88.

* Liane Noble (class of ’11): Ms. Noble works in Austin. Her online
profile notes that she is a prosecuting attorney with the United States Attorney’s
Office for the Western District of Texas. She previously worked for a law firm. In
2014, her law firm billed for her time at the rate of $390.00 per hour in a Houston
breach of employment agreement case—for work such as “Draft and revise reply
in support of Motion to Remand.” See Lotte Chem. Titan (M) Sendrian Berhad v.
Wilder, No. 4:14-cv-1116 (Doc. 16) at pp. 2–3, ¶ 6 (S.D. Tex. Houston) (“A summary
of fees charged by each attorney in this matter follows . . . Attorney . . . Liane
Noble . . . Rate . . . $390[.] . . .”); id. (Doc. 16-7) at p. 4 (“Draft and revise reply in
support of Motion to Remand”). According to the Consumer Price Index for legal
services as generated by the U.S. Bureau of Labor Statistics, the prices for legal
services are 17.55% higher in 2021 versus 2014 (a $68.44 difference).11 So,

9 https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=450


10 https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=450


11   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=390
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adjusted only for such inflation from the year of this billing (2014) to the end of
2021, that $390.00 hourly rate for Ms. Noble is $458.44.

* Michael Reed (class of ’12): Mr. Reed works in Houston. His online
biography states that he “guides clients through labor and employment matters,
especially on litigation surrounding discrimination, sexual harassment, and
wrongful termination.” On April 13, 2017, his client sought sanctions to recover
fees at a rate of $415.00 per hour incurred for his time in defending a Houston
Deceptive Trade Practices Act (DTPA) case over a job posting for a staffing
agency—for work such as preparing for and attending a deposition that did not
take place. See Grivich v. Robert Half Int’l, Inc., No. 2016-57390 (269th Judicial
District Court for Harris County, Texas) (Defendant Robert Half International,
Inc.’s Motion for Sanctions at p. 8 ¶ 20: “Robert Half incurred significant costs,
including travel and hotel expenses for Robert Half’s lead counsel, attorneys’ fees
for appearing at and preparing for Plaintiff’s deposition, costs of the court reporter
and videographer, and fees in researching for and drafting this Motion. [See Item-
ized Accounting of Defendant’s Fees and Costs, attached as Exhibit 15.]”) (Exhibit
15: “Michael Reed . . . Rate (per hour) . . . $415.00 . . . Arrive at Hunton & Williams
LLP’s Houston office to prepare for and attend deposition of Plaintiff and com-
municate with client regarding same . . . .”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 8.08% higher in 2021 versus 2017 (a $33.53 differ-
ence).12 So, adjusted only for such inflation from the year of this invoicing and
motion (2017) to the end of 2021, that $415.00 hourly rate for Mr. Reed is $448.53.

* Benjamin D. Williams (class of ’10): Mr. Williams works in
Atlanta but in 2021, he worked in Houston. His online biography states that “fo-
cuses his practice on defending Fortune 500 companies in business disputes, in-
cluding high-stakes class-action cases and complex labor and employment mat-
ters.” In 2021, his prior firm billed his time at the “[d]iscounted rate” of $445.00
per hour in a Houston employment disability discrimination and retaliation case.
See Badaiki v. Cameron Int’l Corp., No. 4:19-cv-00371 (Doc. 119-1) at p. 4, ¶16
(S.D. Tex. Houston) (Declaration of James H. Nye: “Under its fee arrangement
with Cameron, Winston & Strawn LLP charged significantly discounted rates for
the Winston & Strawn LLP attorneys who worked on this matter as shown in
Table 2 below. These discounted rates were negotiated with Cameron, represent-
ing rates that are typically materially less than those charged to and paid by the
firm’s civil litigation clients for similar matters. . . . Table 2 . . . Benjamin Williams
. . . Discounted rate 2021 . . . $445.00”).


12
     https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=415
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* Curtis Waldo (class of ’10): Mr. Waldo “is located in the Houston
office where he focuses on representing energy companies in high-stakes litiga-
tion.” On September 25, 2015, Judge Nancy F. Atlas awarded fees requested for
Mr. Waldo’s work in a Houston ERISA case. See Romano Woods Dialysis Ctr. v.
Admiral Linen Serv., Inc., No. 4:14-cv-01125 (Doc. 62-1) (S.D. Tex. Houston)
(“Based on this review, and a clear recollection of the litigation of this lawsuit, the
Court finds that the $209,350.13 in attorneys’ fees requested by Defendants is
reasonable and appropriate.”) (awarding all fees requested in Defendants’ Motion
for Fees and Costs (Doc. 62)). The court-approved request for fees included work
Mr. Waldo did at an hourly rate of $375.00—including work done and billed on
invoices in 2014 at that rate. See id. (Doc. 62-1) at pp. 17, 21, 25, 29, 34, 41 (Affi-
davit of Kenneth E. Broughton, for work such as “Review and revise motion to
dismiss” and “Review discovery requests and initial disclosures to plaintiff and
co-defendant” and “Draft answer and defenses to Plaintiff’s complaint” and “Draft
objections and responses to Plaintiff’s discovery requests” and “Draft and revise
proposed agreed protective order” and “Review and revise mediation statement”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 17.55% higher in 2021
versus 2014 (a $65.80 difference).13 So, adjusted only for such inflation from the
year of this billing (2014) to the end of 2021, that $375.00 hourly rate for Mr.
Waldo is $440.80.

* Andrew Dunlap (class of ’11): Mr. Dunlap works in Houston. His
online biography states that he “has represented thousands of employees, pursu-
ing companies that violate wage and hour laws.” On March 18, 2020, Judge Hilda
Tagle determined that $425.00 per hour was reasonable for his work in a Corpus
Christi FLSA case. See Herrera v. Brigham Resources, Inc., No. 2:17-CV-309 (Doc.
33) at p. 10 (S.D. Tex. Corpus Christi) (“Given each attorney’s experience and the
cited caselaw, the Court determines that the following hourly rates are reasonable
for each attorney: . . . $425 for Dunlap . . . .”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 1.53% higher in 2021 versus 2020 (a $6.52 differ-
ence).14 So, adjusted only for such inflation from the year of this court ruling
(2020) to the end of 2021, that $425.00 hourly rate for Mr. Dunlap is $431.52.

* Matt Heller (class of ’16): Mr. Heller works in Austin. His practice
areas include labor and employment. On June 26, 2019, in a Houston employment


13   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=375

14   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=425
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discrimination case and ERISA benefits case, Judge Kenneth M. Hoyt determined
the fees Mr. Heller’s firm sought for his work on the ERISA claims were reasona-
ble. See Gonzales v. ConocoPhillips Co., No. 4:17-cv-2374 (Doc. 108) (S.D. Tex.
Houston) (ruling fee requested in Doc. 94 reasonable: “The Court is of the opinion
that the fees and costs sought are reasonable.”). Those fees actually billed to a
client included Mr. Heller’s rate of $400.00 per hour on an invoice dated Septem-
ber 27, 2018, for work such as “Draft letter to opposing counsel regarding supple-
mentation of deficient discovery responses for Fazila Issa” and “Research.” See id.
(Doc. 94-3) at pp. 25, 27, 29. According to the Consumer Price Index for legal ser-
vices as generated by the U.S. Bureau of Labor Statistics, the prices for legal ser-
vices are 3.64% higher in 2021 versus 2018 (a $14.55 difference).15 So, adjusted
only for such inflation from the year of this billing (2018) to the end of 2021, that
$400.00 hourly rate for Mr. Heller is $414.55.

* Evan D. Lewis (class of ’19): Mr. Lewis works in Houston. His
online biography states that he “is a litigator who focuses his practice on intellec-
tual property and complex commercial litigation.” In 2020, his firm billed his time
at the “[d]iscounted rate” of $405.00 per hour in a Houston employment disability
discrimination and retaliation case. See Badaiki v. Cameron Int’l Corp., No. 4:19-
cv-00371 (Doc. 119-1) at p. 4, ¶16 (S.D. Tex. Houston) (Declaration of James H.
Nye: “Under its fee arrangement with Cameron, Winston & Strawn LLP charged
significantly discounted rates for the Winston & Strawn LLP attorneys who
worked on this matter as shown in Table 2 below. These discounted rates were
negotiated with Cameron, representing rates that are typically materially less
than those charged to and paid by the firm’s civil litigation clients for similar mat-
ters. . . . Table 2 . . . Evan Lewis . . . Discounted rate 2020 . . . $405.00”). According
to the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 1.53% higher in 2021 versus 2020
(a $6.22 difference).16 So, adjusted only for such inflation from the year of this
billing (2020) to the end of 2021, that $405.00 hourly rate for Mr. Lewis is $411.22.

* Lindsay Itkin (class of ’10): Ms. Itkin works in Houston. Her
online biography states that she “handles cases involving wage and hour viola-
tions on an individual and class action basis in order to recover unpaid wages and
benefits for employees whose employers have failed to pay them in accordance
with state and federal law.” On March 18, 2020, Judge Hilda Tagle determined
that $400.00 per hour was reasonable for her work in a Corpus Christi FLSA case.
See Herrera v. Brigham Resources, Inc., No. 2:17-CV-309 (Doc. 33) at pp. 10–11

15   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=400

16   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=405
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(S.D. Tex. Corpus Christi) (“Given each attorney’s experience and the cited
caselaw, the Court determines that the following hourly rates are reasonable for
each attorney: . . . $400 for Itkin . . .”). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 1.53% higher in 2021 versus 2020 (a $6.14 difference).17 So, ad-
justed only for such inflation from the year of this court ruling (2020) to the end
of 2021, that $400.00 hourly rate for Ms. Itkin is $406.14.

*  Lauren Braddy (class of ’10): Ms. Braddy works in Corpus
Christi. Her online biography states that she “focuse[s] her practice on wage and
hour litigation under the Fair Labor Standards Act, representing clients in collec-
tive and class actions across the United States.” On January 27, 2020, Judge
Nelva Gonzales Ramos found that $400.00 per hour was a reasonable rate for Ms.
Braddy’s work in a Corpus Christi FLSA case. See Vela v. M&G USA Corp., No.
2:17-cv-13 (Doc. 66) at pp. 7–8 (S.D. Tex. Corpus Christi) (“Plaintiff’s request for
attorneys’ fees is based on the work of . . . Lauren Braddy (18 hours at $400 per
hour); . . . Plaintiff requests hourly rates ranging from $400 to $500 for the three
attorneys working on this case. The Court finds these are reasonable rates.”). Ac-
cording to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 1.53% higher in 2021
versus 2020 (a $6.14 difference).18 So, adjusted only for such inflation from the
year of this court finding (2020) to the end of 2021, that $400.00 hourly rate for
Ms. Braddy is $406.14.

* Alysson Ford Ouoba (class of ’11): Ms. Ouoba works in Wash-
ington, D.C. Her online biography states that she previously worked in the human
rights practice group of a law firm. On November 30, 2017, Judge Keith P. Ellison
determined Ms. Ouoba’s requested rate of $375.00 was “fair and reasonable” for
work she did in a Houston human trafficking [i.e., forced labor] case. See Adhikari
v. Daoud & Partners, No. 4:09-CV-1237 (Doc. 764) at pp. 28–29 (S.D. Tex. Hou-
ston) (“The requested rates, in descending order, are as follows: $910 for Sellers;
$790 for Webber; $745 for Fryszman and Vandenberg; $375 for the fellows, Saun-
ders and Ouoba; and $280 for the paralegals and law clerks, McKeon, Krause, and
Lam. . . . The requested rates are fair and reasonable here too.”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 8.08% higher in 2021 versus 2017 (a



17   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=400

18   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=400
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$30.30 difference).19 So, adjusted only for such inflation from the year of this court
ruling (2017) to the end of 2021, that $375.00 hourly rate for Ms. Ouoba is $405.30.

* Britney J. P. Prince (class of ’15): Ms. Prince works in Irving.
Her online biography notes that she works in-house for a company but previously
a firm. And her “practice includes involvement in federal and state administrative
actions and investigations with agencies such as the Equal Employment Oppor-
tunity Commission (“EEOC”), the Texas Workforce Commission (“TWC”), the US
Department of Labor, and both federal and state court actions.” On February 2,
2017, Judge Elaine Palmer awarded fees for work Ms. Prince did in a Houston
employment discrimination case—traveling to Houston over a discovery dispute.
See Hunter v. TPC Group, LLC, 2016-16617 (215th Judicial District Court for
Harris County, Texas) (Order Denying Plaintiff’s Motion to Compel). In a January
31, 2017, request for fees, her firm noted her rate for work in that case: “Defend-
ants’ counsel, Britney Prince’s (associate) billing rate is $370 per hour, and she
has spent approximately 12.0 hours in conducting legal research, drafting a Re-
sponse to Plaintiff’s Motion, and preparing for the hearing on the Motion, totaling
$4,440.” See id. (Defendants’ Supplement to their Response to Plaintiff’s Motion
to Compel and for In Camera Inspection). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 8.08% higher in 2021 versus 2017 (a $29.90 difference).20 So,
adjusted only for such inflation from the year of this court ruling (2017) to the end
of 2021, that $370.00 hourly rate for Ms. Prince is $399.90.

* Michael J. Woodson (class of ’12): Mr. Woodson works in Aus-
tin. His online biography states that he “advises clients on complex commercial
litigation matters, with an emphasis on enforcement and all aspects of labor and
employment issues.” On August 5, 2015, in a Corpus Christi employment discrim-
ination and retaliation case, his law firm noted that his standard rate per hour
was $345.00—though there was a lower negotiated effective rate per hour in that
case. See Arredondo v. Weatherford Int’l, LLC, No. 2:14-cv-00170 (Doc. 89) at p. 1
(S.D. Tex. Corpus Christi) (Summary of Attorney Fees and Expenses: “Michael
Woodson . . . STANDARD RATE PER HOUR . . . 345”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 15.71% higher in 2021 versus 2015 (a $54.19 dif-
ference).21 So, adjusted only for such inflation from the year of this billing (2014)
to the end of 2021, that $345.00 hourly rate for Mr. Woodson is $399.19.

19   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=375

20   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=370

21   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=345
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* E. Steve Smith (class of ’15): Mr. Smith works in Dallas. His
online biography states that he has “experience representing clients in a wide va-
riety of complex commercial litigation.” His law firm billed $380.00 per hour for
his work in 2019 on a Houston employment commissions case. See Trippie v.
Workplace Solutions Inc., No. 201984986 (281st Judicial District Court for Harris
County, Texas) (Defendant’s Trial Exhibit 17, Bates Stamp No. WPS000948, for
trial held April 1, 2021, Invoice 1/23/20 for work in 2019: “E. Steve Smith . . . Rate
. . . 380.00 / hr”). According to the Consumer Price Index for legal services as gen-
erated by the U.S. Bureau of Labor Statistics, the prices for legal services are
2.64% higher in 2021 versus 2019 (a $10.03 difference).22 So, adjusted only for
such inflation from the year of this billing to the end of 2021, that $380.00 hourly
rate for Mr. Smith is $390.03.

* Angeles Garcia Cassin (class of ’13): Ms. Cassin works in
Houston. Her online biography states that she “focuses her practice on commercial
litigation and labor and employment matters.” On August 5, 2015, in a Corpus
Christi employment discrimination and retaliation case, her law firm noted that
her standard rate per hour was $325.00—though there was a lower negotiated
effective rate per hour in that case. See Arredondo v. Weatherford Int’l, LLC, No.
2:14-cv-00170 (Doc. 89) at p. 1 (S.D. Tex. Corpus Christi) (Summary of Attorney
Fees and Expenses: “Angeles Garcia . . . STANDARD RATE PER HOUR . . . 325”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 15.71% higher in 2021
versus 2015 (a $51.05 difference).23 So, adjusted only for such inflation from the
year of this stated rate (2015) to the end of 2021, that $325.00 hourly rate for Mr.
Cassin is $376.05.

* Amanda E. Brown (class of ’13): Ms. Brown works in Dallas.
Her online biography notes that she “represents employers in litigation, arbitra-
tion, and administrative agency actions concerning both federal and state labor
and employment laws, . . . .” In 2017, her firm billed at the rate of $345.00 per
hour for her work in a Houston employment discrimination case. See Lyde v. The
Boeing Co., No. 4:16-cv-3293 (Doc. 16-4) at p. 2 (S.D. Tex. Houston) (Affidavit of
Ann Marie Arcadi dated August 2, 2017: “Ms. Brown was licensed in 2013 and is
a member in good standing of the State Bar of Texas. Her practice also focuses on
complex and single-plaintiff litigation and labor and employment matters. Ms.


22   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=380

23   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=325
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Brown also performed various legal work on this matter, and her billing rate was
$345.00 per hour.”). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
8.08% higher in 2021 versus 2017 (a $28.88 difference).24 So, adjusted only for
such inflation from the year of this testimony (2017) to the end of 2021, that
$345.00 hourly rate for Ms. Brown is $372.88.

* Samantha D. Seaton (class of ’13): Ms. Seaton works in Hou-
ston. Her State Bar of Texas online profile notes that labor-employment is one of
her practice areas. On October 18, 2016, in a Houston state-court wage case, Ms.
Seaton’s firm sought an award of attorneys’ fees her client incurred for her work.
See Request for Entry of Attorneys’ Fees, filed in Garrett v. Prologistix Corp. NW
PLX, No. 1076687 (Harris County Court at Law No. 2). In support of that request,
there is testimony representing that her client incurred fees for her work at an
hourly rate of $320.00. See id. at Exhibit A, Affidavit of Carolyn A. Russell (dated
October 18, 2016) ¶ 3 (“Ms. Seaton also represents the Defendant in the above-
styled case, and her hourly rate is $320.00”). The court granted fees but in a lower
overall amount than that requested. See id. Judgment (dated July 11, 2017). Ac-
cording to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 11.93% higher in 2021
versus 2016 (a $38.18 difference).25 So, adjusted only for such inflation from the
year of this billing (2016) to the end of 2021, that $320.00 hourly rate for Ms.
Seaton is $358.18.

* Caitlin Boehne (class of ’12): Ms. Boehne works in Austin. Her
online biography notes that she litigates unpaid wage claims for low-income work-
ers. On September 24, 2019, Judge Nancy F. Atlas found that $345.00 per hour
was a reasonable hourly rate for Ms. Boehne’s work in a Houston FLSA case. See
Chavez v. Shahini Corp., No. 4:19-cv-02324 (Doc. 9) at pp. 1–2, ¶ 9 (S.D. Tex.
Houston) (“The court finds that the following hourly rates requested by Plaintiff
are reasonable based on the market rates in the community for legal services on
employment cases such as this . . . Caitlin Boehne, Attorney licensed 2012:
$345/hour”). According to the Consumer Price Index for legal services as gener-
ated by the U.S. Bureau of Labor Statistics, the prices for legal services are 2.64%
higher in 2021 versus 2019 (a $9.11 difference).26 So, adjusted only for such


24   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=345

25   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=320

26   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=345
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inflation from the year of this court finding (2019) to the end of 2021, that $320.00
hourly rate for Ms. Boehne is $354.11.

* Jay Forester (class of ’13): Mr. Forester works in Dallas. His State
Bar of Texas profile includes “Labor-Employment” among his practice areas. On
October 21, 2015, Judge David Hittner granted his former firm fees in a Houston
FLSA case. See Gingrass v. TMG (The Moore Group, Inc.), No. 4:15-cv-00837 (Doc.
18) at p. 1 (S.D. Tex. Houston) (“The Court finds that Plaintiff has established by
declaration that he and his counsel are entitled to recover from Defendant attor-
ney’s fees and costs of $7,258.95, which the Court finds to be a reasonable
amount.”). Judge Hittner’s ruling was premised, in part, on a rate of $295.00 per
hour for Mr. Forester’s work in that Houston FLSA case. See id. (Doc. 13-2) at p.
3, ¶ 11 (Declaration of Jesse H. Forester dated September 21, 2015: “The firm’s
lodestar (hours x hourly rates) on the hours expended on this matter, amounts to
$6,658.95 (J. Forester with 13.50 hours x $295 = $3,982.50; J. Derek Braziel with
3.00 hours x $495 = $1,485.00; and Chief Paralegal Josey Gonzales with 6.11
hours x $195 = $1,191.45). The firm also has an additional $600.00 in costs in this
matter for a total amount in fees and costs of $7,258.95.”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 15.71% higher in 2021 versus 2015 (a
$46.34 difference).27 So, adjusted only for such inflation from the year of Judge
Hittner’s ruling (2015) to the end of 2021, that $295.00 hourly rate for Mr. For-
ester is $341.34.

* Brenna R. Lermon (class of ’14): Ms. Lermon works in Houston.
Her online biography states that she “regularly represents employers in respond-
ing to government agency investigations. A substantial portion of her practice
consists of giving employers day-to-day operations advice and drafting employ-
ment contracts, handbooks and other policies.” On June 30, 2016, Ms. Lermon’s
firm sought sanctions in a Houston FLSA case after alleging a plaintiff failed to
show for a deposition—and testified that her client incurred fees at her hourly
rate of $300.00. See Edwards v. 4JLJ, LLC, No. 2:15-cv-00299 (Doc. 70-10) at p. 4
(S.D. Tex. Houston) (Affidavit of Brenna L[ermon] Hill: “Task . . . Preparation and
Attendance of Deposition . . . Rate . . . $300.00 . . .”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 11.93% higher in 2021 versus 2016 (a $35.79 dif-
ference).28 So, adjusted only for such inflation from the year of this billing (2016)
to the end of 2021, that $300.00 hourly rate for Ms. Lermon is $335.79.

27   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=295

28   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=300
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* Genevieve Estrada (class of ’13): Ms. Estrada works in Hou-
ston. Her State Bar of Texas profile notes that “Labor-Employment” is one of her
two practice areas. On January 26, 2016, Magistrate Judge George Hanks found
$300.00 per hour to be a reasonable rate for Ms. Estrada’s work in a Houston
FLSA case. See Rouse v. Target Corp., 181 F. Supp. 3d 379, 385, No. 3:15-cv-48
(Doc. 33) (S.D. Tex. Galveston) (“[T]he Court finds that $300 per hour is a reason-
able hourly rate for an attorney of Estrada’s skills and expertise in the Southern
District.”). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 11.93%
higher in 2021 versus 2016 (a $35.79 difference).29 So, adjusted only for such in-
flation from the year of this billing (2016) to the end of 2021, that $300.00 hourly
rate for Ms. Estrada is $335.79.

* Michael Adams-Hurta (class of ’15): Mr. Adams-Hurta works
in Houston. He is an appellate attorney. On September 13, 2019, Judge Nancy F.
Atlas awarded Mr. Adams-Hurta’s prior firm a requested rate of $325.00 per hour
for his work in a Houston False Claims Act employment retaliation case. See
Miniex v. Houston Housing Auth., No. 4:17-cv-00624 (Doc. 277) at p. 8 (S.D. Tex.
Houston) (“The Court concludes Bivens’s ($600), Mery’s ($450), Hurta’s ($325),
and Thornton’s ($375) requested rates are reasonable for this case.”). According
to the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 2.64% higher in 2021 versus 2019
(an $8.58 difference).30 So, adjusted only for such inflation from the year of this
court ruling (2019) to the end of 2021, that $325.00 hourly rate for Mr. Adams-
Hurta is $333.58.

* Vijay Pattisapu (class of ’11): Mr. Pattisapu works in Houston.
His online biography states that he is an “[e]xperienced trial advocate in employ-
ment law and business dispute matters.” On August 16, 2018, Judge Hilda Tagle
found that $300.00 was an appropriate hourly billing rate for Mr. Pattisapu’s
work in a Corpus Christi FLSA case. See Salas v. Warrior Energy Servs. Corp.,
No. 2:15-cv-00374 (Doc. 35) at p. 8 (S.D. Tex. Corpus Christi) (“The Court . . . (2)
FINDS that $425 and $300 are the appropriate hourly billing rates for Buenker
and Pattisapu, respectively, . . . .”). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 3.64% higher in 2021 versus 2018 (a $10.91 difference).31 So,
29   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=300

30 https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=325


31 https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=300
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adjusted only for such inflation from the year of this court ruling (2018) to the end
of 2021, that $300.00 hourly rate for Mr. Pattisapu is $310.91.

* Dorian Vandenberg-Rodes (class of ’13): Ms. Vandenberg-
Rodes works in Houston. Her online biography states that she “practices employ-
ment law exclusively.” On August 22, 2019, Judge Nancy F. Atlas determined
$300.00 was a reasonable hourly rate for Ms. Vandenberg-Rodes’s work in a Hou-
ston employment discrimination case. See Rebollar v. Ortega Medical Clinic,
P.L.L.C., No. 4:18-cv-0846 (Doc. 33) at p. 5 (S.D. Tex. Houston) (“Rebollar asserts
that Slobin’s reasonable rate for employment-related cases is $500 per hour and
Vandenberg-Rodes’s is $300. Defendants do not challenge these rates. The Court
agrees these rates are reasonable in light of the attorneys’ experience and
knowledge of employment law. Accordingly, the Court will award Rebollar attor-
ney fees at her counsel’s requested rates.”). According to the Consumer Price In-
dex for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 2.64% higher in 2021 versus 2019 (an $7.92 differ-
ence).32 So, adjusted only for such inflation from the year of this court ruling
(2019) to the end of 2021, that $300.00 hourly rate for Ms. Vandenberg-Rodes is
$307.92.

* Ben Michael (class of ’13): Mr. Michael works in Austin. On Jan-
uary 27, 2016, his prior firm applied for fees in a Houston FLSA case. See Willis
v. Full Service Const. Inc., No. 4:11-cv-1673 (Doc. 71) at p. 3, ¶ 9 (S.D. Tex. Hou-
ston) (Plaintiffs’ Application for Award of Attorney’s Fees, Costs and Expenses:
“The reasonable fee that Plaintiffs request is the lodestar amount, $91,825.00.
This is based on an hourly rate of . . . $250.00 for Benjamin Michael (‘Michael’)”.).
On February 26, 2016, Judge Kenneth Hoyt granted the full amount of these re-
quested fees, which included this rate of $250.00 per hour for Mr. Michael’s work
in that Houston FLSA case. See id. (Doc. 76) at p. 1 (“It is, therefore, ORDERED,
ADJUDGED, AND DECREED that the plaintiffs are awarded $91,825.00 in at-
torney’s fees[.]”). According to the Consumer Price Index for legal services as gen-
erated by the U.S. Bureau of Labor Statistics, the prices for legal services are
11.93% higher in 2021 versus 2016 (a $29.82 difference).33 So, adjusted only for
such inflation from the year of this court ruling (2016) to the end of 2021, that
$250.00 hourly rate for Mr. Michael is $279.82.




32 https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=300


33 https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=250
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                                           East Texas
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                                 EDTX† summary of rates listed: high to low

                                                $1,149.09 to $253.84
Rate         Name / JD Year                      Rate        Name / JD Year
$1,149.09*   Alan J. Robin (JD 1975)             $503.68*   Joseph L. Lanza (JD 1992)
$908.54*     Douglas E. Hamel (JD 1976)          $481.91*   Rebecca Predovan (JD 2009)
$908.54*     W. Carl Jordan (JD 1974)            $462.83*   John Werner (JD 1993)
$841.24*     Gwen J. Samora (JD 1992)            $456.91*   Jim Sanford (JD 2005)
$835.00*     Carrie B. Hoffman (JD 1993)         $450.91*   Michelle Mahony (JD 1997)
$672.99*     Vanessa Griffith (JD 1994)          $447.72*   Seth Grove (JD 2009)
$659.98*     Laura Reasons (JD 2007)             $440.00*   Brooke Bahlinger (JD 2019)
$657.95*     Gabrielle Wirth (JD 1982)           $434.06*   Marina Lyons (JD 2013)
$639.34*     Tara Porterfield (JD 1996)          $433.90*   Corinna Chandler (JD 2009)
$639.34*     Christopher V. Bacon (JD 1990)      $433.90*   Julia C. Hatcher (JD 1997)
$621.82*     Marc S. Hepworth (JD 1998)          $411.22*   Christopher Willett (JD 2009)
$621.82*     Gregg I. Shavitz (JD 1994)          $404.98*   Mark Frasher (JD 1996)
$621.82*     David A. Roth (JD 1991)             $391.75*   David Bergen (JD 2015)
$621.82*     Charles Gershbaum (JD 1990)         $391.75*   Olivia C. Mallary (JD 2015)
$598.55*     Aaron Goldstein (JD 2003)           $380.76*   Shana Khader (JD 2011)
$595.00*     Andrew S. Golub (JD 1991)           $376.88*   Corey E. Devine (JD 2006)
$570.00*     Alan Quiles (JD 1995)               $362.73*   Timothy D. Craig (JD 2003)
$570.00*     Christine M. Duignan (JD 1991)      $342.00*   Janine Kapp (JD 2015)
$549.61*     Trey Branham (JD 1999)              $342.00*   Logan A. Pardell (JD 2015)
$538.91*     Camar R. Jones (JD 2003)            $342.00*   Joshua Cittadino (JD 2014)
$538.39*     Tim Garrigan (JD 1983)              $329.99*   Stephanie Gharakhanian (JD 2013)
$518.18*     Paolo Meireles (JD 2010)            $305.73*   Megan Dixon (JD 2012)
$513.00*     Robert G. “Bobby” Lee (JD 1993)     $274.14*   Reema Ali (JD 2018)
$503.68*     Charles Vethan (JD 1994)            $253.84*   Sean Goldhammer (JD 2016)

   †
    Courts note the relevant community for fees is district-wide—not by city or division. See,
   e.g., Lewallen v. City of Beaumont, 394 Fed. Appx. 38, 46 (5th Cir. 2010); Treadway v.
   Otero, No. 2:19-CV-244 [Doc. 157] at p. 9 (S.D. Tex. Oct. 6, 2020) (citing cases and
   concluding: “When it comes to parsing between divisions, it appears that it is the district,
   rather than the division, that should govern the decision.”).
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                                     Classes of the 1970s:
                                          The Rates




                    Alan J. Robin
                    (JD 1975)




                  Douglas E. Hamel
                          (JD 1976)




                                W. Carl Jordan
                                (JD 1974)
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Classes of the 1970s:
     The Work

  * Alan J. Robin (class of ’75): Mr. Robin’s online biography notes
  that he represents clients with employee benefits issues. Although he works in
  Houston, he billed for work in a Lufkin race discrimination in employment case.
  See McClain v. Lufkin Industries, No. 9:97-CV-063 (Doc. 599-5) at pp. 37, 41 (E.D.
  Tex. Lufkin) (Amended Declaration of Christopher V. Bacon dated January 15,
  2009: “Current Rate if Still Employed . . . Robin, Alan . . . $850”). According to the
  Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
  Statistics, the prices for legal services are 34.60% higher in 2021 versus 2009 (a
  $294.09 difference).1 Adjusted only for such inflation from the year of this testi-
  mony (2009) to the end of 2021, that $850.00 hourly rate for Mr. Robin is
  $1,144.09.

  * Douglas E. Hamel (class of ’76): Mr. Hamel’s online biography
  notes his practice area is labor and employment law. Although he works in Hou-
  ston, he billed for work in a Lufkin race discrimination in employment case. See
  McClain v. Lufkin Industries, No. 9:97-CV-063 (Doc. 599-5) at p. 38 (E.D. Tex.
  Lufkin) (Amended Declaration of Christopher V. Bacon dated January 15, 2009:
  “Last Rate Billed On This Case . . . Hamel, Douglas . . . $675”). According to the
  Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
  Statistics, the prices for legal services are 34.60% higher in 2021 versus 2009 (a
  $233.54 difference).2 Adjusted only for such inflation from the year of this testi-
  mony (2009) to the end of 2021, that $675.00 hourly rate for Mr. Hamel is $908.54.

  * W. Carl Jordan (class of ’74): Mr. Jordan works in Houston. An
  online biography notes that “for approximately 40 years, he practiced in the field
  of employment and labor law . . .” He billed for work in a Lufkin race discrimina-
  tion in employment case. See McClain v. Lufkin Industries, No. 9:97-CV-063 (Doc.
  599-5) at pp. 37, 41 (E.D. Tex. Lufkin) (Amended Declaration of Christopher V.
  Bacon dated January 15, 2009: “Current Rate” . . . Jordan, Carl . . . $675”).

  1 https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=850


  2 https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=675
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According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 34.60% higher in 2021
versus 2009 (a $233.54 difference).3 Adjusted only for such inflation from the year
of this testimony (2009) to the end of 2021, that $675.00 hourly rate for Mr. Jordan
is $908.54.




3 https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=675
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                                     Classes of the 1980s:
                                          The Rates



                         Gabrielle Wirth (JD 1982)



                                   Tim Garrigan (JD 1983)
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Classes of the 1980s:
     The Work

  * Gabrielle Wirth (class of ’82): Ms. Wirth’s online biography notes
  she has “successful trial experience in a broad range of employment disputes in-
  cluding wage and hour, whistleblower, wrongful termination, discrimination, har-
  assment, retaliation, breach of contract, and trade secret/noncompetition cases . .
  . . She also represents employers before a wide variety of state and federal agen-
  cies including the EEOC, OFCCP, state human rights agencies, the Labor Com-
  mission, the Employment Development Department and OSHA.” Although she is
  based in California, she billed for employment law work she did in an Eastern
  District of Texas bankruptcy case. See In re: Nuvectra Corp., No. 19-43090 (Doc.
  364) at p. 3, (Doc. 364-3) at Exhibit C, p. 1, and (Doc. 364-6) at Exhibit F, pp. 46,
  47 (Bankr. E.D. Tex. Sherman) (Summary of Final Fee Application of Dorsey &
  Whitney LLP for Allowance of Compensation and Reimbursement of Expenses as
  Counsel to the Debtor and Debtor in Possession for the Period November 12, 2019
  through June 2, 2020) (for work such as “Conferences with J Pleitz regarding com-
  position of individuals subject to RIF (.4); review memos regarding remote em-
  ployees (.6); review revised list (.3); research state WARN act or other notice for
  layoff requirements (.5)” and “Revise WARN Act template and notice to agencies
  (.3); review updated list and complete research on requirements of other states
  (.7) meet with J. Pleitz regarding editing exhibit with positions for inclusion to
  notice to state officials (.3); respond to question regarding reserving right to claim
  WARN did not apply, review regulations and edit language for same (.2); meet
  with J. Pleitz, review new emails and finalize notices (.2)”). For that work, the
  “Stated Rate” was $720.00 per hour—though her firm applied a 10% discount to
  $648.00 per hour and that was the charge for work done in 2019. See id. On Au-
  gust 12, 2020, Judge Brenda T. Rhoades approved the request for fees. See id.
  (Doc. 386). According to the Consumer Price Index for legal services as generated
  by the U.S. Bureau of Labor Statistics, the prices for legal services are 1.53%
  higher in 2021 versus 2020 (a $9.95 difference).1 Adjusted only for such inflation
  from the year of Judge Rhoades’s approval (2020) to the end of 2021, that $648.00
  hourly rate for Ms. Wirth is $657.95.


  1   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=648
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* Tim Garrigan (class of ’83): Mr. Garrigan works in Nacogdoches.
His practice areas include a focus on labor and employment law work. On April 2,
2009, Judge Ron Clark awarded a rate of $400.00 per hour for Mr. Garrigan’s
work in a Lufkin race discrimination in employment case. See McClain v. Lufkin
Indus., Inc., No. 9:97-cv-063 (Doc. 621) at pp. 12–13 (E.D. Tex. Lufkin) (citing ev-
idence and concluding: “The court will therefore apply a $400/hr rate for the work
performed by Mr. Garrigan”). The Fifth Circuit affirmed the fee award but re-
versed with instructions for the district court to consider the higher home rates of
the out-of-state attorneys who worked on the case in East Texas in setting recov-
ery of their fees. See McClain v. Lufkin Indus., Inc., 649 F.3d 374, 387 (5th Cir.
2011) (“As a result, the trial court erred in failing to calculate the initial lodestar
using the rates Goldstein Demchak attorneys typically charge in their own home
district. The court, on remand, must reconsider the fee award using those rates
as a starting point.”). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
34.60% higher in 2021 versus 2009 (a $138.39 difference).2 Adjusted only for such
inflation from the date of Judge Clark’s ruling (2009) to the end of 2021, that
$400.00 hourly rate for Mr. Garrigan is $538.39.




2   https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=400
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Classes of the 1990s



 20                   lawyers listed




 $583.64                               average rate




 $582.50                               median rate
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                                     Classes of the 1990s:
                                          The Rates

         Gwen J.                     David A.                   Charles
         Samora                      Roth                       Vethan
         (JD 1992)                   (JD 1991)                  (JD 1994)


         Carrie B.                   Charles                    Joseph L.
         Hoffman                     Gershbaum                  Lanza
         (JD 1993)                   (JD 1990)                  (JD 1992)


         Vanessa                     Andrew S.                  John
         Griffith                    Golub                      Werner
         (JD 1994)                   (JD 1991)                  (JD 1993)


         Tara                        Alan                       Michelle
         Porterfield                 Quiles                     Mahony
         (JD 1996)                   (JD 1995)                  (JD 1997)


         Christopher                 Christine M.               Julia C.
         V. Bacon                    Duignan                    Hatcher
         (JD 1990)                   (JD 1991)                  (JD 1997)


         Marc S.                     Trey                       Mark
         Hepworth                    Branham                    Frasher
         (JD 1998)                   (JD 1999)                  (JD 1996)


         Gregg I.                    Robert G.
         Shavitz                     “Bobby” Lee
         (JD 1994)                   (JD 1993)
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Classes of the 1990s:
     The Work

  * Gwen J. Samora (class of ’92): Ms. Samora works in Houston.
  Her online biography notes that she is an appellate specialist. In or before 2009,
  she worked on a Lufkin employment race discrimination case and her hourly rate
  for that work was $625.00. See McClain v. Lufkin Industries, No. 9:97-CV-063
  (Doc. 599-5) at p. 38 (E.D. Tex. Lufkin) (Amended Declaration of Christopher V.
  Bacon, filed on January 20, 2009: “Samora, Gwen . . . Last Rate Billed On This
  Case . . . $625”). According to the Consumer Price Index for legal services as gen-
  erated by the U.S. Bureau of Labor Statistics, the prices for legal services are
  34.60% higher in 2021 versus 2009 (a $216.24 difference).1 Adjusted only for such
  inflation from the year of that billed rate (2009) to the end of 2021, that $625.00
  hourly rate for Ms. Samora is $841.24.

  * Carrie B. Hoffman (class of ’93): Ms. Hoffman works in Dallas.
  Her online biography states that she “represents and counsels major employers
  nationwide in all areas of labor and employment law across a wide range of in-
  dustries including retail and hospitality.” In a Sherman bankruptcy case, her law
  firm has her hourly rate listed as $835.00 for employment law work in 2021 such
  as, “Review employment agreement; prepare email regarding same.” See In re:
  Spherature Investments LLC, No. 20-42492 (Doc. 760) & (Doc, 760-3) at p. 1 &
  (760-8) at p. 128 (E.D. Tex. Bankr. Sherman) (Summary of Second Interim and
  Final Application of Foley & Lardner LLP, as Counsel to the Debtors, for Allow-
  ance of Compensation and Reimbursement of Expenses for Services Rendered
  During the Period from December 21, 2020 through November 12, 2021) (“Carrie
  B. Hoffman . . . Department Group, or Section . . . Labor & Employment . . . FYE
  2021 Hourly Rate . . . $835 . . .”). On January 12, 2022, Judge Brenda T. Rhoades
  granted the request for payment of these fees. See id. (Doc. 798).

  * Vanessa Griffith (class of ’94): Ms. Griffith works in Dallas. Her
  online biography states that she “represents and advises employers in all aspects
  of employment law, including internal client investigations.” She billed for work
  in a Lufkin race discrimination in employment case. See McClain v. Lufkin

  1   https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=625
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Industries, No. 9:97-CV-063 (Doc. 599-5) at pp. 37, 41 (E.D. Tex. Lufkin)
(Amended Declaration of Christopher V. Bacon, filed on January 20, 2009: “Time
Keepers Billing Under 10.00 hours . . . Griffith, Vanessa . . . Last Rate Billed . . .
390”; but that her “Current Rate” as of the date of testimony in January of 2009
was “500”). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 34.60%
higher in 2021 versus 2009—a $172.99 difference from that stated rate of $500.00
in 2009.2 Adjusted only for such inflation from the year of that stated rate (2009)
to the end of 2021, that $500.00 hourly rate for Ms. Griffith is $672.99.

* Tara Porterfield (class of ’96): Ms. Porterfield works in Austin.
Her online biography states that she “focuses her practice on employment litiga-
tion and counseling.” She billed for work in a Lufkin employment race discrimi-
nation case. See McClain v. Lufkin Industries, No. 9:97-CV-063 (Doc. 599-5) at
pp. 37–38 (E.D. Tex. Lufkin) (Amended Declaration of Christopher V. Bacon, filed
on January 20, 2009: “Time Keepers Billing Over 10.00 hours . . . Porterfield, Tara
. . . Last Rate Billed . . . 475”). According to the Consumer Price Index for legal
services as generated by the U.S. Bureau of Labor Statistics, the prices for legal
services are 34.60% higher in 2021 versus 2009—a $164.34 difference from that
billed rate of $475.00 in 2009.3 Adjusted only for such inflation from the year of
that billed rate for work in a Lufkin employment case (2009) to the end of 2021,
that $475.00 hourly rate for Ms. Porterfield is $639.34.

* Christopher V. Bacon (class of ’90): Mr. Bacon works in Hou-
ston. His online biography states that his “practice is primarily devoted to litigat-
ing employment matters on behalf of private employers.” He billed for work in a
Lufkin employment race discrimination case. See McClain v. Lufkin Industries,
No. 9:97-CV-063 (Doc. 599-5) at pp. 37–38 (E.D. Tex. Lufkin) (Amended Declara-
tion of Christopher V. Bacon, filed on January 20, 2009: “Time Keepers Billing
Over 10.00 hours . . . Bacon, Chris . . . Last Rate Billed . . . 475”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 34.60% higher in 2021 versus 2009—a
$164.34 difference from that billed rate of $475.00 in 2009.4 Adjusted only for such
inflation from the year of that billed rate for work in a Lufkin employment case
(2009) to the end of 2021, that $475.00 hourly rate for Mr. Bacon is $639.34.




2   https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=500

3   https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=475

4   https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=475
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* Marc S. Hepworth (class of ’98): Mr. Hepworth works in New
York. His online biography states that he “has been lead or co-lead counsel in
cases across the country wherein employees have been denied their overtime
wages.” On December 20, 2018, Judge Amos Mazzant found Mr. Hepworth’s
$600.00 hourly rate for work in a Sherman FLSA case was reasonable. See Hal-
leen v. Belk, Inc., No. 4:16-cv-55 (Doc. 177) at p. 11, Page ID #: 2547 (E.D. Tex.
Sherman) (“Accordingly, the Court finds the hourly rates reported by Plaintiffs’
Counsel to be reasonable in light of the attorneys’ experience, the relevant rates
for similar attorneys in this community, and the specific facts of this case.”); id.
(Doc. 174-1) (requesting fees and reporting lodestar rate of $600.00 per hour:
“Marc Hepworth . . . Rate . . . $600 . . .”). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 3.64% higher in 2021 versus 2018—a $21.82 difference from
that hourly rate of $600.00 Judge Mazzant found reasonable in 2018.5 Adjusted
only for such inflation from the year of Judge Mazzant’s finding (2018) to the end
of 2021, that $600.00 hourly rate for Mr. Hepworth is $621.82.

* Gregg I. Shavitz (class of ’94): Mr. Shavitz works in Florida. His
online biography states that he “helps employees, whether it be Wage and Hour
cases, or Equal Pay Act Claims, or Discrimination matters.” On December 20,
2018, Judge Amos Mazzant found Mr. Shavitz’s $600.00 hourly rate for work in a
Sherman FLSA case was reasonable. See Halleen v. Belk, Inc., No. 4:16-cv-55 (Doc.
177) at p. 11, Page ID #: 2547 (E.D. Tex. Sherman) (“Accordingly, the Court finds
the hourly rates reported by Plaintiffs’ Counsel to be reasonable in light of the
attorneys’ experience, the relevant rates for similar attorneys in this community,
and the specific facts of this case.”); id. (Doc. 174-1) (requesting fees and reporting
lodestar rate of $600.00 per hour: “Gregg Shavitz . . . Rate . . . $600 . . .”). According
to the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 3.64% higher in 2021 versus
2018—a $21.82 difference from that hourly rate of $600.00 Judge Mazzant found
reasonable in 2018.6 Adjusted only for such inflation from the year of Judge Maz-
zant’s finding (2018) to the end of 2021, that $600.00 hourly rate for Mr. Shavitz
is $621.82.

* David A. Roth (class of ’91): Mr. Roth works in New York. His
online biography notes that he devotes about half of his practice to focusing on
labor and employment law. On December 20, 2018, Judge Amos Mazzant found a
$600.00 hourly rate for Mr. Roth’s work in a Sherman FLSA case was reasonable.
See Halleen v. Belk, Inc., No. 4:16-cv-55 (Doc. 177) at p. 11, Page ID #: 2547 (E.D.

5   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=600

6   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=600
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Tex. Sherman) (“Accordingly, the Court finds the hourly rates reported by Plain-
tiffs’ Counsel to be reasonable in light of the attorneys’ experience, the relevant
rates for similar attorneys in this community, and the specific facts of this case.”);
id. (Doc. 174-1) (requesting fees and reporting lodestar rate of $600.00 per hour:
“David Roth . . . Rate . . . $600 . . .”). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 3.64% higher in 2021 versus 2018—a $21.82 difference from
that hourly rate of $600.00 Judge Mazzant found reasonable in 2018.7 Adjusted
only for such inflation from the year of Judge Mazzant’s finding (2018) to the end
of 2021, that $600.00 hourly rate for Mr. Roth is $621.82.

* Charles Gershbaum (class of ’90): Mr. Gershbaum works in
New York. His online biography states that he “concentrates on employment liti-
gation, representing only the employees.” On December 20, 2018, Judge Amos
Mazzant found Mr. Gershbaum’s $600.00 hourly rate for work in a Sherman
FLSA case was reasonable. See Halleen v. Belk, Inc., No. 4:16-cv-55 (Doc. 177) at
p. 11, Page ID #: 2547 (E.D. Tex. Sherman) (“Accordingly, the Court finds the
hourly rates reported by Plaintiffs’ Counsel to be reasonable in light of the attor-
neys’ experience, the relevant rates for similar attorneys in this community, and
the specific facts of this case.”); id. (Doc. 174-1) (requesting fees and reporting
lodestar rate of $600.00 per hour: “Charles Gershbaum . . . Rate . . . $600 . . .”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 3.64% higher in 2021
versus 2018—a $21.82 difference from that hourly rate of $600.00 Judge Mazzant
found reasonable in 2018.8 Adjusted only for such inflation from the year of Judge
Mazzant’s finding (2018) to the end of 2021, that $600.00 hourly rate for Mr.
Gershbaum is $621.82.

* Andrew S. Golub (class of ’91): Mr. Golub works in Houston.
His online biography states that “[h]is practice focuses on employment and civil
rights-related counseling and litigation. On April 12, 2021, Judge Michael J.
Truncale concluded that Mr. Golub’s requested rate of $595.00 per hour was rea-
sonable for work done in a Beaumont FLSA case. See Jackson v. Mistry Hospital-
ity LLC, No. 1:19-CV-00422 (Doc. 49) at p. 3, PageID #: 233 (E.D. Tex. Beaumont)
(“The Court also concludes that an hourly rate of $595.00 is reasonable. Mr.
Golub’s education, experience, and qualifications support the reasonableness of
this rate.”).




7   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=600

8   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=600
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* Alan Quiles (class of ’95): Mr. Quiles works in Florida. His online
biography states that he “focuses his practice in the area of employment law, spe-
cifically in the recovery of unpaid wages, overtime and minimum wages.” On De-
cember 20, 2018, Judge Amos Mazzant found a $550.00 hourly rate for Mr.
Quiles’s work in a Sherman FLSA case was reasonable. See Halleen v. Belk, Inc.,
No. 4:16-cv-55 (Doc. 177) at p. 11, Page ID #: 2547 (E.D. Tex. Sherman) (“Accord-
ingly, the Court finds the hourly rates reported by Plaintiffs’ Counsel to be rea-
sonable in light of the attorneys’ experience, the relevant rates for similar attor-
neys in this community, and the specific facts of this case.”); id. (Doc. 174-1) (re-
questing fees and reporting lodestar rate of $550.00 per hour: “Alan Quiles . . .
Rate . . . $550 . . .”). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
3.64% higher in 2021 versus 2018—a $20.00 difference from that hourly rate of
$550.00 Judge Mazzant found reasonable in 2018.9 Adjusted only for such infla-
tion from the year of Judge Mazzant’s finding (2018) to the end of 2021, that
$550.00 hourly rate for Mr. Quiles is $570.00.

* Christine M. Duignan (class of ’91): Ms. Duignan works in
Florida. Her online biography states that she “has devoted her practice to advo-
cating for workers’ rights.” On December 20, 2018, Judge Amos Mazzant found a
$550.00 hourly rate for Ms. Duignan’s work in a Sherman FLSA case was reason-
able. See Halleen v. Belk, Inc., No. 4:16-cv-55 (Doc. 177) at p. 11, Page ID #: 2547
(E.D. Tex. Sherman) (“Accordingly, the Court finds the hourly rates reported by
Plaintiffs’ Counsel to be reasonable in light of the attorneys’ experience, the rele-
vant rates for similar attorneys in this community, and the specific facts of this
case.”); id. (Doc. 174-1) (requesting fees and reporting lodestar rate of $550.00 per
hour: “Christine Duignan . . . Rate . . . $550 . . .”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 3.64% higher in 2021 versus 2018—a $20.00 difference
from that hourly rate of $550.00 Judge Mazzant found reasonable in 2018.10 Ad-
justed only for such inflation from the year of Judge Mazzant’s finding (2018) to
the end of 2021, that $550.00 hourly rate for Ms. Duignan is $570.00.

* Trey Branham (class of ’99): Ms. Branham works in Dallas. His
practice areas include labor and employment law. On August 11, 2015, Judge
Amos Mazzant ruled that $475.00 per hour was a reasonable rate for Mr. Bran-
ham’s work in a Sherman FLSA case. See Grimm v. Moore, et al., No. 4:14-CV-
329 (Doc. 34) at pp. 3–4, PageID #: 622–23 (E.D. Tex. Sherman) (“Based on a dec-
laration submitted to the Court, the attorneys seek to be compensated at the

9    https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=550

10   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=550
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following hourly rate: $475 per hour for Charles Branham[.] . . . Based on their
respective levels of experience, the Court finds that the hourly rates submitted in
this case are reasonable.”). According to the Consumer Price Index for legal ser-
vices as generated by the U.S. Bureau of Labor Statistics, the prices for legal ser-
vices are 15.71% higher in 2021 versus 2015—a $74.61 difference from that hourly
rate of $475.00 Judge Mazzant found reasonable in 2015.11 Adjusted only for such
inflation from the year of Judge Mazzant’s finding (2015) to the end of 2021, that
$475.00 hourly rate for Mr. Branham is $549.61.

* Robert G. “Bobby” Lee (class of ’93): Mr. Lee now works in
Houston but previously worked in North Texas. He is a labor and employment
law specialist. On April 24, 2018, Judge Amos Mazzant ruled that Mr. Lee’s re-
quest for fees was reasonable in a Sherman FLSA case. See Cole v. Wilcox, MD
PA, No. 4:17-CV-00367 (Doc. 18) at p. 3, PageID #: 111 (E.D. Tex. Sherman) (“Af-
ter reviewing Plaintiff’s motion, the Court finds that Plaintiff’s request is reason-
able and should be granted.”). That request was based on an hourly rate of $495.00
per hour for Mr. Lee’s work in that Sherman FLSA case. See id. (Doc. 16) at p. 1,
¶ 2, PageID #: 84 (Plaintiff’s Amended Application for Attorneys’ Fees and Costs
and Brief in Support: “The reasonable fee Plaintiff requests is $7,101.00. This is
based on an hourly rate of $495.00 for Robert (Bobby) Lee[.]. . .”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 3.64% higher in 2021 versus 2018—an
$18.00 difference from that hourly rate of $495.00 Judge Mazzant found reasona-
ble in 2018.12 Adjusted only for such inflation from the year of Judge Mazzant’s
finding (2018) to the end of 2021, that $495.00 hourly rate for Mr. Lee is $513.00.

* Charles Vethan (class of ’94): Mr. Vethan works in Houston. His
online biography notes that he is a civil trial specialist. On October 13, 2016,
Judge Louis Guirola, Jr., approved a rate of $450.00 per hour for Mr. Vethan’s
work in a Sherman FLSA case. See Vassallo v. Goodman Networks, Inc., No. 4:15-
CV-97 (Doc. 144) at pp. 11–12, PageID #: 2612–13 (E.D. Tex. Sherman) (“Mr.
Lanza and Mr. Vethan billed their time at a rate of $450 per hour, while Mr.
Grove, Mr. Colvin, and Mr. Walker billed their time at a rate of $400 per hour.
Mr. Singhe billed his time at $275 per hour, and Mr. Bergen, Mr. Peterson, and
Ms. Mallary billed their time at a rate of $350 per hour. . . . The Court finds that
the attorneys’ proposed rates, which range from $275 per hour to $450 per hour,
should be approved by this Court.”). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 11.93% higher in 2021 versus 2016—an $53.68 difference from

11   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=475

12   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=495
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that hourly rate of $450.00 Judge Guirola found reasonable in 2016.13 Adjusted
only for such inflation from the year of Judge Guirola’s finding (2016) to the end
of 2021, that $450.00 hourly rate for Mr. Vethan is $503.68.

* Joseph L. Lanza (class of ’92): Mr. Lanza works in San Antonio.
His online biography states that he “litigates cases ranging from the enforcement
of non-competition provisions in contracts, misappropriation of trade secrets,
breaches of contract and fiduciary duties, and patent and trademark infringe-
ment.” On October 13, 2016, Judge Louis Guirola, Jr., approved a rate of $450.00
per hour for Mr. Lanza’s work in a Sherman FLSA case. See Vassallo v. Goodman
Networks, Inc., No. 4:15-CV-97 (Doc. 144) at pp. 11–12, PageID #: 2612–13 (E.D.
Tex. Sherman) (Judge Louis Guirola, Jr.) (“Mr. Lanza and Mr. Vethan billed their
time at a rate of $450 per hour, while Mr. Grove, Mr. Colvin, and Mr. Walker
billed their time at a rate of $400 per hour. Mr. Singhe billed his time at $275 per
hour, and Mr. Bergen, Mr. Peterson, and Ms. Mallary billed their time at a rate
of $350 per hour. . . . The Court finds that the attorneys’ proposed rates, which
range from $275 per hour to $450 per hour, should be approved by this Court.”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 11.93% higher in 2021
versus 2016—an $53.68 difference from that hourly rate of $450.00 Judge Guirola
found reasonable in 2016.14 Adjusted only for such inflation from the year of Judge
Guirola’s finding (2016) to the end of 2021, that $450.00 hourly rate for Mr. Lanza
is $503.68.

* John Werner (class of ’93): Mr. Werner works in Beaumont. His
practice areas include labor and employment law. On September 2, 2015, Judge
Ron Clark awarded Mr. Werner’s firm attorneys’ fees in a Beaumont FLSA case—
the amount Magistrate Judge Keith F. Giblin recommended on August 12, 2015.
See Rivera v. Evergreen Fabrication & Indus. Servs., Inc., No 1:14-cv-76 (Doc. 14)
at pp. 1–2, PageID #: 237–38 (E.D. Tex. Beaumont) (“Pursuant to Judge Giblin’s
recommendation, the Court awards damages in the amount of $8,460.00;
$3,970.00 in attorneys’ fees[.] . . .”); id. (Doc. 13) at p. 13, PageID #: 236 (“The un-
dersigned further recommends that the Court enter judgment in favor of the
plaintiff and assess judgment against the defendant. The judgment should award
the plaintiff $8,460.00 in damages, $3,970.00 in attorneys’ fees . . .”). The recom-
mendation was for the full amount of fees requested, which was calculated using
an hourly rate of $400.00 for Mr. Werner’s work. See id. (Doc. 9) at p. 6, PageID
#: 57 (Plaintiff’s Motion for Default Judgment: “Multiplying the total number of
hours expended in this matter by the hourly rates of the undersigned counsel,

13   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=450

14   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=450
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Plaintiff is entitled to reasonable and necessary attorney fees in the amount of
$3,970, plus taxable court costs.”); id. (Doc. 9-1) at pp. 1–2, PageID #: 216–17 (Af-
fidavit of Mark W. Frasher: “John Werner’s hourly rate is $400, which rate is
reasonable for a lawyer practicing in this community with the same or similar
experience. . . . My total fees are $2,730 and John Werner’s total fees are $1,240
for a total fee of $3,970.”). According to the Consumer Price Index for legal services
as generated by the U.S. Bureau of Labor Statistics, the prices for legal services
are 15.71% higher in 2021 versus 2015—a $62.83 difference from that hourly rate
of $400.00 that both Judge Clark and Magistrate Judge Giblin awarded in 2015.15
Adjusted only for such inflation from the year of these judges’ rulings (2015) to
the end of 2021, that $400.00 hourly rate for Mr. Werner is $462.83.

* Michelle Mahony (class of ’97): Ms. Mahony works in Houston.
Her online biography states that “[f]or over twenty years, Michelle has counseled
and defended both large and small employers in matters covering a wide range of
traditional employment and wage and hour matters.” In or before 2009 she
worked on a Lufkin employment race discrimination case and her hourly rate for
that work was $335.00. See McClain v. Lufkin Industries, No. 9:97-CV-063 (Doc.
599-5) at p. 38 (E.D. Tex. Lufkin) (Amended Declaration of Christopher V. Bacon,
filed on January 20, 2009: “Timekeepers Billing Over 10.00 hours . . . Mahoney,
Mary [sic] . . . Last Rate Billed On This Case . . . $335”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 34.60% higher in 2021 versus 2009—a
$115.91 difference from that billed rate of $335.00 in 2009.16 Adjusted only for
such inflation from the year of that stated rate (2009) to the end of 2021, that
$335.00 hourly rate for Ms. Mahoney is $450.91.

* Julia C. Hatcher (class of ’97): Ms. Hatcher works in Galveston.
Her online biography notes that she has a general practice that also includes liti-
gating employment discrimination. On March 17, 2015, Judge Ron Clark awarded
her requested hourly rate of $375.00 for work she did in a Lufkin employment
discrimination case. See Combs v. City of Huntington, Texas, No. 9:12-cv-00210
(Doc. 101) at pp. 5–6, Page ID #: 780–81 (E.D. Tex. Lufkin) (“Plaintiff’s motion for
attorney’s fees requests an hourly rate for Ms. Hatcher of $375[.] . . . Defendant
submitted no contravening evidence about prevailing local rates. Accordingly,
given Ms. Hatcher’s affidavit about her own experience and the court’s observa-
tions of Ms. Hatcher’s ability in trial, without intending to set any precedent, Mr.
Garrigan’s affidavit supports Ms. Hatcher’s requested hourly fee of $375 per
hour.”), vacated and remanded on other grounds, No. 15-40436 (5th Cir. July 15,

15   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=400

16   https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=335
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2016). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 15.71% higher
in 2021 versus 2015—a $58.90 difference from Judge Clark’s award of $375.00 per
hour in 2015.17 Adjusted only for such inflation from the year of Judge Clark’s
ruling (2015) to the end of 2021, that $375.00 hourly rate for Ms. Hatcher is
$433.90.

* Mark Frasher (class of ’96): Mr. Frasher works in Beaumont. His
practice areas include labor and employment law. On September 2, 2015, Judge
Ron Clark awarded Mr. Frasher’s firm attorneys’ fees in a Beaumont FLSA case—
the amount Magistrate Judge Keith F. Giblin recommended on August 12, 2015.
See Rivera v. Evergreen Fabrication & Indus. Servs., Inc., No 1:14-cv-76 (Doc. 14)
at pp. 1–2, PageID #: 237–38 (E.D. Tex. Beaumont) (“Pursuant to Judge Giblin’s
recommendation, the Court awards damages in the amount of $8,460.00;
$3,970.00 in attorneys’ fees . . .”); id. (Doc. 13) at p. 13, PageID #: 236 (“The un-
dersigned further recommends that the Court enter judgment in favor of the
plaintiff and assess judgment against the defendant. The judgment should award
the plaintiff $8,460.00 in damages, $3,970.00 in attorneys’ fees . . .”). The recom-
mendation was for the full amount of fees requested, which was calculated using
an hourly rate of $350.00 for Mr. Frasher’s work. See id. (Doc. 9) at p. 6, PageID
#: 57 (Plaintiff’s Motion for Default Judgment: “Multiplying the total number of
hours expended in this matter by the hourly rates of the undersigned counsel,
Plaintiff is entitled to reasonable and necessary attorney fees in the amount of
$3,970, plus taxable court costs.”); id. (Doc. 9-1) at p. 1, PageID #: 216 (Affidavit
of Mark W. Frasher: “My hourly rate in this matter is $350, which rate is reason-
able for a lawyer practicing in this community with the same or similar experi-
ence. . . . My total fees are $2,730 and John Werner’s total fees are $1,240 for a
total fee of $3,970.”). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
15.71% higher in 2021 versus 2015—a $54.98 difference from that hourly rate of
$350.00 that both Judge Clark and Magistrate Judge Giblin awarded in 2015.18
Adjusted only for such inflation from the year of these judges’ rulings (2015) to
the end of 2021, that $350.00 hourly rate for Mr. Frasher is $404.98.




17   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=375

18   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=350
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Classes of the 2000s



  10                   lawyers listed




  $476.87                               average rate




  $452.32                               median rate
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                                     Classes of the 2000s:
                                          The Rates


                   Laura                                Seth
                   Reasons                              Grove
                   (JD 2007)                            (JD 2009)



                   Aaron                                Corinna
                   Goldstein                            Chandler
                   (JD 2003)                            (JD 2009)



                   Camar R.                             Christopher
                   Jones                                Willett
                   (JD 2003)                            (JD 2009)



                   Rebecca                              Corey E.
                   Predovan                             Devine
                   (JD 2009)                            (JD 2006)



                   Jim                                  Timothy D.
                   Sanford                              Craig
                   (JD 2005)                            (JD 2003)
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Classes of the 2000s:
     The Work

  * Laura Reasons (class of ’07): Ms. Reasons works in Chicago. Her
  online biography states that she “focuses her practice on wage and hour class and
  collective actions across the country arising under the Fair Labor Standards Act
  and state laws.” On June 16, 2020, Judge Robert W. Schroeder III ruled that Ms.
  Reasons’s hourly rate of $650.00 per hour was reasonable for work she did in a
  Texarkana FLSA case. See Waggoner v. VSE Corp., No. 5:18-cv-00058 (Doc. 155)
  at p. 14, PageID #: 2608 (E.D. Tex. Texarkana) (“The Court finds the hourly rates
  reported by Plaintiffs’ counsel to be reasonable in light of the attorneys’ experi-
  ence, the relevant rates for similar attorneys in this community and the specific
  facts of this case. . . . Laura Reasons performed a large percentage of the work
  performed by lawyers at the rate of $650 per hour.”). According to the Consumer
  Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
  the prices for legal services are 1.53% higher in 2021 versus 2020—a $9.98 differ-
  ence from that hourly rate of $650.00 that Judge Schroeder found was reasonable
  in 2020.1 Adjusted only for such inflation from the year of Judge Schroeder’s find-
  ing (2020) to the end of 2021, that $650.00 hourly rate for Ms. Reasons is $659.98.

  * Aaron Goldstein (class of ’03): Mr. Goldstein works in Seattle.
  His online biography states that he “advises businesses and provides litigation
  expertise on all employment and trade secret related matters, from non-competi-
  tion agreements and data theft, to discrimination and harassment claims under
  Oregon, Washington, and federal law.” He billed for employment law work he did
  in an Eastern District of Texas bankruptcy case. See In re: Nuvectra Corp., No.
  19-43090 (Doc. 364) at p. 3, (Doc. 364-3) at Exhibit C, p. 1, and (Doc. 364-6) at
  Exhibit F, pp. 2, 45, 46, 48 (Bankr. E.D. Tex. Sherman) (Summary of Final Fee
  Application of Dorsey & Whitney LLP for Allowance of Compensation and Reim-
  bursement of Expenses as Counsel to the Debtor and Debtor in Possession for the
  Period November 12, 2019 through June 2, 2020) (for work such as “Review cor-
  respondence from L. Kalesnik, analyze various WARN Act issue, and correspond
  with L. Kalesnik regarding same” and “Continue researching and analyzing fed-
  eral WARN Act issues (1.4); review correspondence from B. Schmidt regarding

  1   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=650
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new facts relevant to analysis (.3); analyze proposed reduction in force in light of
same (.7); draft memorandum regarding WARN Act analysis (1.3)” and “Corre-
spond with case team multiple times regarding strategy for WARN Act and re-
lated issues (.5); confer with B. Schmidt regarding outstanding facts necessary
before providing a comprehensive WARN Act analysis (.8); analyze overall strat-
egy in light of information from case team (1.2)” and “Research WARN Act con-
structive discharge issues related to contemplated reduction in force (.7); corre-
spond with case team regarding same (.3); review WARN Act resources and cor-
respond with case team regarding same (.4)” and “Analyze and research multiple
WARN Act issues related to release agreement and possible exceptions to WARN
Act application”). For that work, the “Stated Rate” was $595.00 per hour—though
his firm said it applied a 10% discount to arrive at “$589.50” [which is not actually
a 10% discount] and that was the charge for work done in 2019. See id. (Doc. 364)
at p. 3. On August 12, 2020, Judge Brenda T. Rhoades approved the request for
fees. See id. (Doc. 386). According to the Consumer Price Index for legal services
as generated by the U.S. Bureau of Labor Statistics, the prices for legal services
are 1.53% higher in 2021 versus 2020—a $9.05 difference from that hourly rate of
$589.50 that was a part of the fees Judge Rhoades approved in 2020.2 Adjusted
only for such inflation from the year of Judge Rhoades’s fee award (2020) to the
end of 2021, that $589.50 hourly rate for Mr. Goldstein is $598.55.

* Camar R. Jones (class of ’03): Mr. Jones works in Florida. His
online biography states that he “has extensive experience representing employees
who have been the victims of overtime and minimum wage violations, as well as
discrimination, harassment, wrongful termination, and retaliation.” On Decem-
ber 20, 2018, Judge Amos Mazzant determined Mr. Jones’s $520.00 hourly rate
for work in a Sherman FLSA case was reasonable. See Halleen v. Belk, Inc., No.
4:16-cv-55 (Doc. 177) at p. 11, PageID #: 2547 (E.D. Tex. Sherman) (“Accordingly,
the Court finds the hourly rates reported by Plaintiffs’ Counsel to be reasonable
in light of the attorneys’ experience, the relevant rates for similar attorneys in
this community, and the specific facts of this case.”); id. (Doc. 174-1) (requesting
fees and reporting lodestar rate of $520.00 per hour: “Camar Jones . . . Rate . . .
$520 . . .”). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 3.64%
higher in 2021 versus 2018—an $18.91 difference from that hourly rate of $520.00
that Judge Mazzant found reasonable in 2018.3 Adjusted only for such inflation
from the year of Judge Mazzant’s finding (2018) to the end of 2021, that $520.00
hourly rate for Mr. Jones is $538.91.



2
    https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=589.50

3   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=520
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* Rebecca Predovan (class of ’09): Ms. Predovan works in New
York. Her online biography states that she “concentrates her practice in Fair La-
bor Standards Act (FLSA) class action lawsuits, civil litigation, employment law,
federal employment and discrimination law.” On December 20, 2018, Judge Amos
Mazzant found Ms. Predovan’s $465.00 hourly rate for work in a Sherman FLSA
case was reasonable. See Halleen v. Belk, Inc., No. 4:16-cv-55 (Doc. 177) at p. 11,
PageID #: 2547 (E.D. Tex. Sherman) (“Accordingly, the Court finds the hourly
rates reported by Plaintiffs’ Counsel to be reasonable in light of the attorneys’
experience, the relevant rates for similar attorneys in this community, and the
specific facts of this case.”); id. (Doc. 174-1) (requesting fees and reporting lodestar
rate of $465.00 per hour: “Rebecca Predovan . . . Rate . . . $465”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 3.64% higher in 2021 versus 2018—an
$16.91 difference from that hourly rate of $465.00 that Judge Mazzant found rea-
sonable in 2018.4 Adjusted only for such inflation from the year of Judge Maz-
zant’s finding (2018) to the end of 2021, that $465.00 hourly rate for Ms. Predovan
is $481.91.

* Jim Sanford (class of ’05): Mr. Sanford works in Dallas. His online
biography notes he “counsels and advocates for clients in the area of labor and
employment law.” On January 8, 2020, Judge Amos L. Mazzant found that
$450.00 per hour was a reasonable hourly rate for Mr. Sanford’s work in a Sher-
man FLSA case. See Guzman v. GS Fire Protection, LLC, No. 4:19-cv-00214 (Doc.
12) at p. 4, PageID #: 187 (E.D. Tex. Sherman) (“The Court also finds that the
reasonable rates for Plaintiffs’ counsel are $450/hour for James Sanford[.]”). Ac-
cording to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 1.53% higher in 2021
versus 2020—a $6.91 difference from that hourly rate of $450.00 that Judge Maz-
zant found reasonable in 2020.5 Adjusted only for such inflation from the year of
Judge Mazzant’s finding (2020) to the end of 2021, that $450.00 hourly rate for
Mr. Sanford is $456.91.

* Seth Grove (class of ’09): Mr. Grove works in San Antonio. His
online biography notes that his practice areas include Fair Labor Standards Act
claims. On October 13, 2016, Judge Louis Guirola, Jr., approved a rate of $400.00
per hour for Mr. Grove’s work in a Sherman FLSA case. See Vassallo v. Goodman
Networks, Inc., No. 4:15-CV-97 (Doc. 144) at pp. 11–12, PageID #: 2612–13 (E.D.
Tex. Sherman) (“Mr. Lanza and Mr. Vethan billed their time at a rate of $450 per
hour, while Mr. Grove, Mr. Colvin, and Mr. Walker billed their time at a rate of

4   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=465

5   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=450
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$400 per hour. Mr. Singhe billed his time at $275 per hour, and Mr. Bergen, Mr.
Peterson, and Ms. Mallary billed their time at a rate of $350 per hour. . . . The
Court finds that the attorneys’ proposed rates, which range from $275 per hour to
$450 per hour, should be approved by this Court.”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 11.93% higher in 2021 versus 2016—a $47.72 dif-
ference from that hourly rate of $400.00 Judge Guirola found reasonable in 2016.6
Adjusted only for such inflation from the year of Judge Guirola’s finding (2016) to
the end of 2021, that $400.00 hourly rate for Mr. Grove is $447.72.

* Corinna Chandler (class of ’09): Ms. Chandler works in Dallas
and she focuses her practice on employment law. On August 11, 2015, Judge Amos
Mazzant ruled that $375.00 per hour was a reasonable rate for Ms. Chandler’s
work in a Sherman FLSA case. See Grimm v. Moore, et al., No. 4:14-CV-
329 (Doc. 34) at pp. 3–4, PageID #: 622–23 (E.D. Tex. Sherman) (“Based on a
declaration submitted to the Court, the attorneys seek to be compensated at the
following hourly rate . . . $375 per hour for Corinna Chandler. . . . Based on their
respective levels of experience, the Court finds that the hourly rates submitted in
this case are reasonable.”). According to the Consumer Price Index for legal ser-
vices as generated by the U.S. Bureau of Labor Statistics, the prices for legal ser-
vices are 15.71% higher in 2021 versus 2015—a $58.90 difference from that hourly
rate of $375.00 Judge Mazzant found reasonable in 2015.7 Adjusted only for such
inflation from the year of Judge Mazzant’s finding (2015) to the end of 2021, that
$375.00 hourly rate for Ms. Chandler is $433.90.

* Christopher Willett (class of ’09): Mr. Willett works in Austin.
On June 10, 2020, Judge Amos L. Mazzant awarded fees for work Mr. Willett did
in a Sherman unpaid wage/breach of contract case—adopting the recommenda-
tion of Magistrate Judge Christine A. Nowak that determined Mr. Willett’s hourly
rate of $405.00 was reasonable. See Moctezuma v. Dion Islas, No. 4:18-cv-00342
(Doc. 87) at p. 1, PageID #: 384 (E.D. Tex. Sherman) (“Having received the report
of the United States Magistrate Judge, and no objections thereto having been
timely filed, the Court is of the opinion that the findings and conclusions of the
Magistrate Judge are correct and adopts the Magistrate Judge’s report as the
findings and conclusions of the Court. It is therefore ORDERED that Plaintiffs’
Motion for Award of Attorneys’ Fees [Dkt. #82] is GRANTED, and Plaintiffs shall
have and recover their attorneys’ fees in the amount of $5,869.50 from Defend-
ant.”); id. (Doc. 86) at p. 8, PageID #: 382 (“Plaintiffs’ Counsel report hourly rates
ranging between $270.00 to $405.00 [Dkt. 82-1 at 3]. Ms. Khader’s hourly rate is


6   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=400

7   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=375
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$375.00, Ms. Ali’s hourly rate is $270.00, and Mr. Willett’s hourly rate is $405.00.
. . . The Court finds the requested hourly rates to be reasonable and appropriate
in light of the attorneys’ experience, the relevant rates for similar attorneys in
this community, and the specific facts of this case.”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 1.53% higher in 2021 versus 2020—a $6.22 differ-
ence from that hourly rate of $405.00 that these judges found was reasonable in
2020.8 Adjusted only for such inflation from the year of these judges’ rulings (2020)
to the end of 2021, that $405.00 hourly rate for Mr. Willett is $411.22.

* Corey E. Devine (class of ’06): Mr. Devine works in Houston. His
online biography states that he “focuses his practice on traditional employment,
wage and hour, and unfair competition disputes and counseling, especially for cli-
ents in the energy industry.” He billed for work in a Lufkin employment race dis-
crimination case. See McClain v. Lufkin Industries, No. 9:97-CV-063 (Doc. 599-5)
at pp. 37, 38 (E.D. Tex. Lufkin) (Amended Declaration of Christopher V. Bacon,
filed on January 20, 2009: “Time Keepers Billing Over 10.00 hours . . . Devine,
Corey . . . Last Rate Billed . . . 210” but that his “Current Rate” as of the date of
testimony in January of 2009 was “280”). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 34.60% higher in 2021 versus 2009—a $96.88 difference from
the year of that “current rate.”9 Adjusted only for such inflation from the year of
that testified “current rate” (2020) to the end of 2021, that $280.00 hourly rate for
Mr. Devine is $376.88.

* Timothy D. Craig (class of ’03): Mr. Craig works in Nacogdo-
ches. His practice areas include labor and employment law. On February 20, 2018,
Magistrate Judge Roy S. Payne found that Mr. Craig was worthy of the $350.00
per hour rate requested for work in a Marshall employment discrimination and
retaliation case. See Fisher v. Lufkin Indus., Inc., No. 2:12-CV-423 (Doc. 127) at
p. 4, PageID #: 2053 (E.D. Tex. Marshall) (“The Court is not as familiar with Mr.
Craig, but finds his work in this case worthy of the $350 hourly rate requested.”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 3.64% higher in 2021
versus 2018—a $12.73 difference from the year of Magistrate Judge Payne’s find-
ing.10 Adjusted only for such inflation from the year of Magistrate Judge Payne’s
finding (2018) to the end of 2021, that $350.00 hourly rate for Mr. Craig is $362.73.


8    https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=405

9    https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=280

10   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=350
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Classes of the 2010s



  13                   lawyers listed




  $365.09                               average rate




  $342.00                               median rate
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                                     Classes of the 2010s:
                                          The Rates

                  Paolo                                  Logan A.
                  Meireles                               Pardell
                  (JD 2010)                              (JD 2015)


                  Brooke                                 Joshua
                  Bahlinger                              Cittadino
                  (JD 2019)                              (JD 2014)


                  Marina                                 Stephanie
                  Lyons                                  Gharakhanian
                  (JD 2013)                              (JD 2013)


                  David                                  Megan
                  Bergen                                 Dixon
                  (JD 2015)                              (JD 2012)


                  Olivia C.                              Reema
                  Mallary                                Ali
                  (JD 2015)                              (JD 2018)


                  Shana                                  Sean
                  Khader                                 Goldhammer
                  (JD 2011)                              (JD 2016)


                  Janine
                  Kapp
                  (JD 2015)
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Classes of the 2010s:
     The Work

  * Paolo Meireles (class of ’10): Mr. Meireles works in Florida. His
  online biography states that his “practice focuses on class and collective action
  cases seeking unpaid wages on behalf of current and former employees nation-
  wide.” On December 20, 2018, Judge Amos Mazzant found Mr. Meireles’s $500.00
  hourly rate for work in a Sherman FLSA case was reasonable. See Halleen v. Belk,
  Inc., No. 4:16-cv-55 (Doc. 177) at p. 11, PageID #: 2547 (E.D. Tex. Sherman) (“Ac-
  cordingly, the Court finds the hourly rates reported by Plaintiffs’ Counsel to be
  reasonable in light of the attorneys’ experience, the relevant rates for similar at-
  torneys in this community, and the specific facts of this case.”); id. (Doc. 174-1) at
  p. 28, PageID #: 2336 (requesting fees and reporting lodestar rate of $500.00 per
  hour: “Paulo Meireles . . . Rate . . . $500”). According to the Consumer Price Index
  for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
  for legal services are 3.64% higher in 2021 versus 2018—an $18.18 difference from
  that hourly rate of $500.00 Judge Mazzant found reasonable in 2018.1 Adjusted
  only for such inflation from the year of Judge Mazzant’s finding (2018) to the end
  of 2021, that $500.00 hourly rate for Mr. Meireles is $518.18.

  * Brooke Bahlinger (class of ’19): Ms. Bahlinger works in Dallas.
  Her online biography states that she “is a labor and employment lawyer . . .” In a
  Sherman bankruptcy case, her law firm has her hourly rate listed as $440.00 for
  employment law work in 2021 such as, “Consult with team and B. Smith regard-
  ing noncompete and consideration issues; research and analyze case law regard-
  ing non-compete consideration and severance; analyze authentication issue with
  affidavit.” See In re: Spherature Investments LLC, No. 20-42492 (Doc. 760) at p.1
  & (760-3) at p. 1 & (Doc. 760-8) at p. 117 (E.D. Tex. Bankr. Sherman) (Summary
  of Second Interim and Final Application of Foley & Lardner LLP, as Counsel to
  the Debtors, for Allowance of Compensation and Reimbursement of Expenses for
  Services Rendered During the Period from December 21, 2020 through November
  12, 2021) (“Brooke C. Bahlinger . . . FYE 2021 Hourly Rate . . . $440 . . .”). On
  January 12, 2022, Judge Brenda T. Rhoades granted the request for payment of
  these fees. See id. (Doc. 798).


  1   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=500
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* Marina Lyons (class of ’13): Ms. Lyons works in Seattle. Her
online biography states that she “has extensive experience litigating employment
issues and has advised clients concerning wage and hour disputes, discrimination,
breach of contract, non-compete claims, investigations by governmental agencies,
and drafting employment handbooks and policies.” She billed for employment law
work she did in an Eastern District of Texas bankruptcy case. See In re: Nuvectra
Corp., No. 19-43090 (Doc. 364) at p. 3, (Doc. 364-3) at Exhibit C, p. 1, and (Doc.
364-6) at Exhibit F, p. 46 (Bankr. E.D. Tex. Sherman) (Summary of Final Fee
Application of Dorsey & Whitney LLP for Allowance of Compensation and Reim-
bursement of Expenses as Counsel to the Debtor and Debtor in Possession for the
Period November 12, 2019 through June 2, 2020) (for work including “Further
research and analyze the way in which courts determine the location of the site of
employment for purposes of telecommuting employees under the Worker Adjust-
ment and Retraining Notification Act”). For that work, the “Stated Rate” was
$475.00 per hour—though her firm applied a 10% discount yielding $427.50 per
hour, and that was the charge for work done in 2019. See id. On August 12, 2020,
Judge Brenda T. Rhoades approved the request for fees. See id. (Doc. 386). Ac-
cording to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 1.53% higher in 2021
versus 2020 (a $6.56 difference).2 Adjusted only for such inflation from the year of
Judge Rhoades’s approval (2020) to the end of 2021, that $427.50 hourly rate for
Ms. Lyons is $434.06.

* David Bergen (class of ’15): Mr. Bergen works in Houston. His
online biography notes that he represents injured plaintiffs. On October 13, 2016,
Judge Louis Guirola, Jr., approved a rate of $350.00 per hour for Mr. Bergen’s
work in a Sherman FLSA case. See Vassallo v. Goodman Networks, Inc., No. 4:15-
CV-97 (Doc. 144) at pp. 11–12, PageID #: 2612–13 (E.D. Tex. Sherman) (“Mr. Ber-
gen, Mr. Peterson, and Ms. Mallary billed their time at a rate of $350 per hour. .
. . The Court finds that the attorneys’ proposed rates, which range from $275 per
hour to $450 per hour, should be approved by this Court.”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 11.93% higher in 2021 versus 2016—a
$41.75 difference from that hourly rate of $350.00 Judge Guirola found reasonable
in 2016.3 Adjusted only for such inflation from the year of Judge Guirola’s finding
(2016) to the end of 2021, that $350.00 hourly rate for Mr. Bergen is $391.75.



2
    https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=427.50

3   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=350
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* Olivia C. Mallary (class of ’15): Ms. Mallary works in Louisiana.
Her online biography notes that her practice areas include employment law. On
October 13, 2016, Judge Louis Guirola, Jr., approved a rate of $350.00 per hour
for Ms. Mallary’s work in a Sherman FLSA case. See Vassallo v. Goodman Net-
works, Inc., No. 4:15-CV-97 (Doc. 144) at pp. 11–12, PageID #: 2612–13 (E.D. Tex.
Sherman) (“Mr. Bergen, Mr. Peterson, and Ms. Mallary billed their time at a rate
of $350 per hour. . . . The Court finds that the attorneys’ proposed rates, which
range from $275 per hour to $450 per hour, should be approved by this Court.”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 11.93% higher in 2021
versus 2016—a $41.75 difference from that hourly rate of $350.00 Judge Guirola
found reasonable in 2016.4 Adjusted only for such inflation from the year of Judge
Guirola’s finding (2016) to the end of 2021, that $350.00 hourly rate for Ms. Mal-
lary is $391.75.

* Shana Khader (class of ’11): Ms. Khader works in Dallas. Her
practice areas include labor and employment law. On June 10, 2020, Judge Amos
L. Mazzant awarded fees for work Ms. Khader did in a Sherman unpaid
wage/breach of contract case—adopting the recommendation of Magistrate Judge
Christine A. Nowak that determined Ms. Khader’s hourly rate of $375.00 was
reasonable. See Moctezuma v. Dion Islas, No. 4:18-cv-00342 (Doc. 87) at p. 1,
PageID #: 384 (E.D. Tex. Sherman) (“Having received the report of the United
States Magistrate Judge, and no objections thereto having been timely filed, the
Court is of the opinion that the findings and conclusions of the Magistrate Judge
are correct and adopts the Magistrate Judge’s report as the findings and conclu-
sions of the Court. It is therefore ORDERED that Plaintiffs’ Motion for Award of
Attorneys’ Fees (Dkt. #82) is GRANTED, and Plaintiffs shall have and recover
their attorneys’ fees in the amount of $5,869.50 from Defendant.”); id. (Doc. 86) at
p. 8, PageID #: 382 (“Plaintiffs’ Counsel report hourly rates ranging between
$270.00 to $405.00 (Dkt. 82-1 at 3). Ms. Khader’s hourly rate is $375.00, Ms. Ali’s
hourly rate is $270.00, and Mr. Willett’s hourly rate is $405.00. . . . The Court
finds the requested hourly rates to be reasonable and appropriate in light of the
attorneys’ experience, the relevant rates for similar attorneys in this community,
and the specific facts of this case.”). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 1.53% higher in 2021 versus 2020—a $5.76 difference from that
hourly rate of $375.00 that these judges found was reasonable in 2020.5 Adjusted


4   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=350

5   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=375
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only for such inflation from the year of these judges’ rulings (2020) to the end of
2021, that $375.00 hourly rate for Ms. Khader is $380.76.

* Janine Kapp (class of ’15): Ms. Kapp works in New York. Her
online biography states that she “represents employees in employment law litiga-
tion.” On December 20, 2018, Judge Amos Mazzant determined Ms. Kapp’s
$330.00 hourly rate for work in a Sherman FLSA case was reasonable. See Hal-
leen v. Belk, Inc., No. 4:16-cv-55 (Doc. 177) at p. 11, PageID #: 2547 (E.D. Tex.
Sherman) (“Accordingly, the Court finds the hourly rates reported by Plaintiffs’
Counsel to be reasonable in light of the attorneys’ experience, the relevant rates
for similar attorneys in this community, and the specific facts of this case.”); id.
(Doc. 174-1) at p. 28, PageID #: 2336 (requesting fees and reporting lodestar rate
of $330.00 per hour: “Janine Kapp . . . Rate . . . $330”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 3.64% higher in 2021 versus 2018—a $12.00 dif-
ference from that hourly rate of $330.00 that Judge Mazzant found reasonable in
2018.6 Adjusted only for such inflation from the year of Judge Mazzant’s finding
(2018) to the end of 2021, that $330.00 hourly rate for Ms. Kapp is $342.00.

* Logan A. Pardell (class of ’15): Mr. Pardell works in Florida.
His online biography notes that he “focuses his practice on nationwide complex
employment class and collective action litigation, specifically claims for unpaid
overtime wages.” On December 20, 2018, Judge Amos Mazzant determined Mr.
Pardell’s $330.00 hourly rate for work in a Sherman FLSA case was reasonable.
See Halleen v. Belk, Inc., No. 4:16-cv-55 (Doc. 177) at p. 11, PageID #: 2547 (E.D.
Tex. Sherman) (“Accordingly, the Court finds the hourly rates reported by Plain-
tiffs’ Counsel to be reasonable in light of the attorneys’ experience, the relevant
rates for similar attorneys in this community, and the specific facts of this case.”);
id. (Doc. 174-1) at p. 28, PageID #: 2336 (requesting fees and reporting lodestar
rate of $330.00 per hour: “Logan Pardell . . . Rate . . . $330”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 3.64% higher in 2021 versus 2018—a
$12.00 difference from that hourly rate of $330.00 that Judge Mazzant found rea-
sonable in 2018.7 Adjusted only for such inflation from the year of Judge Maz-
zant’s finding (2018) to the end of 2021, that $330.00 hourly rate for Mr. Pardell
is $342.00.



6   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=330

7   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=330
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* Joshua Cittadino (class of ’14): Mr. Cittadino works in New
Jerset and previously worked in New York. His online biography notes that he
“has represented clients dealing with unfair employment practices in both State
and Federal Court.” On December 20, 2018, Judge Amos Mazzant found Mr. Cit-
tadino’s $330.00 hourly rate for work in a Sherman FLSA case was reasonable.
See Halleen v. Belk, Inc., No. 4:16-cv-55 (Doc. 177) at p. 11, PageID #: 2547 (E.D.
Tex. Sherman) (“Accordingly, the Court finds the hourly rates reported by Plain-
tiffs’ Counsel to be reasonable in light of the attorneys’ experience, the relevant
rates for similar attorneys in this community, and the specific facts of this case.”);
id. (Doc. 174-1) at p. 28, PageID #: 2336 (requesting fees and reporting lodestar
rate of $330.00 per hour: “Joshua Cittadino . . . Rate . . . $330”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 3.64% higher in 2021 versus 2018—a
$12.00 difference from that hourly rate of $330.00 that Judge Mazzant found rea-
sonable in 2018.8 Adjusted only for such inflation from the year of Judge Maz-
zant’s finding (2018) to the end of 2021, that $330.00 hourly rate for Mr. Cittadino
is $342.00.

* Stephanie Gharakhanian (class of ’13): Ms. Gharakhanian
works in Austin. She previously served as special counsel for the Workers Defense
Project—“a community organization for low-wage, immigrant workers in the
Texas construction industry.” She now works for the Travis County District At-
torney’s Office. On January 8, 2020, Judge Amos L. Mazzant found that $325.00
per hour was a reasonable hourly rate for Ms. Gharakhanian’s work in a Sherman
FLSA case. See Guzman v. GS Fire Protection, LLC, No. 4:19-cv-00214 (Doc. 12)
at p. 4, PageID #: 187 (E.D. Tex. Sherman) (“The Court also finds that the reason-
able rates for Plaintiffs’ counsel are . . . $325/hour for Stephanie Gharakhanian[.] .
. .”). According to the Consumer Price Index for legal services as generated by the
U.S. Bureau of Labor Statistics, the prices for legal services are 1.53% higher in
2021 versus 2020—a $329.99 difference from that hourly rate of $325.00 that
Judge Mazzant found reasonable in 2020.9 Adjusted only for such inflation from
the year of Judge Mazzant’s finding (2020) to the end of 2021, that $325.00 hourly
rate for Ms. Gharakhanian is $329.99.

* Megan Dixon (class of ’12): Ms. Dixon works in Dallas. Her online
biography states that she “focuses her practice on representing employees in a
variety of employment disputes in state and federal courts throughout Texas.” On


8   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=330

9   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=325
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April 24, 2018, Judge Amos Mazzant found her firm’s request for fees was reason-
able in a Sherman FLSA case. See Cole v. Wilcox, MD PA, No. 4:17-CV-00367 (Doc.
18) at p. 3, PageID #: 111 (E.D. Tex. Sherman) (“After reviewing Plaintiff’s motion,
the Court finds that Plaintiff’s request is reasonable and should be granted”); id.
(Doc. 16) at p. 6, ¶ 14, PageID #: 89 (Plaintiff’s Amended Application for Attorneys’
Fees and Costs and Brief in Support, seeking $295.00 per hour for Ms. Dixon’s
work). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 3.64% higher
in 2021 versus 2018—a $10.73 difference from that hourly rate of $295.00 that
Judge Mazzant found reasonable in 2018.10 Adjusted only for such inflation from
the year of Judge Mazzant’s finding (2018) to the end of 2021, that $295.00 hourly
rate for Ms. Dixon is $305.73.

* Reema Ali (class of ’18): Ms. Ali works in Dallas. Her practice in-
cludes representing low-wage workers in employment matters. On June 10, 2020,
Judge Amos L. Mazzant awarded fees for work Ms. Ali did in a Sherman unpaid
wage/breach of contract case—adopting the recommendation of Magistrate Judge
Christine A. Nowak that determined Ms. Ali’s hourly rate of $270.00 was reason-
able. See Moctezuma v. Dion Islas, No. 4:18-cv-00342 (Doc. 87) at p. 1, PageID #:
384 (E.D. Tex. Sherman) (“Having received the report of the United States Mag-
istrate Judge, and no objections thereto having been timely filed, the Court is of
the opinion that the findings and conclusions of the Magistrate Judge are correct
and adopts the Magistrate Judge’s report as the findings and conclusions of the
Court. It is therefore ORDERED that Plaintiffs’ Motion for Award of Attorneys’
Fees (Dkt. #82) is GRANTED, and Plaintiffs shall have and recover their attor-
neys’ fees in the amount of $5,869.50 from Defendant.”); id. (Doc. 86) at p. 8,
PageID #: 382 (“Plaintiffs’ Counsel report hourly rates ranging between $270.00
to $405.00 (Dkt. 82-1 at 3). Ms. Khader’s hourly rate is $375.00, Ms. Ali’s hourly
rate is $270.00, and Mr. Willett’s hourly rate is $405.00. . . . The Court finds the
requested hourly rates to be reasonable and appropriate in light of the attorneys’
experience, the relevant rates for similar attorneys in this community, and the
specific facts of this case.”). According to the Consumer Price Index for legal ser-
vices as generated by the U.S. Bureau of Labor Statistics, the prices for legal ser-
vices are 1.53% higher in 2021 versus 2020—a $4.14 difference from that hourly
rate of $270.00 that these judges found was reasonable in 2020.11 Adjusted only
for such inflation from the year of these judges’ rulings (2020) to the end of 2021,
that $270.00 hourly rate for Ms. Ali is $274.14.



10   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=295

11   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=270
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* Sean Goldhammer (class of ’16): Mr. Goldhammer works in
Dallas for the Workers Defense Project—“a community organization for low-wage,
immigrant workers in the Texas construction industry.” On January 8, 2020,
Judge Amos L. Mazzant found that $250.00 per hour was a reasonable hourly rate
for Mr. Goldhammer’s work in a Sherman FLSA case. See Guzman v. GS Fire
Protection, LLC, No. 4:19-cv-00214 (Doc. 12) at p. 4, PageID #: 187 (E.D. Tex.
Sherman) (“The Court also finds that the reasonable rates for Plaintiffs’ counsel
are . . . $250/hour for Sean Goldhammer[.] . . .”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 1.53% higher in 2021 versus 2020—a $3.84 difference
from that hourly rate of $250.00 that Judge Mazzant found was reasonable in
2020.12 Adjusted only for such inflation from the year of Judge Mazzant’s finding
(2020) to the end of 2021, that $250.00 hourly rate for Mr. Goldhammer is $253.84.




12   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=250
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                                          West Texas
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                                 WDTX† summary of rates listed: high to low

                                                 $923.47 to $260.34
Rate       Name / JD Year                        Rate        Name / JD Year
$923.47*   Ricardo G. Cedillo (JD 1979)          $440.00*    Andrew Vickers (JD 2012)
$908.54*   Stephen E. Fox (JD 1987)              $414.55*    Corey E. Tanner (JD 2011)
$885.16*   Jesse J. Gelsomini (JD 1986)          $411.22*    Christopher Willett (JD 2009)
$867.81*   Felicity A. Fowler (JD 1992)          $405.43*    Jairo N. Castellanos (JD 2015)
$790.00*   Eric Taube (JD 1983)                  $405.30*    Stephen Key (JD 1994)
$773.94*   Kelly D. Hine (JD 1997)               $404.98*    J. Derek Braziel (JD 1995)
$665.00*   David Weiser (JD 1986)                $404.98*    Joseph Bourbois (JD 1994)
$600.44*   Colin W. Walsh (JD 2011)              $400.95*    Edmond S. Moreland, Jr. (JD 1997)
$600.44*   Kalandra N. Wheeler (JD 2005)         $391.75*    Robert Notzon (JD 1996)
$588.90*   Mario A. Barrera (JD 1984)            $388.61*    Kristen Elizondo (JD 2007)
$587.74*   John Wenke (JD 1993)                  $382.44*    Eric Johnston (JD 2005)
$587.74*   John P. Mobbs (JD 1992)               $378.28*    Stephanie S. Rojo (JD 2003)
$563.52*   Laura O’Donnell (JD 1996)             $376.81*    Adam D. Boland (JD 2004)
$559.65*   Galvin B. Kennedy (JD 1996)           $375.00*    Emily Frost (JD 2002)
$555.16*   Rebecca L. Fisher (JD 1994)           $365.53*    Caitlin Boehne (JD 2012)
$553.37*   Shafeeqa W. Giarratani (JD 2005)      $365.03*    Mauro Ramirez (JD 2007)
$540.00*   William Helfand (JD 1987)             $369.24*    Gregory Placzek (JD 2009)
$530.49*   Michael Shaunessy (JD 1987)           $359.24*    Vanessa Kinney (JD 2007)
$525.00*   Douglas B. Welmaker (JD 1993)         $352.64*    Kerry O’Brien (JD 2002)
$513.20*   Josh Sanford (JD 2001)                $347.12*    M. Black-Matthews (JD 2006)
$491.76*   Rachhana T. Srey (JD 2004)            $339.26*    Carmen Artaza (JD 2006)
$491.76*   Paul J. Lukas (JD 1991)               $335.79*    John Neuman (JD 2012)
$487.31*   Ramon Bissmeyer (JD 1993)             $335.79*    Aaron Johnson (JD 2008)
$481.14*   Maria Karos (JD 1993)                 $335.79*    Manuel Quinto-Pozos (JD 2007)
$481.14*   Judy Jetelina (JD 1985)               $335.79*    Matt Bachop (JD 2006)
$476.20*   Robert G. “Bobby” Lee (JD 1993)       $324.91*    Alicia M. Grant (JD 2016)
$472.14*   Stephen J. Romero (JD 2004)           $318.20*    Alexander M. Baggio (JD 2009)
$471.10*   Taj Clayton (JD 2005)                 $313.40*    Phillip J. Moss (JD 2010)
$461.88*   Lawrence Morales II (JD 2005)         $310.91*    Melinda Arbuckle (JD 2011)
$456.91*   Elizabeth Higginbotham (JD 1993)      $307.92*    Steve Rauls (JD 2011)
$456.91*   Thomas H. Padgett, Jr. (JD 1989)      $293.87*    Michael L. Parsons (JD 2011)
$450.00*   Edward M. “Ted” Smith (JD 1994)       $282.26*    Allison Hartry (JD 2012)
$447.72*   Don J. Foty (JD 2006)                 $270.20*    Collin Wynne (JD 2010)
$440.45*   Holly Williams (JD 1993)              $260.34*    Jay Forester (JD 2013)

   †
    Courts note the relevant community for fees is district-wide—not by city or division. See,
   e.g., Lewallen v. City of Beaumont, 394 Fed. Appx. 38, 46 (5th Cir. 2010); Treadway v.
   Otero, No. 2:19-CV-244 [Doc. 157] at p. 9 (S.D. Tex. Oct. 6, 2020) (citing cases and
   concluding: “When it comes to parsing between divisions, it appears that it is the district,
   rather than the division, that should govern the decision.”).
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                                     Classes of the 1970s:
                                          The Rates


    Ricardo G. Cedillo (JD 1979)
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Classes of the 1970s:
     The Work


  * Ricardo G. Cedillo (class of ’79): Mr. Cedillo works in San An-
  tonio. His online biography states that “he has earned an international reputation
  as one of the top trial attorneys.” On April 10, 2012, Judge Xavier Rodriguez
  awarded fees in a San Antonio FLSA case and that fee award included work Mr.
  Cedillo did at the hourly rate of $750.00. See Barrera v. MTC, Inc., No. 5:10-cv-
  00665 (Doc. 77) (W.D. Tex. San Antonio) (“Defendant has tendered affidavits ex-
  plaining that it incurred $3,379 in attorney’s fees in preparing for and attending
  the depositions in question and preparing the motion for sanctions. Defendant
  also incurred $451.75 in costs. Plaintiffs have not objected to these requested fees
  and costs. Plaintiffs Andrade and Molina are ordered to pay to Defendant a total
  of $3,830.75 within fourteen days of this Order.”); id. Defendant’s Submission of
  Attorneys’ Fees and Expenses (Doc. 73) at pp. 2–3, ¶ 2 (“As shown by the attached
  evidence of Defendant’s counsel (Cox Smith Matthews Incorporated and Davis,
  Cedillo & Mendoza, Inc.), Defendant incurred a total of $3,379.00 in attorneys’
  fees in preparing for and attending the depositions, as well as drafting its Motion
  for Sanctions, among other necessary tasks, and incurred a total of $451.75 in
  costs for a grand total of $3,830.75.”); id. Affidavit of Ramon D. Bissmeyer in Sup-
  port of Submission of Attorneys’ Fees and Expenses (Doc. 73-1) at pp. 4–5, ¶¶ 7–
  8 (“Defendant MTC has incurred $2,004.00 in attorneys’ fees in connection with
  its Motion for Sanctions and the above-described related tasks. . . .”); Declaration
  of Mark W. Kiehne in Support of Attorneys’ Fees and Expenses (Doc. 73-2) at p.
  2, ¶¶ 7–8 (“Ricardo G. Cedillo - $750 (1 hour x $750/hour) . . . .”). According to the
  Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
  Statistics, the prices for legal services are 23.37% higher in 2021 versus 2012 (a
  $175.27 difference).1 Adjusted only for such inflation from the date of this award
  to the end of 2021, that $750 hourly rate for Mr. Cedillo is $925.27.




  1   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=750
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Classes of the 1980s


 9          lawyers listed




 $649.57                                average rate




 $588.90                                median rate
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                                     Classes of the 1980s:
                                          The Rates



            Stephen E.                 David                       Michael
            Fox                        Weiser                      Shaunessy
            (JD 1987)                  (JD 1986)                   (JD 1987)




            Jesse J.                    Mario A.                    Judy
            Gelsomini                   Barrera                     Jetelina
            (JD 1986)                   (JD 1984)                   (JD 1985)




            Eric                       William S.                Thomas
            Taube                      Helfand                   “Tom” H.
            (JD 1983)                  (JD 1987)                 Padgett, Jr.
                                                                 (JD 1989)
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Classes of the 1980s:
     The Work

  * Stephen E. Fox (class of ’87): Mr. Fox works in Dallas, and his
  online biography notes that he is a partner in his firm’s Labor and Employment
  practice group. In 2009, he noted in a fee agreement—in which he was engaged to
  work in a breach of compensation agreement case filed in Austin by an employee—
  that his standard hourly rate was $675. See Fee Agreement dated February 19,
  2009 (attached to Declaration of William T. Jacks) in Garriott v. NCsoft Corp., No.
  1:09-cv-00357 (Doc. 182-4) at p. 4, n. 2 (W.D. Tex. Austin) (“For example, my
  standard rate is $675/hr.”). According to the Consumer Price Index for legal ser-
  vices as generated by the U.S. Bureau of Labor Statistics, the prices for legal ser-
  vices are 34.60% higher in 2021 versus 2009 (a $233.54 difference).1 Adjusted only
  for such inflation from the year of this stated standard billing rate (2009) to the
  end of 2021, that $675.00 hourly rate for Mr. Fox is $908.54.

  * Jesse J. Gelsomini (class of ’86): Mr. Gelsomini works in Hou-
  ston. His online biography states that his “principal areas of practice are Em-
  ployee Benefits, ERISA and Executive Compensation.” In 2015, his firm listed his
  standard hourly rate as $765.00 for employment work in an Austin bankruptcy
  case. See Chapter 11 First Interim Fee Application Summary, filed in In re: Dune
  Energy, Inc., No. 15-10336 (Doc. 322) at pp. 2, 33, (Doc. 322-1) at pp. 44, 45, 181,
  (Doc. 322-4) at p. 1 (Bankr. W.D. Tex. Austin) (That work included “Review of the
  Dune Energy, Inc. Employees Severance Plan document (.4); research and draft
  memo regarding whether the Plan is subject to ERISA (.4); review the conse-
  quences of ERISA preemption and whether the benefits provided under the
  Plan are vested prior to termination of employment (.5); analyze the amend-
  ment and termination provisions in the Plan (.5); draft correspondence regarding
  the same (.2).”). On July 28, 2015, Judge H. Christopher Mott granted fees that
  included this $765.00 per hour rate. See id. Order (Doc. 322-1) at p. 44. According
  to the Consumer Price Index for legal services as generated by the U.S. Bureau of
  Labor Statistics, the prices for legal services are 15.71% higher in 2021 versus



  1 https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=675
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2015 (a $120.16 difference).2 Adjusted only for such inflation from the date of this
award to the end of 2021, that $765 hourly rate for Mr. Gelsomini is $885.16.

* Eric Taube (class of ’83): Mr. Taube works in Austin. His online
biography states that he has extensive experience in several practice areas, in-
cluding employment disputes. In 2021, he billed for work at the hourly rate of
$790 in an Austin employment case involving claims of wrongful employment ter-
mination and defamation. See Second Supplemental Declaration of Andrew Vick-
ers, filed in Lanham v. AWR Servs., Inc., No. D-1-GN-20-003923 (419th Judicial
District Court for Travis County, Texas) (filed April 8, 2021) at p. 2, ¶ 4 (“By
agreement with our client, the current hourly billing rate for services performed
from January 1, 2021 through March 11, 2020 [sic] for this matter is $440 for me
(a partner), $790 for Eric Taube (a partner), and $205 for Ann Marie Jezisek and
Kristen Warner (paralegals). I am familiar with rates charges [sic] by attorneys
in Texas for litigation matters and these rates are reasonable when compared to
customary rates in Texas for lawsuits such as this one.”).

* David Weiser (class of ’86): Mr. Weiser works in Austin. His online
biography notes that his “practice concentrates on representation of employees
before state and federal courts, the EEOC, and the MSPB, in both individual and
class action litigation.” On January 11, 2021, Miriam G. Harvey, the Director of
the Office of Civil Rights and Diversity for the United States Department of the
Treasury issued a Final Agency Decision in which Mr. Weiser’s requested rate of
$665 for work in a federal sector employment disability discrimination case. In
the Matter of Gloria ___ v. Steven T. Mnuchin, TD Case No. BFS-20-0073-F at pp.
6, 12 (“Further, FS contended that the attorney’s fees were based on the Laffey
Matrix, which provides hourly rates to attorneys in the Washington, DC-Balti-
more area, whereas Complainant’s attorneys are in Texas, and therefore the
hourly rates should be reduced. . . . [W]ith respect to attorney’s fees, we find the
number of hours, the hourly rate, and the services itemized to be reasonable. . . .
Complainant is entitled to an award of $66,907 in attorney’s fees . . . .”); see also
Reply Declaration of David Weiser Regarding Attorneys Fees filed in In the Matter
of Gloria ___ v. Steven T. Mnuchin, TD Case No. BFS-20-0073-F at p. 4, ¶ 4 (“This
hourly rate ($665) applies to Texas clients who pay for my services in advance,
and also for those Texas clients who have a contingency fee arrangement for my
representation.”); Complainant’s Reply to Arguments Submitted by Bureau of the
Fiscal Services filed in In the Matter of Gloria ___ v. Steven T. Mnuchin, TD Case
No. BFS-20-0073-F on November 24, 2020 (requesting a total lodestar of
“$66,907.00” in fees based, in part, on Mr. Weiser’s requested hourly rate of
“$665”).



2   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=765
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* Mario A. Barrera (class of ’84): Mr. Berrera works in San Anto-
nio. His online biography states that he is a labor and employment partner at his
law firm. In 2020, he billed his work in a San Antonio employment termination
case at the hourly rate of $580. See Affidavit of Mario A. Barrera, filed in Yadav
v. Frost Bank, No. 5:20-CV-00005-FB-ESC (Doc. 42-4) at p. 2, ¶¶ 2 & 4 (W.D. Tex.
San Antonio) (“I am counsel of record for Defendant Frost Bank (“Frost”) in the
above-referenced lawsuit. I am a Partner at Norton Rose Fulbright US LLP
(“NRF”). . . . Frost has agreed to compensate NRF for the firm’s work on this law-
suit based on an hourly fee. Through this date, I have spent 0.7 hours reviewing
the relevant documents and preparing Defendant’s Motion for Sanctions (“Mo-
tion”). My hourly billing rate on this matter is $580.”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 1.53% higher in 2021 versus 2020 (an $8.90 dif-
ference).3 Adjusted only for such inflation from the year of this billing to the end
of 2021, that $580 hourly rate for Mr. Barrera is $588.90.

* William S. Helfand (class of ’87): Mr. Helfand works in Hou-
ston. His online biography notes that his “labor and employment law practice fo-
cuses on the defense of both public and private employers throughout Texas and
the United States.” In or before 2021, he contracted to represent the Texas Attor-
ney General in a Texas Whistleblower Act case brought by former employees of
that office in Brickman v. Office of the Attorney General of the States of Texas, No.
D-1-GN-20-006861 (250th Judicial District Court for Travis County, Texas). See
Emma Platoff, Texas attorney general’s office paying lead lawyer $540 per hour to
defend against whistleblower lawsuit, Texas Tribune (Dec. 14, 2020); Outside
Counsel Contract OAG Contract No. 2021-302-0051 (“Addendum B . . . Rates . . .
William S. Helfand – Partner . . . Hourly Rate . . . $540”).

* Michael Shaunessy (class of ’87): Mr. Shaunessy works in Aus-
tin. His online biography states: “For more than 20 years, he has successfully
defended employers from claims of sexual harassment, sex discrimination, race
discrimination, as well as violations of the Americans with Disabilities Act, Age
Discrimination in Employment Act, and Fair Labor Standards Act.” On March 7,
2012, Magistrate Judge John Primomo issued a report and recommendation in a
San Antonio wrongful discharge from employment case — recommending dismis-
sal of the lawsuit as a frivolous one and for imposition of sanctions. See Sladcik v.
MK Marlow Co., LLC, No. SA-11-CA-529-FB (Doc. 26) at p. 10 (W.D. Tex. San
Antonio) (“[T]his lawsuit should be dismissed with prejudice. Also, as sanctions
under Rule 11, plaintiff should be ordered to pay to defendants the attorneys fees
they incurred as a result of defending this suit. Within the 14-day time period for
responding to this Memorandum and Recommendation, defendants should file an

3   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=580
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Advisory establishing, by affidavit and other proof, the amount of attorneys’ fees
to which they are entitled.”). Defendants filed an “Advisory to the Court Regard-
ing Attorneys’ Fees.” See id. (Doc. 30). With that filing, Defendants submitted un-
redacted fee bills and the Affidavit of Michael Shaunessy — noting hourly rates
for attorneys involved. See id. (Docs. 30-1) at p. 3, ¶ 5 (“The rates charged by
Sedgwick firm in association with this case are as follows: the hourly rate for part-
ners is between $390 and $430; the hourly rate for associates is $310; . . . .”); see
also id. (Doc. 30-5) (billing statements). As only one other partner—and one asso-
ciate—are mentioned in the affidavit, it is assumed that Mr. Shaunessy’s rate was
$430, his less-experienced partner Maria Karos was $390, and his associate was
$310. On March 29, 2012, Judge Fred Biery adopted the report and recommenda-
tion granting the request for fees. See id. (Doc. 32). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 23.37% higher in 2021 versus 2012 (a $100.49
difference).4 Adjusted only for such inflation from the year of this billing to the
end of 2021, that $430 hourly rate for Mr. Shaunessy is $530.49.

* Judy Jetelina (class of ’85): Ms. Jetelina works in San Antonio.
Her online biography states that she “has practiced exclusively in the area of labor
and employment for more than 25 years.” On February 16, 2012, Judge Harry Lee
Hudspeth awarded $390 per hour for work she did in an Equal Pay Act case. See
Wojcik v. Ameripath San Antonio 5.01(A) Corp., No. SA-10-CA-335-H (Doc. 74) at
p. (W.D. Tex. San Antonio) (“. . . , the Court finds that the following are reasonable
amounts for the services of each professional: . . . Ms. Jetelina: .17 hours x $390
per hour . . .”). According to the Consumer Price Index for legal services as gener-
ated by the U.S. Bureau of Labor Statistics, the prices for legal services are
23.37% higher in 2021 versus 2012 (a $91.14 difference).5 Adjusted only for such
inflation from the year of this award to the end of 2021, that $390 hourly rate for
Ms. Jetelina is $481.14.

* Thomas “Tom” H. Padgett, Jr. (class of ’89): Mr. Padgett
works in Houston. His online biography states that he is a civil rights lawyer. On
March 3, 2020, for work prosecuting a Waco employment discrimination case,
Judge Jim Meyer granted Mr. Padgett $450.00 per hour. See Abens v. Providence
Health Servs. of Waco, No. 2015-908-4 (170th Judicial District Court for McClen-
nan County, Texas) (final judgment at p. 5) (“Thomas H. Padgett, Jr. is hereby
awarded fees in a total amount of $57,465.00. Mr. Padgett billed 127.7 hours and
bills at a rate of $450.00 per hour.”). According to the Consumer Price Index for
legal services as generated by the U.S. Bureau of Labor Statistics, the prices for


4   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=430

5   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=390
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legal services are 1.53% higher in 2021 versus 2020 (a $6.91 difference).6 Adjusted
only for such inflation from the year of this ruling to the end of 2021, that $450
hourly rate for Mr. Padgett is $456.91.




6   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=450
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Classes of the 1990s


 20                    lawyers listed




 $515.61                                average rate




 $484.23                                median rate
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                                     Classes of the 1990s:
                                          The Rates


        Felicity A.              Douglas B.               Holly
        Fowler                   Welmaker                 Williams
        (JD 1992)                (JD 1993)                (JD 1993)


        Kelly D.                 Paul J.                  Stephen
        Hine                     Lukas                    Key
        (JD 1997)                (JD 1991)                (JD 1994)


         John                    Ramon                    J. Derek
        Wenke                    Bissmeyer                Braziel
        (JD 1993)                (JD 1993)                (JD 1995)


        John P.                  Maria                     Joseph
        Mobbs                    Karos                    Bourbois
        (JD 1992)                (JD 1993)                (JD 1994)


        Laura                    Robert G.                Edmond S.
        O’Donnell                “Bobby” Lee              Moreland, Jr.
        (JD 1996)                (JD 1993)                (JD 1997)


        Galvin B.                Elizabeth L.             Robert
        Kennedy                  Higginbotham             Notzon
        (JD 1996)                (JD 1993)                (JD 1996)


        Rebecca L.               Edward M.
        Fisher                   “Ted” Smith
        (JD 1994)                (JD 1994)
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Classes of the 1990s:
     The Work

  * Felicity A. Fowler (class of ’92): Ms. Fowler works in Dallas.
  Her online biography states that she “has more than 28 years of experience
  representing employers in all facets of employment law, including litiga-
  tion, arbitrations, injunctive relief, administrative proceedings, counseling
  and trainings throughout the United States and in a few foreign jurisdictions.” In
  2015, her firm listed her standard hourly rate as $750.00 for employment work in
  an Austin bankruptcy case. See Chapter 11 First Interim Fee Application Sum-
  mary, filed in In re: Dune Energy, Inc., No. 15-10336 (Doc. 322) at p. 2, (Doc. 322-
  1) at pp. 43, 44, 45, (Doc. 322-4) at p. 1 (Bankr. W.D. Tex. Austin) (That work
  included “Review and analyze client’s severance policy (.4); review and analyze
  client’s previous termination letter for layoffs (.4); review and analyze employee
  benefits motion and order (.4); prepare correspondence providing employment law
  advice concerning potential layoffs (.4)” and “Review and revise termination letter
  for laid off employees (.5); attention to termination of severance plan (.5)” and
  “Attention to cancellation of severance plan and communications with client re-
  garding terminations and correspondence related to same (.2).”). On July 28, 2015,
  Judge H. Christopher Mott granted fees that included this rate. See id. Order
  (Doc. 322-1) at p. 44. According to the Consumer Price Index for legal services as
  generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
  15.71% higher in 2021 versus 2015 (a $117.81 difference).1 Adjusted only for such
  inflation from the date of this award to the end of 2021, that $750 hourly rate for
  Ms. Fowler is $867.81.

  * Kelly D. Hine (class of ’97): Mr. Hine works in Dallas. In 2009,
  his client agreed to pay his firm $575.00 per hour—a discount from his unstated
  standard rate—for work in a breach of compensation agreement case filed in Aus-
  tin by an employee. See Fee Agreement dated February 19, 2009 (attached to Dec-
  laration of William T. Jacks) filed in Garriott v. NCsoft Corp., No. 1:09-cv-00357
  (Doc. 182-4) at p. 4, n. 2 (W.D. Tex. Austin) (“$575/hr. for Kelly’s services” and
  “Please note that these rates are discounted from our standard rates”). According
  to the Consumer Price Index for legal services as generated by the U.S. Bureau of

  1   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=750
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Labor Statistics, the prices for legal services are 34.60% higher in 2021 versus
2009 (a $198.94 difference).2 Adjusted only for such inflation from the year of this
stated standard billing rate (2009) to the end of 2021, that $575 hourly rate for
Mr. Hine is $773.94.

* John Wenke (class of ’93): Mr. Wenke works in El Paso. His online
biography notes that he “represents employees of all levels, including manage-
ment employees, in cases of employment discrimination, wrongful termination,
sexual harassment, severance negotiations and other employment related mat-
ters.” On March 4, 2014, Judge Angie Juarez Barill issued a judgment that in-
cluded attorneys’ fees for work Mr. Wenke did in an El Paso employment discrim-
ination case. See Judgment in Vielma v. ACC Holding, Inc., No 2011-DCV-04851
(346th Judicial District Court for El Paso County, Texas) (“It is further OR-
DERED, ADJUDGED AND DECREED that Plaintiff ANTONIO VIELMA have
and recover from Defendant ACC Holding, Inc. d/b/a AIR CARGO CARRIERS,
INC. his attorney fees in the amount of two hundred and thirty-nine thousand,
four hundred and forty-five dollars ($239,445.00) for services rendered in this
Court through the date of this judgment.”). The hourly rate Judge Barill awarded
then in 2014 appears to have been $500.00 per hour. Compare Brief of Appellee,
filed January 10, 2015, in ACC Holding, Inc. v. Vielma, No. 08-14-00169-CV at p.
44 n. 7 (Tex. Ct. App.—El Paso) (“Vielma requested attorney fees for 517.77 hours
necessary to the successful pursuit of his discrimination claim through trial, at
the rate of $500 per hour, for a total of $258,885. (9RR:9). The trial court awarded
$239,445. (CR:1627). Appellant assumes that the court reduced the hours, rather
than the hourly rate.”) with Brief of Appellant, filed November 22, 2014, in ACC
Holding, Inc. v. Vielma, No. 08-14-00169-CV at p. 17 (Tex. Ct. App.—El Paso)
(arguing that “The Trial Court Awarded An Extravagant $500 Per Hour As A
Reasonable Hourly Rate And Only Discounted The Hours Expended By Ten Per-
cent For The Numerous Unsuccessful Claims.”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 17.55% higher in 2021 versus 2014 (an $87.74 differ-
ence).3 Adjusted only for such inflation from the date of this award to the end of
2021, that $500 hourly rate for Mr. Wenke is $587.74.

* John P. Mobbs (class of ’92): Mr. Mobbs works in El Paso. His
practice areas include civil appeals. On March 4, 2014, Judge Angie Juarez Barill
issued a judgment that included attorneys’ fees for work Mr. Mobbs did in an El
Paso employment discrimination case. See Judgment in Vielma v. ACC Holding,
Inc., No 2011-DCV-04851 (346th Judicial District Court for El Paso County,

2   https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=575

3   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=500
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Texas) (“It is further ORDERED, ADJUDGED AND DECREED that Plaintiff AN-
TONIO VIELMA have and recover from Defendant ACC Holding, Inc. d/b/a AIR
CARGO CARRIERS, INC. his attorney fees in the amount of two hundred and
thirty-nine thousand, four hundred and forty-five dollars ($239,445.00) for ser-
vices rendered in this Court through the date of this judgment.”). The hourly rate
Judge Barill awarded then in 2014 appears to have been $500.00 per hour. Com-
pare Brief of Appellee, filed January 10, 2015, in ACC Holding, Inc. v. Vielma, No.
08-14-00169-CV at p. 44 n. 7 (Tex. Ct. App.—El Paso) (“Vielma requested attorney
fees for 517.77 hours necessary to the successful pursuit of his discrimination
claim through trial, at the rate of $500 per hour, for a total of $258,885. (9RR:9).
The trial court awarded $239,445. (CR:1627). Appellant assumes that the court
reduced the hours, rather than the hourly rate.”) with Brief of Appellant, filed
November 22, 2014, in ACC Holding, Inc. v. Vielma, No. 08-14-00169-CV at p. 17
(Tex. Ct. App.—El Paso) (arguing that “The Trial Court Awarded An Extravagant
$500 Per Hour As A Reasonable Hourly Rate And Only Discounted The Hours
Expended By Ten Percent For The Numerous Unsuccessful Claims.”). According
to the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 17.55% higher in 2021 versus
2014 (an $87.74 difference).4 Adjusted only for such inflation from the date of this
award to the end of 2021, that $500 hourly rate for Mr. Mobbs is $587.74.

* Laura O’Donnell (class of ’96): Laura O’Donnell works in San
Antonio. Her online biography states that she heads her law firm’s Wage and
Hour Litigation Group. On December 9, 2020, her law firm filed a motion seeking
attorneys’ fees for her work defending a San Antonio FLSA case. See Defendants’
Motion for Attorneys’ Fee Award filed in Harrington v. Southwestern Bell Tele-
phone L.P., No. 5:20-CV-00770-JKP-RBF (Doc. 31) at p. 6 (W.D. Tex. San Antonio)
(“As set forth in the attached Declaration of Laura E. O’Donnell, Defendants in-
curred attorneys’ fees both in connection with their Response to Plaintiff’s motion
and in preparing for the duly-noticed hearing that Plaintiffs’ counsel failed to at-
tend. See Ex. A (filed under seal). The amount of time spent on the Response and
preparing for the hearing and the rates charged by defense counsel are reasona-
ble, considering the questions in this case, the time required, the relevant legal
skill, and the qualifications of the attorneys involved, as well as the customary
fees for defending cases such as this one. See Ex. A.”); Though her law firm’s fee
bills / invoices themselves—the referenced Exhibit—were later sealed, other fil-
ings in the case seem to reveal that her rate for work in 2020 on that case was
$555.00 per hour. See Plaintiffs’ Response in Opposition to Defendants’ Motion for
Attorneys’ Fee Award filed in Harrington v. Southwestern Bell Telephone L.P.,
No. 5:20-CV-00770-JKP-RBF (Doc. 36) at p. 11 (W.D. Tex. San Antonio) (“At her
rate of $555.00 a hour, that amounts to fees of $832.50. This is based on the billing
entry of 0.5 hours for attendance at the hearing, and one hour of preparation time

4   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=500
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for the hearing. Plaintiffs’ do not object to Ms. O’Donnell’s rate and find that her
experience, credentials and rate are similar to the education, credentials, experi-
ence and reasonable rates for plaintiffs’ counsel, Mr. Braziel, Mr. Brown and Mr.
Dunn.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 1.53% higher
in 2021 versus 2020 (a $8.52 difference).5 Adjusted only for such inflation from
the date of this billed rate to the end of 2021, that $555 hourly rate for Ms. O’Don-
nell is $563.52.

* Galvin B. Kennedy (class of ’96): Mr. Kennedy works in Hou-
ston. His online biography notes that he “champions the rights of employees in all
sectors from oil field workers to nurses.” On January 8, 2016, Judge Robert Pit-
man awarded fees in a San Antonio FLSA case. See Sifuentes v. Green Energy
Oilfield Servs., LLC, No. 5:15-CV-752 RP (Doc. 21) (W.D. Tex. San Antonio)
(“Plaintiff is awarded $17,714 as reasonable attorneys’ fees and costs.”). Those
fees were based, in part, on Mr. Kennedy’s rate of $500 per hour. See id. (Doc. 19)
at pp. 2-3 (motion for fees and costs) (“Plaintiff asserts (and Defendant is not dis-
puting) that the Plaintiff’s reasonable attorney’s fees and costs are $17,714.00.
Included in this amount are the following: . . . .3 hours for Galvin Kennedy, pres-
ident of firm, at the rate of $500 per hour;”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 11.93% higher in 2021 versus 2016 (a $59.65 differ-
ence).6 Adjusted only for such inflation from the year of this award to the end of
2021, that $500.00 hourly rate for Mr. Kennedy is $559.65.

* Rebecca L. Fisher (class of ’94): Ms. Fisher works in San Anto-
nio. Her online biography notes that she “practices Federal Employment Law
throughout the nation” — representing federal sector government employees. On
July 11, 2012, the United States Equal Employment Opportunity Commission de-
termined it was error for an administrative law judge to award her less than her
requested hourly rate of $450 per hour for work representing a Texas-based post
office employee in a disability employment discrimination case. See Linda Towns
v. Patrick R. Donohue, Appeal No. 0120112091 (“Upon review, we find that the
AJ erred in reducing the Attorney's hourly rate from $450.00 to $246.00.”); see
also Declaration of Rebecca Fisher filed in Cox v. Brennan, No. 2:14-cv-00810-
JRG-RSP (Doc. 88-1) at p. 5, PageID #978, ¶ 15 (E.D. Tex. May 10, 2017) (“I have
been awarded $450 per hour for over ten years by the Commission and by Federal
Agencies” (Linda Towns v. Patrick R. Donohue, Appeal No. 220112091 (July 11,
2012) . . .”). According to the Consumer Price Index for legal services as generated

5   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=555

6   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=500
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by the U.S. Bureau of Labor Statistics, the prices for legal services are 23.37%
higher in 2021 versus 2012 (a $105.16 difference).7 Adjusted only for such infla-
tion from the year of this ruling to the end of 2021, that $450.00 hourly rate for
Ms. Fisher is $555.16.

* Douglas B. Welmaker (class of ’93): Mr. Welmaker is based
in Austin and his online biography notes that for the past ten years he has limited
his practice to FLSA cases. On May 5, 2021, Magistrate Judge Ronald C. Griffin
ruled—in a report and recommendation—that $525 per hour was a reasonable
rate for Mr. Welmaker’s work in a Midland/Odessa FLSA case. See Garcia v. Von
Grist, Inc., No. MO:20-CV-00093 (Doc. 21) at p. 12 (W.D. Tex. May 5, 2021) (Re-
port and Recommendation) (“The time records attached to Mr. Welmaker’s decla-
ration indicate that Mr. Welmaker expended 8.4 hours at an hourly rate of
$525.00 and his paralegal expended 2.9 hours. . . . Having reviewed Mr.
Welmaker’s declaration, the undersigned finds that this hourly rate is reasonable
for an attorney practicing in the field of employment law with comparable experi-
ence to Mr. Welmaker.”). On May 27, 2021, Judge David Counts adopted that
report and recommendation. See id. (Doc. 23) at p. 1 (W.D. Tex. May 5, 2021) (“Or-
der Adopting Report and Recommendation”).

* Paul J. Lukas (class of ’91): Mr. Lukas’s online biography states
that he “is a committed advocate for employee rights.” Mr. Lukas is based in Min-
neapolis. On November 10, 2015, Judge Sam Sparks determined $425.00 was a
reasonable hourly rate for work Mr. Lukas did in an Austin FLSA case. See Clark
v. Centene Corp., No. 1:12-cv-00174-SS (Doc. 180) at pp. 15–16 (W.D. Tex. Austin)
(“Consequently, the Court finds Srey’s claimed $425 per hour rate reasonable in
light of her experience and skill and the rates of Austin-area attorneys, but re-
duces Lukas’s claimed rate from $525 to $425.”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 15.71% higher in 2021 versus 2015 (a $66.76 differ-
ence).8 Adjusted only for such inflation from the date of this determination to the
end of 2021, that $425 hourly rate for Mr. Lukas is $491.76.

* Ramon Bissmeyer (class of ’93): Mr. Bissmeyer works in San
Antonio. His online biography states that he “counsels clients in matters involving
discrimination, harassment, retaliation, minimum wage and overtime
under the Fair Labor Standards Act (‘FLSA’) and other laws and regulations
governing the employer-employee relationship.” On April 10, 2012, Judge Xavier
Rodriguez awarded fees in a San Antonio FLSA case and that fee award included

7   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=450

8   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=425
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work Mr. Bissmeyer did at the hourly rate of $395.00. See Barrera v. MTC, Inc.,
No. 5:10-cv-00665 (Doc. 77) (W.D. Tex. San Antonio) (“Defendant has tendered
affidavits explaining that it incurred $3,379 in attorney’s fees in preparing for and
attending the depositions in question and preparing the motion for sanctions. De-
fendant also incurred $451.75 in costs. Plaintiffs have not objected to these re-
quested fees and costs. Plaintiffs Andrade and Molina are ordered to pay to De-
fendant a total of $3,830.75 within fourteen days of this Order.”); id. Defendant’s
Submission of Attorneys’ Fees and Expenses (Doc. 73) at pp. 2–3, ¶ 2 (“As shown
by the attached evidence of Defendant’s counsel (Cox Smith Matthews Incorpo-
rated and Davis, Cedillo & Mendoza, Inc.), Defendant incurred a total of $3,379.00
in attorneys’ fees in preparing for and attending the depositions, as well as draft-
ing its Motion for Sanctions, among other necessary tasks, and incurred a total of
$451.75 in costs for a grand total of $3,830.75.”); id. Affidavit of Ramon D.
Bissmeyer in Support of Submission of Attorneys’ Fees and Expenses (Doc. 73-1)
at pp. 1, 4–5, ¶¶ 4, 7–8 (“At the time of the deposition in question, my hourly fee
for this matter was $395.00 per hour. . . . Defendant MTC has incurred $2,004.00
in attorneys’ fees in connection with its Motion for Sanctions and the above-de-
scribed related tasks. . . . Further, attached to this affidavit is a copy of the invoice
for services rendered by the court reporter for attending the depositions of Plain-
tiffs Andrande and Molina and taking the Certificates of Non-Appearance, in the
amount of $300, and which services were paid by Cox Smith[fn].”); Declaration of
Mark W. Kiehne in Support of Attorneys’ Fees and Expenses (Doc. 73-2) at p. 2,
¶¶ 7–8 (“Ricardo G. Cedillo - $750 (1 hour x $750/hour) Mark W. Kiehne - $625
(2.5 hours x $250/hour) Total $1375. . . . In addition, MTC incurred an additional
expense in the amount of $151.75 for the court reporter’s certificate of non-ap-
pearance of Plaintiff Javier Andrade.”). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 23.37% higher in 2021 versus 2012 (a $92.31 difference).9
Adjusted only for such inflation from the date of this award (2012) to the end of
2021, that $395.00 hourly rate for Mr. Bissmeyer is $487.31.

* Maria Karos (class of ’90): Ms. Karos works in Dallas. Her online
biography notes that she “focuses her practice on high-stakes catastrophic injury
cases and complex business litigation matters.” On March 7, 2012, Magistrate
Judge John Primomo issued a report and recommendation in a San Antonio
wrongful discharge from employment case — recommending dismissal of the law-
suit as a frivolous one and for imposition of sanctions. See Sladcik v. MK Marlow
Co., LLC, No. SA-11-CA-529-FB (Doc. 26) at p. 10 (W.D. Tex. San Antonio) (“[T]his
lawsuit should be dismissed with prejudice. Also, as sanctions under Rule 11,
plaintiff should be ordered to pay to defendants the attorneys fees they incurred
as a result of defending this suit. Within the 14-day time period for responding to
this Memorandum and Recommendation, defendants should file an Advisory

9   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=395
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establishing, by affidavit and other proof, the amount of attorneys’ fees to which
they are entitled.”). Defendants filed an “Advisory to the Court Regarding Attor-
neys’ Fees.” See id. (Doc. 30). With that filing, Defendants submitted unredacted
fee bills and the Affidavit of Michael Shaunessy — noting hourly rates for attor-
neys involved. See id. (Docs. 30-1) at p. 3, ¶ 5 (“The rates charged by Sedgwick
firm in association with this case are as follows: the hourly rate for partners is
between $390 and $430; the hourly rate for associates is $310; . . . .”); see also id.
(Doc. 30-5) (billing statements). As only one other partner—and one associate—
are mentioned in the affidavit, it is assumed that Mr. Shaunessy’s rate was $430,
his less-experienced partner Maria Karos was $390, and his associate was $310.
On March 29, 2012, Judge Fred Biery adopted the report and recommendation
granting the request for fees. See id. (Doc. 32). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 23.37% higher in 2021 versus 2012 (a $91.14 differ-
ence).10 Adjusted only for such inflation from the year of this billing (2012) to the
end of 2021, that $390 hourly rate for Ms. Karos is $481.14.

* Robert G. “Bobby” Lee (class of ’93): Though he now works
in Houston, Mr. Lee, a board-certified labor and employment law specialist, pre-
viously worked in North Texas. On July 5, 2012, Judge Lee Yeakel awarded
$386.00 per hour for work Mr. Lee did in an Austin FLSA case. See Flowers v.
Interra Hydro, Inc., No. 1:11-CV-421-LY (Doc. 35) at p. 3 (W.D. Tex. Austin) (“the
court adopts Interra’s suggested rate of $386 per-hour as the hourly rate for Mr.
Lee.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 23.37% higher
in 2021 versus 2012 (an $90.20 difference).11 Adjusted only for such inflation from
the date of this award (2012) to the end of 2021, that $386.00 hourly rate for Mr.
Lee is $476.20.

*   Elizabeth L. Higginbotham (class of ’93): Ms. Hig-
ginbotham works in San Antonio. Her online biography states that she “is a nurse
attorney in private practice who works with nurses across the State of Texas as
well as nurses in Texas practicing under a multi-state compact license.” On March
3, 2020, for work prosecuting a Waco employment discrimination case, Judge Jim
Meyer granted Ms. Higginbotham $450.00 per hour. See Abens v. Providence
Health Servs. of Waco, No. 2015-908-4 (170th Judicial District Court for McClen-
nan County, Texas) (final judgment at p. 4). According to the Consumer Price In-
dex for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 1.53% higher in 2021 versus 2020 (a $6.91

10   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=390

11   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=386
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difference).12 Adjusted only for such inflation from the year of this ruling to the
end of 2021, that $450 hourly rate for Ms. Higginbotham is $456.91.

* Edward M. “Ted” Smith (class of ’94): Mr. Smith works in
Austin. His online biography notes that he “specializes in representing employers
in all aspects of the employer-employee relationship, from training and advice to
litigation and appeal.” On October 1, 2021, Magistrate Judge Dustin M. Howell
granted fees as discovery sanctions in an Austin FLSA case. See McNamara v.
Your Fare, Inc., No. 1:21-cv-00140-LY (Doc. 31) at pp. 1-2 (W.D. Tex. Austin)
(“Plaintiff’s Motion to Compel Discovery Responses and Request for Sanctions is
GRANTED. IT IS FURTHER ORDERED: . . . that Defendants’ counsel of record,
Constangy, Brooks, Smith & Prophete, LLP, pay to Plaintiff’s counsel of record,
Cornell Smith Mierl Brutocao Burton, LLP, the amount of $3,825 within twenty-
one (21) days of this Order, as payment of Plaintiff’s reasonable attorneys’ fees
incurred in conjunction with this Motion.”). The amount of fees was premised on
the requested rate of $450 per hour for Mr. Smith’s work. See id. (Doc. 20) at p. 6
(“Plaintiff’s Motion to Compel Discovery Responses and Request for Sanctions”)
(“Mr. Smith’s hourly billable rate is $450, . . . .”); id. (Doc. 23-1) at pp. 3-4 (Exhibit
1 to “Plaintiff’s Sur-reply to Defendants’ Response to Motion to Compel Discovery
Responses and Request for Sanctions.”) (“Plaintiff respectfully requests that the
Court: . . . order Defendants and their counsel of record, jointly and severally, to
pay Plaintiff her reasonable expenses, including attorneys’ fees in the amount of
$3,825, within seven (7) days of the Court’s Order.”).

* Holly Williams (class of ’93): Ms. Williams works in Midland.
Her online biography states that she “is the only attorney in the Permian Basin
who is Board Certified by the Texas Board of Legal Specialization in Labor and
Employment Law.” On June 22, 2018, Judge David Counts granted Ms. Wil-
liams’s request for attorneys’ fees in a Midland/Odessa employment discrimina-
tion case. See Roberts v. Brinkerhoff Inspection, Inc., No. 7:16-cv-00342 (Doc. 86)
at p. 1 (W.D. Tex. Midland/Odessa) (“After due consideration, the Court GRANTS
Plaintiff’s unopposed motions for attorney fees and expenses pursuant to 42
U.S.C. § 2000e-5(k) for the amounts requested in the motions and described in the
proposed judgment.”). The granted request itself was premised on an hourly rate
of $425.00 for the work Ms. Williams did in the case. See id. Plaintiff’s Unopposed
Motion for Attorneys’ Fees (Doc. 80) at p. 3 (“Plaintiff requests an hourly rate of
$425 for lead counsel Holly Williams[.] . . .”). According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 3.64% higher in 2021 versus 2018 (a $15.45




12   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=450
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difference).13 Adjusted only for such inflation from the year of this ruling to the
end of 2021, that $425 hourly rate for Ms. Williams is $440.45.

* Stephen Key (class of ’94): Mr. Key works in Dallas. His online
biography states that his “practice is limited to the representation of management
in matters of employment litigation, governmental regulation and union rela-
tions.” In 2017, Mr. Key testified concerning his fees for work in a San Antonio
FLSA case. See Affidavit of Stephen C. Key [with billing statement attached as
Exhibit 1], filed in Defendant Stevens Tanker Division, LLC’s Motion for Fees,
filed in Espinosa v. Stevens Tanker Division, LLC, No. 5:15-cv-879-XR (Doc. 94)
(W.D. Tex. San Antonio). His firm’s billing statement shows he billed $375.00 per
hour for 2017 work in the case. See id. at p. 24. According to the Consumer Price
Index for legal services as generated by the U.S. Bureau of Labor Statistics, the
prices for legal services are 8.08% higher in 2021 versus 2017 (a $30.30 differ-
ence).14 Adjusted only for such inflation from the year of this billing to the end of
2021, that $375.00 hourly rate for Mr. Key is $405.30.

* J. Derek Braziel (class of ’95): Mr. Braziel works in Dallas. On
December 8, 2015, Judge David Alan Ezra ruled that $350.00 per hour was a rea-
sonable rate for Mr. Braziel’s work in an Austin FLSA case. See Rodriguez v. Me-
chanical Tech. Servs., Inc., No. 1:12-cv-00710 (Doc. 175) at pp. 16–17 (W.D. Tex.
Austin) (“Accordingly, the Court finds the following rates to be reasonable and
customary for this type of litigation . . . J. Derek Braziel . . . $350”). According to
the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 15.71% higher in 2021 versus
2015 (a $54.98 difference).15 Adjusted only for such inflation from the year of this
ruling to the end of 2021, that $350 hourly rate for Mr. Braziel is $404.98.

* Joseph Bourbois (class of ’94): Mr. Bourbois works in San Anto-
nio. In 2015, he billed for his work in an Austin employment discrimination case
at the hourly rate of $350.00. See Affidavit of Mario A. Barrera, filed in Santos v.
Wincor Nixdorf, Inc., No. 1:16-cv-00440-RP (Doc. 82-1) at p. 2 (W.D. Tex. Austin)
(“Our firm charged Defendant . . . $350.00 per hour for Joseph A. Bourbois’s
(Counsel) time[.]. . .”) and Invoice dated November 10, 2015 (Doc. 82-2)
at p. 4 (“Joseph A. Bourbois . . . Counsel . . . Rate . . . $350.00”). According to
the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 15.71% higher in 2021 versus

13   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=425

14   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=375

15   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=350
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2015 (a $54.98 difference).16 Adjusted only for such inflation from the year of this
billing to the end of 2021, that $350 hourly rate for Mr. Bourbois is $404.98.

* Edmond S. Moreland, Jr. (class of ’97): Mr. Moreland works
in Wimberley. On May 9, 2012, Magistrate Judge Andrew Austin ruled that Mr.
Moreland’s requested hourly rate of $325.00 for work in an Austin FLSA case was
reasonable. See Ransom v. M. Patel Enters., Inc., No. 1:10-cv-00857 (Doc. 194) at
p. 6 (W.D. Tex. Austin) (“The Court concludes that Moreland’s requested hourly
rate of $325 is reasonable in light of his experience and skill and the rates of sim-
ilar attorneys practicing in the Austin area.”), reversed on other grounds 734 F.3d
377 (5th Cir. 2013). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
23.37% higher in 2021 versus 2012 (a $75.95 difference).17 Adjusted only for such
inflation from the year of this billing to the end of 2021, that $325 hourly rate for
Mr. Moreland is $400.95.

* Robert Notzon (class of ’96): Mr. Notzon works in Austin. His
online biography notes that his practice areas include labor and employment law.
On March 15, 2016, Judge Sam Sparks awarded an hourly rate of $350.00 for Mr.
Notzon’s work in an Austin FLSA case. See Saldivar v. Austin Indep. Sch. Dist.,
No. 14-CA-00117 (Doc. 97) at p. 12 (W.D. Tex. Austin) (Judge Sam Sparks) (“AISD
does not challenge Saldivar’s counsel’s rate of $350 per hour, and therefore the
Court finds this hourly rate reasonable for the Austin area.”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 11.93% higher in 2021 versus 2016 (a
$41.75 difference).18 Adjusted only for such inflation from the year of this award
to the end of 2021, that $350 hourly rate for Mr. Notzon is $391.75.




16   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=350

17   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=325

18   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=350
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Classes of the 2000s


 24                    lawyers listed




 $407.17                                average rate




 $377.55                                median rate
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                                          Classes of the 2000s:
                                               The Rates

        Kalandra N.                Christopher                Vanessa
        Wheeler                    Willett                    Kinney
        (JD 2005)                  (JD 2009)                  (JD 2007)


        Shafeeqa W.                Kristen                    Kerry
        Giarratani                 Elizondo                   O’Brien
        (JD 2005)                  (JD 2007)                  (JD 2002)


        Josh                       Eric                       Meredith
        Sanford                    Johnston                   Black-Matthews
        (JD 2001)                  (JD 2005)                  (JD 2006)


        Rachhana                   Stephanie S.               Carmen
        T. Srey                    Rojo                       Artaza
        (JD 2004)                  (JD 2003)                  (JD 2006)


       Stephen J.                 Adam D.                    Aaron
       Romero                     Boland                     Johnson
       (JD 2004)                  (JD 2004)                  (JD 2008)


       Taj                        Emily                      Manuel
       Clayton                    Frost                      Quinto-Pozos
       (JD 2005)                  (JD 2002)                  (JD 2007)


       Lawrence                   Mauro                      Matt
       Morales II                 Ramirez                    Bachop
       (JD 2005)                  (JD 2007)                  (JD 2006)


        Don J.                     Gregory                    Alexander M.
        Foty                       Placzek                    Baggio
        (JD 2006)                  (JD 2009)                  (JD 2009)
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Classes of the 2000s:
     The Work

 * Kalandra N. Wheeler (class of ’05): Ms. Wheeler works in
 Houston. Her online biography notes that she “represents employees with various
 types of claims, including Title VII of the Civil Rights Act, the Family Medical
 Leave Act (FMLA), the Age Discrimination in Employment Act (ADEA), the
 Americans with Disabilities Act (ADA), and the Fair Labor Standards Act
 (FLSA).” On August 23, 2019, Judge Royce C. Lamberth granted fees requested
 for her work in a San Antonio employment discrimination and retaliation case.
 See Johnson v. Southwest Research Institute, No. 5:15-cv-297 (Doc. 176) at p. 17
 (W.D. Tex. San Antonio) (“To review: Southwest Research must pay Johnson
 $535,609.47 in fees and costs, plus 2.324% interest beginning on May 23, 2019
 and compounded annually”). The fees request was based, in part, on her stated
 rate of $585.00 per hour. See id. Declaration Under Penalty of Perjury of Colin W.
 Walsh (Doc. 152-1) at p. 6, ¶ 13 (“The firm’s hourly rate for Kalandra N. Wheeler,
 who became a partner shortly after trial of this case, is also currently [since Jan-
 uary 2019, when she became board certified in labor and employment law]
 $585/hour. This is the rate this firm charged and received for Ms. Wheeler’s time
 in the San Antonio market.”); see also id. Plaintiff’s Supplemental Motion for Rea-
 sonable Attorneys’ Fees and Costs (Doc. 171) at p. 3 (seeking “Post-judgment in-
 terest on $536,430.77 (the combined award of fees and costs) . . .”). According to
 the Consumer Price Index for legal services as generated by the U.S. Bureau of
 Labor Statistics, the prices for legal services are 2.64% higher in 2021 versus 2019
 (a $15.44 difference).1 Adjusted only for such inflation from the date of Judge Lam-
 berth’s award (2019) to the end of 2021, that $585.00 hourly rate for Ms. Wheeler
 is $600.44.

 * Shafeeqa W. Giarratani (class of ’05): Ms. Giarratani works
 in Austin. Her online biography notes that she “represents employers in federal
 and state court and before administrative agencies and regulatory agencies such
 as the Equal Employment Opportunity Commission, the Texas Workforce Com-
 mission, and the Office of Federal Contract Compliance Programs.” On December
 18, 2020, in a Dallas case involving allegations of race discrimination in employ-
 ment, there was testimony stating her standard hourly rate in 2020 was $545.00
 per hour. See Ibarra v. Jacobs Eng. Group, Inc., No. 3:19-cv-01437-C (Doc. 41-1)
 1   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=585
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at p. 12, ¶ 21 (N.D. Tex. Dallas) (Declaration of John M. Barcus) (“Shafeeqa W.
Giarratani’s standard rate for 2020 is $545 per hour[.]”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 1.53% higher in 2021 versus 2020 (an
$8.37 difference).2 Adjusted only for such inflation from the year of this billing
rate (2020) to the end of 2021, that $545.00 hourly rate for Ms. Giarratani is
$553.37.

* Josh Sanford (class of ’01): Mr. Sanford works in Little Rock, Ar-
kansas but is licensed in Texas and his firm keeps an office in San Antonio. His
online biography notes that he “practices almost exclusively in employment liti-
gation, focusing on wage and hour law.” On August 14, 2019, Judge Royce C. Lam-
berth awarded Mr. Sanford’s law firm fees for work in a San Antonio FLSA case.
See Moore v. Performance Pressure Pumping Servs., LLC, No. 5:15-cv-432-RC
(Doc. 174) at p. 1 (W.D. Tex. San Antonio) (“The Court finds that the Plaintiffs
should be awarded fees based on the lodestar amount requested by Plaintiffs. The
fees charged by Plaintiffs’ counsel are reasonable and consistent with fees cus-
tomarily charged by attorneys of similar skill, experience and reputation in the
area of San Antonio, Texas”). That award was premised, in part, on Mr. Sanford’s
requested rate of $500 per hour. See id. (Doc. 168-1) at p. 5, ¶ 16 (Declaration of
Attorney Josh Sandford filed as an attachment to Plaintiffs’ Motion for Award of
Attorneys’ Fees and Costs (Doc. 168)) (listing rate: “Sanford, J. $500.00.”). Accord-
ing to the Consumer Price Index for legal services as generated by the U.S. Bureau
of Labor Statistics, the prices for legal services are 2.64% higher in 2021 versus
2019 (a $13.20 difference).3 Adjusted only for such inflation from the year of Judge
Lamberth’s fee award (2019) to the end of 2021, that $500.00 hourly rate for Mr.
Sanford is $513.20.

* Rachhana T. Srey (class of ’04): Ms. Srey’s online biography
states that she “has extensive litigation experience, primarily dedicating her legal
practice to national wage and hour complex class and collective action employ-
ment litigation.” Ms. Srey is based in Minneapolis. On November 10, 2015, Judge
Sam Sparks determined $425.00 was a reasonable hourly rate for Ms. Srey’s work
in an Austin FLSA case. See Clark v. Centene Corp., No. 1:12-cv-00174-SS (Doc.
180) at pp. 15–16 (W.D. Tex. Austin) (“Consequently, the Court finds Srey’s
claimed $425 per hour rate reasonable in light of her experience and skill and the
rates of Austin-area attorneys, but reduces Lukas’s claimed rate from $525 to
$425.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 15.71% higher

2   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=545

3   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=500
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in 2021 versus 2015 (a $66.76 difference).4 Adjusted only for such inflation from
the year of Judge Sparks’s determination (2015) to the end of 2021, that $425.00
hourly rate for Ms. Srey is $491.76.

* Stephen J. Romero (class of ’04): Mr. Romero works in San
Antonio. In 2020, his law firm billed his work in a San Antonio employment ter-
mination case to a client at the hourly rate of $465.00. See Affidavit of Mario A.
Barrera, filed in Yadav v. Frost Bank, No. 5:20-CV-00005-FB-ESC (Doc. 42-4) at
p. 2, ¶¶ 2 & 4 (W.D. Tex. San Antonio) (“I am counsel of record for Defendant Frost
Bank (“Frost”) in the above-referenced lawsuit. I am a Partner at Norton Rose
Fulbright US LLP (“NRF”). . . . Frost has agreed to compensate NRF for the firm’s
work on this lawsuit based on an hourly fee. . . . Stephen J. Romero, Counsel at
NRF, has spent .75 hours reviewing cases and preparing the Motion. Mr. Romero’s
hourly rate is $465.”). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
1.53% higher in 2021 versus 2020 (a $7.14 difference).5 Adjusted only for such
inflation from the year of this billing (2020) to the end of 2021, that $465 hourly
rate for Mr. Romero is $472.14.

* Taj Clayton (class of ’05): Mr. Clayton works in Dallas. In 2009,
his client agreed to pay his firm $350.00 per hour—a discount from his unstated
standard rate—for work in a breach of compensation agreement case filed in Aus-
tin by an employee. See Garriott v. NCsoft Corp., No. 1:09-cv-00357 (Doc. 182-4)
(Fee Agreement dated February 19, 2009 attached to Declaration of William T.
Jacks) at p. 4, n. 2 (W.D. Tex. Austin) (“$350/hr. for Taj’s services” and “Please
note that these rates are discounted from our standard rates”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 34.60% higher in 2021 versus 2009 (a
$121.10 difference).6 Adjusted only for such inflation from the year of this fee
agreement (2009) to the end of 2021, that $350 hourly rate for Mr. Clayton is
$471.10.

* Lawrence Morales II (class of ’05): Mr. Morales works in San
Antonio. He is certified by the Texas Board of Legal Specialization as a labor and
employment law specialist. On March 19, 2019, Judge David Briones granted Mr.
Morales’s law firm’s request for attorneys’ fees in an El Paso FLSA case. See Bally
v. Dreams Cabaret, LLC, No. EP-CV-30-DB (Doc. 93) at p. 1 (W.D. Tex. El Paso)

4   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=425

5
    https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=465

6
    https://www.officialdata.org/Legal-services/price-inflation/2009-to-2021?amount=350
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(“Plaintiffs ask the Court to award them $111,084.50 in attorney's fees and enter
a final judgment in this case. After due consideration, the Court is of the opinion
that Plaintiffs' Motion should be granted.”). This amount of fees granted was
based, in part, on Mr. Morales’s requested rate of $450 per hour. See id. (Doc. 92)
at pp. 6 & 7 (“Plaintiff’s Motion for Attorneys’ Fees and Costs and for Entry of
Final Judgment”) (“Based on the lodestar analysis, Plaintiffs seek $111,084.50 in
attorneys’ fees . . . Mr. Morales and Ms. Hartry performed all attorney work on
this case. Mr. Morales’s billing rate of $450 per hour is reasonable.”). According
to the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 2.64% higher in 2021 versus 2019
(an $11.88 difference).7 Adjusted only for such inflation from the year of Judge
Briones’s ruling (2019) to the end of 2021, that $450.00 hourly rate for Mr. Mo-
rales is $461.88.

* Don J. Foty (class of ’06): Mr. Foty works in Houston. His online
biography notes that his areas of practice include wage and hour cases. On Janu-
ary 8, 2016, Judge Robert Pitman awarded fees in a San Antonio FLSA case. See
Sifuentes v. Green Energy Oilfield Servs., LLC, No. 5:15-CV-752 RP (Doc. 21)
(W.D. Tex. San Antonio) (“Plaintiff is awarded $17,714 as reasonable attorneys’
fees and costs.”). Those fees were based, in part, on Mr. Foty’s rate of $400 per
hour. See id. (Doc. 19) at p. 2 (motion for fees and costs) (“Plaintiff asserts (and
Defendant is not disputing) that the Plaintiff’s reasonable attorney’s fees and
costs are $17,714.00. Included in this amount are the following: . . . 29.2 hours for
Don Foty, attorney in charge, at the rate of $400 per hour;”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 11.93% higher in 2021 versus 2016 (a
$47.72 difference).8 Adjusted only for such inflation from the year of Judge Pit-
man’s fee award (2016) to the end of 2021, that $400.00 hourly rate for Mr. Foty
is $447.72.

* Christopher Willett (class of ’09): Mr. Willett works in Austin.
On August 10, 2020, Magistrate Judge Susan Hightower ruled that $405.00 per
hour was a reasonable rate for Mr. Willett’s work in an Austin FLSA case. See
Barrientos v. Mikatsuki Int’l, Inc., No. 1:18-CV-00934-RP (Doc. 38) at p. 10, 2020
WL 4581883 (W.D. Tex. Austin) (noting time records “5.5 hours of work by li-
censed attorney Christopher J. Willett at $405 per hour ($2,227.50)” and ruling:
“After carefully reviewing the time records and declaration, the Court finds the
hours expended on the case, and the hourly rates charged, are reasonable.”). On
September 4, 2020, Judge Robert Pitman adopted Magistrate Judge Susan

7   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=450

8   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=400
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Hightower’s report and recommendation that fees be awarded on that rate. See
id. (Doc. 39) at p. 2 (“the Court accepts and adopts the report and recommendation
as its own order.”). On May 13, 2020, Judge Sam Sparks ruled Mr. Willett’s re-
quested fees were reasonable in an Austin FLSA case. See Raya v. Yocham, No.
1:17-cv-00820 (Doc. 33) at p. 5 (W.D. Tex. Austin) (“The Court also concludes Mr.
Willett has shown the rates he charged is appropriate for the Austin, Texas com-
munity and is in line with fees awarded by judges in this District under similar
circumstances.”). The requested rate ruled reasonable was $405.00 per hour. See
id. Plaintiff’s Motion for Default Judgment Against Defendant Howard Yocham
and Capitol Area Resources Corp. (Doc. 28) at p. 13 (“Willett’s declaration sets
forth the market rates in the Austin area, as well as the credentials, experience,
and expertise of each attorney whose work is the basis of Plaintiffs’ motion for
attorney fees. (Ex. C, ¶ 3). The recorded lodestar includes 17.2 hours at the rate
of $405 per hour for attorney Christopher Willett, for a total of $6,966.00.”). Ac-
cording to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 1.53% higher in 2021
versus 2020 (a $6.22 difference).9 Adjusted only for such inflation from the year of
these rulings (2020) to the end of 2021, that $405.00 hourly rate for Mr. Willett is
$411.22.

* Kristen Elizondo (class of ’07): Ms. Elizondo works in San An-
tonio. Her online biography notes that prior to joining her current law firm, her
practice “focused on general civil defense and employment litigation.” On Febru-
ary 16, 2012, Judge Harry Lee Hudspeth awarded $315 per hour for work she did
in an Equal Pay Act case. See Wojcik v. Ameripath San Antonio 5.01(A) Corp., No.
SA-10-CA-335-H (Doc. 74) at p. (W.D. Tex. San Antonio) (“. . . , the Court finds
that the following are reasonable amounts for the services of each professional: . .
. Ms. Elizondo: 10.29 hours x $315 per hour . . .”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 23.37% higher in 2021 versus 2012 (a $73.61 dif-
ference).10 Adjusted only for such inflation from the year of Judge Hudspeth’s fee
award (2012) to the end of 2021, that $315 hourly rate for Ms. Elizondo is $388.61.

* Eric Johnston (class of ’05): Mr. Johnston works in Austin. His
online biography notes that he focuses his practice on “employment counseling
and litigation” among other areas. On March 7, 2012, Magistrate Judge John Pri-
momo issued a report and recommendation in a San Antonio wrongful discharge
from employment case — recommending dismissal of the lawsuit as a frivolous
one and for imposition of sanctions. See Sladcik v. MK Marlow Co., LLC, No. SA-

9    https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=405

10   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=315
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11-CA-529-FB (Doc. 26) at p. 10 (W.D. Tex. San Antonio) (“[T]his lawsuit should
be dismissed with prejudice. Also, as sanctions under Rule 11, plaintiff should be
ordered to pay to defendants the attorneys fees they incurred as a result of de-
fending this suit. Within the 14-day time period for responding to this Memoran-
dum and Recommendation, defendants should file an Advisory establishing, by
affidavit and other proof, the amount of attorneys’ fees to which they are enti-
tled.”). Defendants filed an “Advisory to the Court Regarding Attorneys’ Fees.”
See id. (Doc. 30). With that filing, Defendants submitted unredacted fee bills and
the Affidavit of Michael Shaunessy — noting hourly rates for attorneys involved.
See id. (Docs. 30-1) at p. 3, ¶ 5 (“The rates charged by Sedgwick firm in association
with this case are as follows: the hourly rate for partners is between $390 and
$430; the hourly rate for associates is $310; . . . .”); see also id. (Doc. 30-5) (billing
statements). As only one other partner—and one associate—are mentioned in the
affidavit, it is assumed that Mr. Shaunessy’s rate was $430, his less-experienced
partner Maria Karos was $390, and his associate Eric Johnston was $310. On
March 29, 2012, Judge Fred Biery adopted the report and recommendation grant-
ing the request for fees. See id. (Doc. 32). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 23.37% higher in 2021 versus 2012 (a $72.44 difference).11
Adjusted only for such inflation from the year of this billing and court determina-
tions (2012) to the end of 2021, that $310 hourly rate for Mr. Johnston is $382.44.

* Stephanie S. Rojo (class of ’03): Ms. Rojo works in Austin. Her
online biography states that she “represents employers and their leadership in
discrimination and retaliation lawsuits and charges of discrimination, wage
claims, suits for breach of contract and various employment-related torts, and
suits for violation of state and federal statutes, such as the FLSA, the FMLA,
WARN, and the Texas workers’ compensation retaliation statute.” On February
7, 2018, she sought fees as sanctions in an Austin Equal Pay Act and alleged em-
ployment discrimination case involving a pro se plaintiff. See Phillips v. Austin
Diagnostic Clinic Surgery Center, No. 1:17-cv-00940 (Doc. 18) (W.D. Tex. Austin)
(Defendant Austin Diagnostic’s Brief in Support of Motion for Attorneys’ Fees
Pursuant to Local Rule CV-7). The rate Ms. Rojo sought was $350.00 per hour for
work listed on a firm invoice attached to her affidavit—a rate she testified her
client actually incurred in 2017. See id. (Doc. 18-2) at p. 7 (Invoice dated February
7, 2018: “Stephanie Rojo Partner 14.30 hours 350”); id. (Doc. 18-1) at pp. 2–3, ¶ 7
and p. 4, ¶ 12 (Affidavit of Stephanie S. Rojo) (“I began representing Austin Diag-
nostic in this case on or around February 2017, and a reasonable billing rate for
a counsel with my experience is $350 per hour in this case. . . . In my opinion,
these attorneys’ fees incurred and to be incurred by Austin Diagnostic are reason-
able, customary, and necessary when judged by the standards for fees and related
expenses in the State of Texas.”). Judge Sam Sparks, however, limited the fees

11
     https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=310
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awarded to ten hours and assigned an associate rate of $250.00 per hour. See id.
(Doc. 21) at p. 5 (Order of March 1, 2018: “Given the minimal amount of work
necessary to defend this lawsuit, the Court estimates approximately ten hours of
work were required to draft Austin Diagnostic's seven-page motion to dismiss.
The Court adopts the reasonable hourly rate provided by Austin Diagnostic for an
associate lawyer, $250 per hour.”). According to the Consumer Price Index for le-
gal services as generated by the U.S. Bureau of Labor Statistics, the prices for
legal services are 8.08% higher in 2021 versus 2017 (a $28.28 difference from the
rate incurred).12 Adjusted only for such inflation from the year of this incurred
billing (2017) to the end of 2021, that $350.00 hourly rate for Ms. Rojo is $378.28.

* Adam D. Boland (class of ’04): Mr. Boland works in San Antonio.
His online biography states that he “focuses his practice representing employers
in all aspects of employment law.” In 2010, he testified that his hourly rate for
work in defending a San Antonio FLSA case was $290 per hour. See Borzello v.
Texas Shine, Inc., No. SA-cv-0026-XR (Doc. 13-7) at p. 2, ¶¶ 4-5 (W.D. Tex. San
Antonio) (Affidavit of Adam D. Boland: “I am an attorney of record for Defendant
Texas Shine, Inc. (‘TSI’). . . . My hourly rate on this matter is $290 an hour.”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 29.93% higher in 2021
versus 2010 (a $86.81 difference).13 Adjusted only for such inflation from the year
of this billing (2010) to the end of 2021, that $290 hourly rate for Mr. Boland is
$376.81.

* Emily Frost (class of ’02): Ms. Frost works in Austin. Her online
biography notes that she “helps employers and employees resolve their employ-
ment disputes so everyone can get back to work.” On July 9, 2021, Judge James
R. Nowlin ruled that her rate of $375 per hour for work done prosecuting an Aus-
tin FLSA case was appropriate in the community. See Menefee v. N-Title, LLC,
No. A-19-CV-00737-JRN (Doc. 64) at p. 20 (W.D. Tex. Austin) (“Plaintiff submits
an affidavit from Emily Frost. Ms. Frost’s affidavit states her rate during this case
was $325 per hour until 2021 when it increased to $375 per hour, that she has
practiced law since 2002, and that she is Board Certified in Labor and Employ-
ment Law. . . . The Court finds that the hourly rates charged in this case are
appropriate hourly rates in the community for this type of work.”).

* Mauro Ramirez (class of ’07): Mr. Ramirez works in Houston.
His online biography notes that he “represents individuals who have been denied
their rights in the workplace.” On September 20, 2011, Judge Philip R. Martinez

12   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=350

13   https://www.officialdata.org/Legal-services/price-inflation/2010-to-2021?amount=290
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granted fees as a sanction for work in an El Paso employment discrimination and
retaliation case. See Santana v. Bergelectric Corp., No. EP-CV-281-PRM (Doc. 24)
at p. 5 (W.D. Tex. El Paso) (“the Court is of the opinion that one hour’s preparation
is appropriate; therefore reasonable expense for preparation is $290.”). This was
the rate Mr. Ramirez’s law firm requested for Mr. Ramirez’s time. See id. (Doc.
18) at p. 4 (“Defendant’s Submission of Fees and Costs Associated with the Status
Conference of August 31, 2011”) (using $290 per hour as rate and stating: “I fur-
ther certify that the hourly rate noted hereinabove reflects the actual rate charged
to the client; and that it reflects the usual and customary rate billed by me to
Bergelectric on this case.”). According to the Consumer Price Index for legal ser-
vices as generated by the U.S. Bureau of Labor Statistics, the prices for legal ser-
vices are 25.87% higher in 2021 versus 2011 (a $75.03 difference).14 Adjusted only
for such inflation from the year of Judge Martinez’s ruling (2011) to the end of
2021, that $290.00 hourly rate for Ms. Ramirez is $365.03.

* Gregory Placzek (class of ’09): Mr. Placzek presently works in
Arkansas but previously worked in San Antonio. His online biography notes that
he “has represented thousands of employees in his career as an employment at-
torney.” On August 23, 2019, Judge Royce C. Lamberth granted fees requested for
his work in a San Antonio employment discrimination and retaliation case. See
Johnson v. Southwest Research Institute, No. 5:15-cv-297 (Doc. 176) at p. 17 (W.D.
Tex. San Antonio) (“To review: Southwest Research must pay Johnson
$535,609.47 in fees and costs, plus 2.324% interest beginning on May 23, 2019
and compounded annually[.]”). The fees request was based on the rate of $350.00
per hour. See id. Declaration Under Penalty of Perjury of Colin W. Walsh (Doc.
152-1) at p. 7, ¶ 15 (“His rate now in the San Antonio market, based on the qual-
ifications he possessed when he charged time in this matter, would be $395/hour,
but the firm has elected in this motion to seek fees for his time at $350/hour, which
is a reasonable rate.”); see also id. Plaintiff’s Supplemental Motion for Reasonable
Attorneys’ Fees and Costs (Doc. 171) at p. 3 (seeking “Post-judgment interest on
$536,430.77 (the combined award of fees and costs)”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 2.64% higher in 2021 versus 2019 (an $9.24 dif-
ference).15 Adjusted only for such inflation from the year of Judge Lamberth’s rul-
ing (2019) to the end of 2021, that $350.00 hourly rate for Mr. Placzek is $359.24.

* Vanessa Kinney (class of ’07): Ms. Kinney works in Little Rock,
Arkansas but her law firm keeps an office in San Antonio. Her online biography
notes that she “focuses her practice primarily in the area of employment law.” On

14   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=350

15   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=350
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August 14, 2019, Judge Royce C. Lamberth awarded Ms. Kinney’s law firm fees
for work in a San Antonio FLSA case. See Moore v. Performance Pressure Pumping
Servs., LLC, No. 5:15-cv-432-RC (Doc. 174) at p. 1 (W.D. Tex. San Antonio) (“The
Court finds that the Plaintiffs should be awarded fees based on the lodestar
amount requested by Plaintiffs. The fees charged by Plaintiffs’ counsel are rea-
sonable and consistent with fees customarily charged by attorneys of similar skill,
experience and reputation in the area of San Antonio, Texas”). That award was
premised, in part, on Ms. Kinney’s rate of $350.00 per hour. See id. (Doc. 168-1)
at p. 5, ¶ 16 (Declaration of Attorney Josh Sanford filed as an attachment to Plain-
tiffs’ Motion for Award of Attorneys’ Fees and Costs (Doc. 168)) (listing rate: “Kin-
ney, V. $350.00.”). According to the Consumer Price Index for legal services as
generated by the U.S. Bureau of Labor Statistics, the prices for legal services are
2.64% higher in 2021 versus 2019 (a $9.24 difference).16 Adjusted only for such
inflation from the year of Judge Lamberth’s finding (2019) to the end of 2021, that
$350.00 hourly rate for Ms. Kinney is $359.24.

* Kerry O’Brien (class of ’02): Mr. O’Brien works in Austin. His
online biography notes that his law firm “is dedicated to helping Texas employ-
ees.” On April 25, 2014, Judge Sam Sparks ruled that the requested rate of $300
per hour for Mr. O’Brien’s work in an Austin FLSA case was reasonable. See Ri-
vera v. Eloy Herrera, No. A-12-CA-1080-SS (Doc. 35) at p. 2 (W.D. Tex. Austin)
(“Rivera’s counsel represents he spent 16.3 hours on this case, and his legal assis-
tant spent 0.9 hours on the case. Their respective hourly rates are $300 and $125.
The Court finds these amounts to be reasonable, and awards the lodestar figure
of $5,002.50.”); id. (Doc. 31) at p. 5 (“Plaintiff’s Motion for Attorney’s Fees”)
(“Therefore, in accordance with the evidence, the Court is requested to award at-
torney fees . . . , which includes 16.3 hours by Kerry O’Brien multiplied by $300 /
hour . . . .”). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 17.55%
higher in 2021 versus 2014 (an $52.64 difference).17 Adjusted only for such infla-
tion from the year of Judge Sparks’s ruling (2014) to the end of 2021, that $300.00
hourly rate for Mr. O’Brien is $352.64.

* Meredith Black-Matthews (class of ’06): Ms. Black-Mat-
thews works in Dallas. Her online biography states that she handles wage and
hour cases. On December 8, 2015, Judge David Alan Ezra ruled that $300.00 per
hour was a reasonable rate for Ms. Black-Matthews’s work in an Austin FLSA
case. See Rodriguez v. Mechanical Tech. Servs., Inc., No. 1:12-cv-00710 (Doc. 175)
(W.D. Tex. Austin) (“Accordingly, the Court finds the following rates to be

16   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=350

17   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=300
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reasonable and customary for this type of litigation . . . Meredith Matthews . . .
$300[.]”). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 15.71%
higher in 2021 versus 2015 (a $47.12 difference).18 Adjusted only for such inflation
from the year of Judge Ezra’s ruling (2015) to the end of 2021, that $300.00 hourly
rate for Ms. Black-Matthews is $347.12.

* Carmen Artaza (class of ’06): Ms. Artaza works in Dallas and
her online biography notes that she has “practiced employment law exclusively
since graduating law school in 2006.” On July 5, 2012, Judge Lee Yeakel awarded
$275 per hour for work Ms. Artaza did in an Austin FLSA case. See Flowers v.
Interra Hydro, Inc., No. 1:11-CV-421-LY (Doc. 35) at p. 3 (W.D. Tex. Austin)
(“Thus, Flowers's rates of $275 per-hour for associates Artaza and . . . are sus-
tained.”). According to the Consumer Price Index for legal services as generated
by the U.S. Bureau of Labor Statistics, the prices for legal services are 23.37%
higher in 2021 versus 2012 (an $64.26 difference).19 Adjusted only for such infla-
tion from the date of Judge Yeakel’s award (2012) to the end of 2021, that $275
hourly rate for Ms. Artaza is $339.26.

* Aaron Johnson (class of ’08): Mr. Johnson works in Austin where
he represents low-income workers. On June 13, 2016, Judge Robert Pitman
granted fees at the rates requested in a San Antonio FLSA case. See Mo-
hammadi v. Nwabuisi, No. 5:12-cv-00042 (Doc. 148) at p. 9 (W.D. Tex. San An-
tonio) (“In light of these precedents, the Court concludes rates requested by Plain-
tiff and used in her lodestar calculation are reasonable and appropriate given the
prevailing rates in the local legal market.”). The hourly rate requested for Mr.
Johnson’s work was $300.00. See id. Plaintiff’s Third Motion for Attorney’s Fees
and Costs (Doc. 136) at p. 5 (“In this motion, Plaintiff’s Counsel seeks the following
rates in order to account for attorney tenure and current legal market conditions:
Mr. Moss at $280/hour, Mr. Johnson at $300/hour . . .”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 11.93% higher in 2021 versus 2016 (a
$35.79 difference).20 Adjusted only for such inflation from the year of Judge Pit-
man’s ruling (2016) to the end of 2021, that $300.00 hourly rate for Mr. Johnson
is $335.79.




18   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=300

19   https://www.officialdata.org/Legal-services/price-inflation/2012-to-2021?amount=275

20   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=300
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* Manuel Quinto-Pozos (class of ’07): Mr. Quinto-Pozos works
in Austin. His online biography states that he “practices employee-side labor and
employment law, and focuses on claims including employment discrimination,
harassment, retaliation, wage and overtime, and union representation.” On April
29, 2016, Judge Karin Crump awarded fees for work done in an Austin employ-
ment discrimination and retaliation case. See Vigil v. City of Austin, Texas, Cause
No. D-1-GN-13-001742 (200th Judicial District Court for Travis County, Texas)
(Final Judgment at p. 4) (“Based upon the evidence presented to the Court, and
the arguments of counsel, Plaintiff’s motion for reasonable attorneys’ fees and
costs is hereby granted.”). The fees requested and granted used an hourly rate of
$300.00 for Mr. Quinto-Pozos’s work. See id. (Plaintiff’s Motion for Entry of Judg-
ment & Award of Attorneys’ Fees) at p. 3. According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices
for legal services are 11.93% higher in 2021 versus 2016 (a $35.79 difference).21
Adjusted only for such inflation from the year of Judge Crump’s ruling (2016) to
the end of 2021, that $300.00 hourly rate for Mr. Quinto-Pozos is $335.79.

* Matt Bachop (class of ’06): Mr. Bachop works in Austin. His online
biography notes that his practice areas include employment law. On April 29,
2016, Judge Karin Crump awarded fees for work done in an Austin employment
discrimination and retaliation case. See Vigil v. City of Austin, Texas, Cause No.
D-1-GN-13-001742 (200th Judicial District Court for Travis County, Texas) (Final
Judgment at p. 4) (“Based upon the evidence presented to the Court, and the ar-
guments of counsel, Plaintiff’s motion for reasonable attorneys’ fees and costs is
hereby granted.”). The fees requested and granted used an hourly rate of $300.00
for Mr. Bachop’s work. See id. (Plaintiff’s Motion for Entry of Judgment & Award
of Attorneys’ Fees) at p. 3. According to the Consumer Price Index for legal ser-
vices as generated by the U.S. Bureau of Labor Statistics, the prices for legal ser-
vices are 11.93% higher in 2021 versus 2016 (a $35.79 difference).22 Adjusted only
for such inflation from the year of Judge Crump’s ruling to the end of 2021, that
$300.00 hourly rate for Mr. Bachop is $335.79.

* Alexander M. Baggio (class of ’09): Mr. Baggio’s online biog-
raphy states that he “has worked on class and collective actions across the coun-
try, including those involving Rule 23 and the Fair Labor Standards Act (FLSA),
as well as claims arising from employment contracts.” Mr. Baggio is based in Min-
neapolis. On November 10, 2015, Judge Sam Sparks determined $275.00 was a
reasonable hourly rate for work Mr. Baggio did in an Austin FLSA case. See Clark
v. Centene Corp., No. 1:12-cv-00174-SS (Doc. 180) at p. 16 (W.D. Tex. Austin)

21   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=300

22   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=300
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(“Centene does not raise any specific objection to the hourly rate of $275 claimed
by Alexander Baggio, and the Court finds it reasonable for the same reasons.”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 15.71% higher in 2021
versus 2015 (a $43.20 difference).23 Adjusted only for such inflation from the year
of Judge Sparks’s finding (2015) to the end of 2021, that $275.00 hourly rate for
Mr. Baggio is $318.20.




23   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=275
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Classes of the 2010s



 14                    lawyers listed




 $351.83                                average rate




 $319.16                                median rate
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                                     Classes of the 2010s:
                                          The Rates


            Colin W.                    John                      Michael L.
            Walsh                       Neuman                    Parsons
            (JD 2011)                   (JD 2012)                 (JD 2011)




            Andrew                      Alicia M.                 Allison
            Vickers                     Grant                     Hartry
            (JD 2012)                   (JD 2016)                 (JD 2012)




            Corey E.                    Phillip J.                Collin
            Tanner                      Moss                      Wynne
            (JD 2011)                   (JD 2010)                 (JD 2010)




            Jairo N.                    Melinda                   Jay
            Castellanos                 Arbuckle                  Forester
            (JD 2015)                   (JD 2011)                 (JD 2013)




            Caitlin                     Steve
            Boehne                      Rauls
            (JD 2012)                   (JD 2011)
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Classes of the 2010s:
     The Work

  * Colin W. Walsh (class of ’11): Mr. Walsh works in Austin. His
  online biography states that his “practice focuses on representing workers against
  employers in cases involving discrimination, retaliation, unpaid wages, unpaid
  overtime, contract disputes, and whistleblowing actions.” On August 23, 2019,
  Judge Royce C. Lamberth granted fees requested for Mr. Walsh’s work in a San
  Antonio employment discrimination and retaliation case. See Johnson v. South-
  west Research Institute, No. 5:15-cv-297 (Doc. 176) at pp 14–15, 17 (W.D. Tex. San
  Antonio) (“For these efforts, Johnson’s attorneys charge rates from $125 to $585
  depending on the particular lawyer’s experience, reputation, and ability; the
  weighted average hourly rate is roughly $445 . . . To support these rates’ reason-
  ableness, Walsh provides an affidavit from a disinterested fee-paying San An-
  tonio client acknowledging he currently pays Walsh $585 hourly to litigate
  federal employment matters in San Antonio. . . . Southwest Research argues
  those rates are too high, citing the Texas state bar’ s four-year- old survey list-
  ing a $258 median hourly rate for San Antonio employment lawyers and a
  $250 median hourly rate for small San Antonio law firms, and noting only
  5.1% of attorneys bill over $500 hourly. . . . Whatever probative value this
  survey has, it does not erode the evidence supporting the rates’ reasonable-
  ness, particularly since other judges in this district have approved much
  higher hourly rates for less complicated cases . . . To review: Southwest Re-
  search must pay Johnson $535,609.47 in fees and costs, . . .”). The fees request
  was based, in part, on Mr. Walsh’s stated rate of $585.00 per hour. See id. (Doc.
  152-1) at p. 6, ¶ 12 (Declaration Under Penalty of Perjury of Colin W. Walsh: “My
  current hourly rate—a rate that clients pay me when they choose representation
  on an hourly basis rather than on a contingency fee basis—is $585/hour. I charge
  and receive this rate in the Austin market (where I office) and in the San Antonio
  market (where I frequently have clients).”); see also id. (Doc. 171) at p. 3 (Plain-
  tiff’s Supplemental Motion for Reasonable Attorneys’ Fees and Costs seeking
  “Post-judgment interest on $536,430.77 (the combined award of fees and costs)”).
  According to the Consumer Price Index for legal services as generated by the U.S.
  Bureau of Labor Statistics, the prices for legal services are 2.64% higher in 2021
  versus 2019 (a $15.44 difference).1 Adjusted only for such inflation from the year

  1   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=585
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of Judge Lamberth’s fee award (2019) to the end of 2021, that $585.00 hourly rate
for Mr. Walsh is $600.44.

* Andrew Vickers (class of ’12): Mr. Vickers works in Austin. His
online biography states that his experience includes labor and employment mat-
ters. In 2021, he billed for work at the hourly rate of $440 in an Austin employ-
ment case involving claims of wrongful employment termination and defamation.
See Second Supplemental Declaration of Andrew Vickers, filed in Lanham v. AWR
Servs., Inc., No. D-1-GN-20-003923 (419th Judicial District Court for Travis
County, Texas) (filed April 8, 2021) at p. 2, ¶ 4 (“By agreement with our client, the
current hourly billing rate for services performed from January 1, 2021 through
March 11, 2020 for this matter is $440 for me (a partner), $790 for Eric Taube (a
partner), and $205 for Ann Marie Jezisek and Kristen Warner (paralegals). I am
familiar with rates charges by attorneys in Texas for litigation matters and these
rates are reasonable when compared to customary rates in Texas for lawsuits such
as this one.”).

* Corey E. Tanner (class of ’11): Ms. Tanner works in Austin and
her online biography notes that her practice areas include labor and employment
law. On December 18, 2020, in a Dallas case involving allegations of race discrim-
ination in employment, there was testimony stating her standard hourly rate in
2018 and 2019 was approximately $400.00 per hour. See Ibarra v. Jacobs Eng.
Group, Inc., No. 3:19-cv-01437-C (Doc. 41-1) at p. 12, ¶ 21 (N.D. Tex. Dallas) (Dec-
laration of John M. Barcus: “Prior to my involvement in the lawsuit, Corey E.
Tanner, an associate in the Firm’s Austin office who became licensed to practice
law in Texas in 2011, performed the majority of the work on the case. Her stand-
ard rate for 2018 and 2019 was approximately $400.”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 3.64% higher in 2021 versus 2018 (a $14.55 differ-
ence).2 Adjusted only for such inflation from the year of this stated rate in 2018 to
the end of 2021, that $400.00 hourly rate for Ms. Tanner is $414.55.

* Jairo N. Castellanos (class of ’15): Mr. Castellanos works in
Austin. His online biography states that his “practice focuses on representing em-
ployees, both private and public, against employers in discrimination cases.” On
August 23, 2019, Judge Royce C. Lamberth granted fees requested for Mr. Cas-
tellanos’s work in a San Antonio employment discrimination and retaliation case.
See Johnson v. Southwest Research Institute, No. 5:15-cv-297 (Doc. 176) at p. 17



2   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=400
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(W.D. Tex. San Antonio) (“To review: Southwest Research must pay Johnson
$535,609.47 in fees and costs, plus 2.324% interest beginning on May 23, 2019
and compounded annually[.]”). The fees request was based, in part, on Mr. Cas-
tellanos’s stated rate of $395.00 per hour. See id. (Doc. 152-1) at p. 6, ¶ 14 (Decla-
ration Under Penalty of Perjury of Colin W. Walsh: “The firm’s current (since
January 2017) rate for associate Jairo N. Castellanos is $395/hour. This is the
rate the firm charges and receives for Mr. Castellanos’s time in the San Antonio
market.”); see also id. (Doc. 171) at p. 3 (Plaintiff’s Supplemental Motion for Rea-
sonable Attorneys’ Fees and Costs seeking “Post-judgment interest on
$536,430.77 (the combined award of fees and costs)”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 2.64% higher in 2021 versus 2019 (a $10.43 differ-
ence).3 Adjusted only for such inflation from the year of Judge Lamberth’s award
(2019) to the end of 2021, that $395.00 hourly rate for Mr. Castellanos is $405.43.

* Caitlin Boehne (class of ’12): Ms. Boehne works in Austin. Her
online biography notes that she litigates unpaid wage claims for low-income work-
ers. On August 10, 2020, Magistrate Judge Susan Hightower ruled that $360.00
per hour was a reasonable rate for Ms. Boehne’s work in an Austin FLSA case.
See Barrientos v. Mikatsuki Int’l, Inc., No. 1:18-CV-00934-RP (Doc. 38) at p. 10,
2020 WL 4581883 (W.D. Tex. Austin) (noting time records “14.7 hours of work by
licensed attorney Caitlin Boehne at a rate of $360 per hour (totaling $5,112, after
write-offs and reductions) . . .” and ruling “After carefully reviewing the time rec-
ords and declaration, the Court finds the hours expended on the case, and the
hourly rates charged, are reasonable.”). On September 4, 2020, Judge Robert Pit-
man adopted Magistrate Judge Susan Hightower’s report and recommendation
that fees be awarded on that rate. See id. (Doc. 39). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 1.53% higher in 2021 versus 2020 (a $5.53 differ-
ence).4 Adjusted only for such inflation from the year of these court rulings (2020)
to the end of 2021, that $360.00 hourly rate for Ms. Boehne is $365.53.

* John Neuman (class of ’12): Ms. Neuman works in Houston. His
online biography notes that the “primary focus of John’s practice is the recovery
of unpaid wages.” On January 8, 2016, Judge Robert Pitman awarded fees in a
San Antonio FLSA case. See Sifuentes v. Green Energy Oilfield Servs., LLC, No.
5:15-CV-752 RP (Doc. 21) (W.D. Tex. San Antonio) (“Plaintiff is awarded $17,714
as reasonable attorneys’ fees and costs.”). Those fees were based, in part, on Mr.

3   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=395

4   https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=360
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Neuman’s rate of $300 per hour. See id. (Doc. 19) at p. 2 (motion for fees and costs)
(“Plaintiff asserts (and Defendant is not disputing) that the Plaintiff’s reasonable
attorney’s fees and costs are $17,714.00. Included in this amount are the follow-
ing: . . . 27.4 hours for John Neuman, associate, at the rate of $300 per hour;”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 11.93% higher in 2021
versus 2016 (a $35.79 difference).5 Adjusted only for such inflation from the year
of Judge Pitman’s fee award (2016) to the end of 2021, that $300.00 hourly rate
for Mr. Neuman is $335.79.

* Alicia M. Grant (class of ’16): Ms. Grant works in San Antonio.
Her online biography states that her “practice focuses on all aspects of product
liability actions, mass torts, and complex commercial litigation in state and fed-
eral courts, including class actions and multi-district litigation.” In 2020, her law
firm billed her work in a San Antonio employment termination case to a client at
the hourly rate of $320.00. See Yadav v. Frost Bank, No. 5:20-CV-00005-FB-ESC
(Doc. 42-4) at p. 2, ¶¶ 2 & 4 (W.D. Tex. San Antonio) (Affidavit of Mario A. Barrera:
“I am counsel of record for Defendant Frost Bank (“Frost”) in the above-referenced
lawsuit. I am a Partner at Norton Rose Fulbright US LLP (“NRF”). . . . Frost has
agreed to compensate NRF for the firm’s work on this lawsuit based on an hourly
fee. . . . Alicia M. Grant, Associate at NRF, has spent 2.4 hours reviewing cases
and the hearing transcript and preparing the Motion. Ms. Grant’s hourly rate is
$320.”). According to the Consumer Price Index for legal services as generated by
the U.S. Bureau of Labor Statistics, the prices for legal services are 1.53% higher
in 2021 versus 2020 (a $4.91 difference).6 Adjusted only for such inflation from
the year of this billing (2020) to the end of 2021, that $320 hourly rate for Ms.
Grant is $324.91.

* Philip J. Moss (class of ’10): Mr. Moss currently works in San
Antonio for the United States Equal Employment Opportunity Commission—and
previously worked in San Antonio for the Equal Justice Center, where he repre-
sented low-wage earners in employment matters. On June 13, 2016, Judge Robert
Pitman granted fees at the rates requested in a San Antonio FLSA case. See Mo-
hammadi v. Nwabuisi, No. 5:12-cv-00042 (Doc. 148) at p. 9 (W.D. Tex. San Anto-
nio) (“In light of these precedents, the Court concludes rates requested by Plaintiff
and used in her lodestar calculation are reasonable and appropriate given the
prevailing rates in the local legal market.”). The hourly rate requested for Mr.
Moss’s work was $280.00. See id. (Doc. 136) at p. 5 (Plaintiff’s Third Motion for

5   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=300

6
    https://www.officialdata.org/Legal-services/price-inflation/2020-to-2021?amount=320
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Attorney’s Fees and Costs) (“In this motion, Plaintiff’s Counsel seeks the following
rates in order to account for attorney tenure and current legal market conditions:
Mr. Moss at $280/hour, Mr. Johnson at $300/hour[.] . . .”). According to the Con-
sumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 11.93% higher in 2021 versus 2016 (a
$33.40 difference).7 Adjusted only for such inflation from the year of Judge Pit-
man’s ruling on rates (2016) to the end of 2021, that $280 hourly rate for Mr. Moss
is $313.40.

* Melinda Arbuckle (class of ’11): Ms. Arbuckle works in Dallas.
Her online biography states that she “represents workers who have not received
all of the pay they were owed by their employers.” On September 20, 2018, Judge
Alia Moses ruled that a reasonable hourly rate for her work in a Del Rio FLSA
case was $300 per hour. See Cruz v. Maverick County, No. DR-14-CV-050-AM
(Doc. 115) at p. 8 (W.D. Tex. Del Rio) (“Based on all of these factors, the Court
finds that the lodestar amount for both Mr. Levy and Ms. Arbuckle should be
adjusted downward. The Court finds that a reasonable hourly fee for both attor-
neys is $300 per hour.”). According to the Consumer Price Index for legal services
as generated by the U.S. Bureau of Labor Statistics, the prices for legal services
are 3.64% higher in 2021 versus 2018 (a $10.91 difference).8 Adjusted only for
such inflation from the year of Judge Moses’s finding (2018) to the end of 2021,
that $300 hourly rate for Ms. Arbuckle is $310.91.

* Steve Rauls (class of ’11): Mr. Rauls works in Little Rock, Arkan-
sas but his law firm keeps an office in San Antonio. His online biography notes
that he “primarily represents employees who have been denied their full pay.” On
August 14, 2019, Judge Royce C. Lamberth awarded Mr Rauls’s law firm fees for
work in a San Antonio FLSA case. See Moore v. Performance Pressure Pumping
Servs., LLC, No. 5:15-cv-432-RC (Doc. 174) at p. 1 (W.D. Tex. San Antonio) (“The
Court finds that the Plaintiffs should be awarded fees based on the lodestar
amount requested by Plaintiffs. The fees charged by Plaintiffs’ counsel are rea-
sonable and consistent with fees customarily charged by attorneys of similar skill,
experience and reputation in the area of San Antonio, Texas”). That award was
premised, in part, on the requested rate of $300 per hour for Mr. Rauls’s time. See
id. (Doc. 168-1) at p. 5, ¶ 16 (Declaration of Attorney Josh Sanford filed as an
attachment to Plaintiffs’ Motion for Award of Attorneys’ Fees and Costs (Doc.
168)) (listing rate: “Rauls, S. $300.00.”). According to the Consumer Price Index
for legal services as generated by the U.S. Bureau of Labor Statistics, the prices

7   https://www.officialdata.org/Legal-services/price-inflation/2016-to-2021?amount=280

8   https://www.officialdata.org/Legal-services/price-inflation/2018-to-2021?amount=300
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for legal services are 2.64% higher in 2021 versus 2019 (a $7.92 difference).9 Ad-
justed only for such inflation from the year of Judge Lamberth’s fee award (2019)
to the end of 2021, that $300.00 hourly rate for Mr. Rauls is $307.92.

* Michael L. Parsons (class of ’11): Mr. Parsons works in Austin.
On October 8, 2014, Judge Xavier Rodriguez ruled $250.00 per hour was a rea-
sonable rate for Mr. Parson’s work in a San Antonio FLSA case. See Meesook v.
Grey Canyon Family Medicine, P.A., No. 5:13-cv-729-XR (Doc. 39), 2014 WL
5040133 (W.D. Tex. San Antonio) (“Plaintiff asserts that . . . $250/hour is appro-
priate for Michael Parsons. . . . Based on the affidavits and evidence submitted by
Plaintiffs attorneys, the Court finds that the requested rates are reasonable.”).
According to the Consumer Price Index for legal services as generated by the U.S.
Bureau of Labor Statistics, the prices for legal services are 17.55% higher in 2021
versus 2014 (a $43.87 difference).10 Adjusted only for such inflation from the year
of Judge Rodriguez’s fee award (2014) to the end of 2021, that $250 hourly rate
for Mr. Parsons is $293.87.

* Allison Hartry (class of ’12): Ms. Hartry works in San Antonio.
Her online biography notes that she focuses her practice on labor and employment
law. On March 19, 2019, Judge David Briones granted Ms. Hartry’s law firm’s
request for attorneys’ fees in an El Paso FLSA case. See Bally v. Dreams Cabaret,
LLC, No. EP-CV-30-DB (Doc. 93) at p. 1 (W.D. Tex. El Paso) (“Plaintiffs ask the
Court to award them $111,084.50 in attorney's fees and enter a final judgment in
this case. After due consideration, the Court is of the opinion that Plaintiffs' Mo-
tion should be granted.”). This amount of fees granted was based, in part, on Ms.
Hartry’s requested rate of $275 per hour. See id. (Doc. 92) at pp. 6, 7 & 9 (Plain-
tiff’s Motion for Attorneys’ Fees and Costs and for Entry of Final Judgment:
“Based on the lodestar analysis, Plaintiffs seek $111,084.50 in attorneys’ fees . . .
Mr. Morales and Ms. Hartry performed all attorney work on this case. . . . Ms.
Hartry’s standard billing rate of $275.00 per hour is reasonable. . . . During the
time period most of the attorney’s fees were incurred litigating this case, Ms. Har-
try charged clients, and clients paid her, an hourly rate of $275.00.”). According
to the Consumer Price Index for legal services as generated by the U.S. Bureau of
Labor Statistics, the prices for legal services are 2.64% higher in 2021 versus 2019
(a $7.26 difference).11 Adjusted only for such inflation from the year of Judge


9    https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=300

10   https://www.officialdata.org/Legal-services/price-inflation/2014-to-2021?amount=250

11   https://www.officialdata.org/Legal-services/price-inflation/2019-to-2021?amount=275
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Briones’s ruling to the end of 2021, that $275.00 hourly rate for Ms. Hartry is
$282.26.

* Collin Wynne (class of ’10): Mr. Wynne works in Amarillo. His
online biography lists several practice areas, including labor and employment. On
January 30, 2017, Judge David Counts determined that the requested rate of
$250.00 per hour was reasonable for work Mr. Wynne did in a Midland/Odessa
FLSA case. See Carley v. Crest Pumping Technologies, LLC, No. 7:15-cv-00161
(Doc. 134) at p. 10 (W.D. Tex. Midland/Odessa) (“With these reductions, the Court
determines the lodestar fee is $160,932.18 in fees and costs as set forth below . . .
Timekeeper . . . Rate . . . Collin Wynne . . . $250.00”). According to the Consumer
Price Index for legal services as generated by the U.S. Bureau of Labor Statistics,
the prices for legal services are 8.08% higher in 2021 versus 2017 (a $20.20 differ-
ence).12 Adjusted only for such inflation from the year of Judge Counts’s determi-
nation (2017) to the end of 2021, that $250 hourly rate for Mr. Wynne is $270.20.

* Jay Forester (class of ’13): Mr. Forester works in Dallas. His online
biography states that he oversees his law firm’s “unpaid wages and overtime prac-
tice.” On December 8, 2015, Judge David Alan Ezra ruled that $225.00 per hour
was a reasonable rate for Mr. Forester’s work in an Austin FLSA case. See Rodri-
guez v. Mechanical Tech. Servs., Inc., No. 1:12-cv-00710 (Doc. 175) (W.D. Tex. Aus-
tin) (“Accordingly, the Court finds the following rates to be reasonable and cus-
tomary for this type of litigation . . . Jay Forester . . . $225”). According to the
Consumer Price Index for legal services as generated by the U.S. Bureau of Labor
Statistics, the prices for legal services are 15.71% higher in 2021 versus 2015 (a
$35.34 difference).13 Adjusted only for such inflation from the year of Judge Ezra’s
ruling (2015) to the end of 2021, that $225 hourly rate for Mr. Forester is $260.34.




12   https://www.officialdata.org/Legal-services/price-inflation/2017-to-2021?amount=250

13   https://www.officialdata.org/Legal-services/price-inflation/2015-to-2021?amount=225
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